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                Appendix 1
 Supplemental Declaration of Class Counsel



In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)



     Plaintiffs’ Motion for Final Approval of Settlement
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                                  MDL Docket No. 2800
     In re: Equifax Inc. Customer                 No. 1:17-md-2800-TWT
    Data Security Breach Litigation
                                                  CONSUMER ACTIONS

                                             Chief Judge Thomas W. Thrash, Jr.



    CLASS COUNSEL’S OMNIBUS DECLARATION IN SUPPORT
OF PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT
          AND RESPONSE TO VARIOUS OBJECTIONS

      Kenneth S. Canfield, Amy E. Keller, and Norman E. Siegel declare as follows:

      1.    This Court appointed us to serve as Co-Lead Counsel for the Consumer

Plaintiffs and Interim Class Counsel in the above-captioned MDL. Along with Roy

E. Barnes, who serves as Co-Liaison Counsel with lead responsibilities, we have led

the Plaintiffs’ efforts in the consumer track since our appointment on February 9,

2018. We make this Declaration in support of Plaintiffs’ motion for final approval

of the settlement, and in support of our response to the various objections received
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to the settlement. We have personal knowledge of all the matters addressed in this

Declaration.1

         2.   This Declaration supplements our declaration submitted as part of

Plaintiffs’ Motion to Direct Notice of Proposed Settlement to the Class [Doc. 739-

4], which provided the Court with a history of the litigation, described Class

Counsel’s work leading up to the filing of that motion, and otherwise addressed facts

that were relevant to the Court’s decision whether to direct notice to the class. It also

supplements our declaration submitted as part of Plaintiffs’ Motion for Attorneys’

Fees, Expenses, and Service Awards to the Class Representatives [Doc. 858], which

provides more detail concerning the history of the litigation and settlement for the

Court.

         3.     This Declaration focuses on the facts that bear on the Court’s

determination of whether the proposed settlement is fair, reasonable, and adequate,

and should be finally approved. For ease of reference, we have reiterated here some

of the same facts that we covered in our earlier declarations.




1
  Class Counsel and their staff have taken the screen shots throughout this
declaration. The screen shots of the “tweets” cited throughout this declaration were
available as of December 3, 2019.

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              Class Counsel’s Work on Legal and Discovery Matters

      4.     On September 7, 2017, Equifax announced that criminals had stolen

from its computer networks confidential personal and financial information

pertaining to millions of consumers. Equifax eventually admitted that approximately

147 million Americans were affected by this data breach. Class action lawsuits

against Equifax immediately began to be filed by affected consumers and financial

institutions. Ultimately, more than 300 such lawsuits were filed around the country.

      5.     In December 2017, the Judicial Panel on Multidistrict Litigation

transferred these lawsuits to this Court. The Court created two separate tracks to

manage the litigation—one for the consumer cases and one for the cases brought by

financial institutions. On February 12, 2018, the Court appointed a group of 13

lawyers to lead the litigation, including Ken Canfield, Amy Keller, and Norman

Siegel as Co-Lead Counsel and Roy Barnes as Co-Liaison Counsel, sharing duties

with Co-Lead Counsel. [Doc. 232] This group was also appointed Interim Consumer

Class Counsel pursuant to Fed. R. Civ. P. 23(g), and is referred to as “Class Counsel”

in the Settlement Agreement and this Declaration. The legal team appointed to lead

the consumer track includes some of the nation’s most respected class action lawyers

who collectively have prosecuted over 50 data breach cases, including all of the most

significant cases brought both before and after this MDL.


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      6.     As Class Counsel, our first major task was to file a consolidated

amended complaint, which the Court had announced would serve as the vehicle for

litigating the consumer claims. Our group had a substantial head start on this task

because, prior to our appointment, we had already filed a case that named class

representatives from every state. Nonetheless, the consolidated complaint was a

massive undertaking, involving investigating the underlying facts, vetting several

thousand potential class representatives, and thoroughly researching many legal

theories under federal law and the laws of all 50 states. On May 14, 2018, Plaintiffs

filed our 559-page consolidated amended consumer complaint, which named 96

class representatives and asserted numerous common law and statutory claims under

both state and federal law. [Doc. 374]

      7.     In June 2018, Equifax moved to dismiss the complaint in its entirety.

[Doc. 425] Equifax’s primary focus was attacking Plaintiffs’ negligence and

negligence per se claims, arguing that Georgia law does not recognize a legal duty

to safeguard personal information, none of the class representatives (or any class

members) suffered a legally-cognizable injury, and that Plaintiffs could not plausibly

prove any alleged injury was caused by the Equifax data breach. The motion to

dismiss was exhaustively briefed during the summer and early fall of 2018. [Docs.

452, 464, 483] On December 14, 2018, the Court heard more than three hours of oral


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argument on Equifax’s motion to dismiss. [Doc. 534] Then, on January 28, 2019,

the Court largely denied Equifax’s motion. [Doc. 540] Equifax answered on

February 25, 2019. [Doc. 571]

      8.     While the consolidated amended complaint was being prepared and

Equifax’s motion to dismiss was pending, Class Counsel and the members of the

Plaintiffs’ Steering Committee undertook a substantial amount of additional work to

move the case forward. That work included the organizational activity that is part of

leading any case of this magnitude (establishing committees, assigning areas of

responsibility, hiring vendors for e-discovery, etc.), as well as tasks such as locating

and consulting with experts; working with the class representatives to assemble their

documents and compile their damages; investigating the facts relating to the breach,

including the mechanism for how the breach occurred and the data was exfiltrated;

communicating with public interest groups active in the cybersecurity, consumer

protection, and financial fraud fields; coordinating with the leadership of the

financial institution track and the related securities litigation; developing our strategy

for prosecuting the case; meeting with state and federal lawmakers regarding the

breach; issuing document retention subpoenas to scores of third parties; and

attending monthly status conferences in court.




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      9.     Under the Northern District of Georgia’s Local Rules, discovery does

not begin until 30 days after an answer is filed. Nevertheless, we were able to secure

case management orders that front-loaded much of the preparatory work needed

before formal discovery could, as a practical matter, proceed and set the groundwork

for discovery once the motions were decided. In accordance with these orders, the

parties negotiated a series of protocols to govern discovery, exchanged requests for

production of documents, and attempted to negotiate the search terms and list of

custodians that would be used in electronic searches. [Doc. 258] (Protective Order);

[Doc. 449] (Production and ESI Protocol) Several parts of this pre-discovery process

proved to be challenging, forcing Class Counsel to spend substantial time on these

matters. On some issues, the parties reached impasse compelling Class Counsel to

file a motion seeking limited relief from the discovery stay and an order facilitating

our interviews of former Equifax employees who had signed non-disclosure

agreements. [Doc. 488]

      10.    Once the Court ruled on Equifax’s motion to dismiss, formal discovery

commenced, and Plaintiffs’ efforts intensified. Among other things, Class Counsel

and the Plaintiffs’ Steering Committee reviewed over 500,000 pages of documents

produced by Equifax, as well as many thousands of native files including

presentations and databases; began producing named plaintiffs’ documents to


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Equifax; and scheduled depositions of several former Equifax employees. Our

document review was complicated by Equifax’s decision to segregate additional,

allegedly highly-confidential documents in a “reading room” controlled by Equifax,

which required the parties to negotiate revised orders concerning discovery and

creating new review protocols, along with meeting and conferring about Equifax’s

ongoing productions. Those efforts continued up to the moment the case settled.

      11.    Class Counsel fought to protect the consumer class’s interests on

multiple fronts. For example, this Court had already answered in the affirmative the

question of whether Equifax had a legal duty to protect Plaintiffs’ personal data. But

this important question, among others, was being actively litigated in the Georgia

appellate courts during the pendency of this case. In fact, Class Counsel drafted and

filed before the Georgia Supreme Court an amicus brief regarding the scope of the

negligence duty to protect confidential personal information in Georgia Department

of Labor v. McConnell [Doc. 858-1, Ex. A]. We filed that brief so that the Supreme

Court would be fully informed of the facts relating to this case and the potential

implications of its ruling for the Equifax class.2



2
  Indeed, since the Settlement was reached, additional decisions regarding data
security have been rendered by other courts, which could have negative implications
for the present case. See, e.g., Adkins v. Facebook, Inc., No. 18-05982-WHA,
Opinion and Order (N.D. Cal. Nov. 26, 2019), attached hereto as Ex. 12.

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                       Overview of Settlement Discussions

      12.   Settlement discussions began in September 2017. After initial

telephone and in-person discussions regarding a potential settlement process, the

parties retained Layn R. Phillips, a former federal judge and principal of Phillips

ADR, to serve as mediator. Judge Phillips is perhaps the country’s preeminent

mediator in major civil litigation and has successfully mediated several other data

breach cases, including In re Anthem Customer Data Breach Security Litig., which

until now is the most successful consumer data breach settlement. Our first

negotiating session took place in Newport Beach, California on November 27-28,

2017. The parties engaged in extensive preparation for the mediation and exchanged

comprehensive mediation statements.

      13.   Although little progress was made at the first mediation, it did serve to

initiate what became a lengthy back-and-forth process with Equifax that lasted over

the next 16 months. The parties negotiated over this period with the oversight of

Judge Phillips—work that involved exchanging additional mediation statements,

numerous and regular telephone conferences, and additional all-day mediation

sessions with Judge Phillips on May 25, 2018, August 9, 2018, November 16, 2018,

and March 30, 2019. During this period, Class Counsel and the Plaintiffs’ settlement

committee also spent significant time with vendors so that we could develop and


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deliver state-of-the-art monitoring and restoration services to the entire class. We

also retained several leading cybersecurity experts to assist us and consulted with

knowledgeable consumer groups and dozens of consumer advocates, Congressional

staff, and state Attorneys General.

      14.    The technical changes needed to secure Equifax’s data security system

presented a difficult issue. And, once the cause of the breach was determined, how

to ensure that Equifax properly fixed its vulnerabilities presented another important

challenge. It was critical that the technical changes would not only force Equifax to

adopt measures to decrease the likelihood of a future breach, but also to ensure that

its systems were designed so as to minimize the impact if another breach does occur.

This was a particularly important component of the negotiations, because, unlike

most data breach victims, the class here did not choose to do business with Equifax

and cannot prevent Equifax from continuing to store their sensitive personal

information. The parties worked on detailed and comprehensive business practice

changes involving Equifax’s cybersecurity measures. In connection with the

negotiations, we retained Mary Frantz, one of the nation’s leading cybersecurity

experts. Working with Ms. Frantz, we examined Equifax’s existing data security

systems, attended meetings including at Equifax’s headquarters in Atlanta with

Equifax’s counsel and its security experts to discuss the cause of the breach and


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Equifax’s remedial efforts, and exchanged numerous proposals and counter-

proposals before reaching an agreement in March 2019 (as addressed below).

      15.    Although the negotiations were productive and moved the parties closer

to settlement, the process slowed substantially following the November 16, 2018,

mediation session, and eventually came to a stop in December 2018. From Class

Counsel’s perspective, Equifax would not meet Plaintiffs’ demands unless and until

Plaintiffs successfully navigated the case past the motion to dismiss. It was only after

the Court entered its lengthy order largely denying Equifax’s motion to dismiss that

negotiations resumed in February 2019. Judge Phillips convened what proved to be

the final mediation on March 30, 2019. After getting consensus on all terms other

than the size of the fund (including the individual relief and extensive business

practice changes), the parties reached impasse. Late in the evening, Judge Phillips

made a “mediator’s proposal,” which both sides accepted, and the parties executed

a binding Term Sheet at about 11 p.m., subject to approval by Equifax’s board of

directors, which occurred the next day. A copy of the binding March 30 Term Sheet

was previously attached to our declaration submitted in support of our Motion for

Attorneys’ Fees, Expenses, and Service Awards to Class Representatives as Exhibit

B.




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       16.   From the outset of the negotiations, Class Counsel had focused on three

major components of relief. First, the establishment of a cash settlement fund to

compensate those class members who had suffered out-of-pocket losses and lost

time as a result of the breach. Second, the provision of high-quality credit monitoring

and identity restoration services specifically tailored to address the data

compromised in this breach. And third, modifications to Equifax’s data security

practices that would be subject to Court enforcement (including a commitment to

spend a minimum of $1 billion on data security), which would protect the class—

most of whom have no relationship with Equifax—well into the future. The March

30, 2019, Term Sheet achieved each of these goals, as further specified in Class

Counsel’s Declaration in Support of Motion to Direct Notice. [Doc. 739-4, ¶¶ 27-

31]

                     Input from Federal and State Regulators

       17.   The binding Term Sheet reached on March 30, 2019, provided for a

period of 60 days for Equifax to share the Term Sheet with, and for Class Counsel

to consider any comments from, the Federal Trade Commission, the Consumer

Financial Protection Bureau, and state Attorneys General (“Regulators”) regarding

the relief afforded to the class. This provision is consistent with guidance provided

by the Federal Judicial Center regarding solicitation of the views of federal and state


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regulators regarding class action settlements. See generally, Federal Judicial Center,

Managing Class Action Litigation: A Pocket Guide for Judges at 26-27. Because the

Regulators were not involved in negotiating the Term Sheet, the parties agreed that,

“to the extent that the Regulators propose changes to the class benefits or the Term

Sheet, Plaintiffs will discuss and consider in good faith such changes, and if the

parties agree, the Term Sheet and settlement agreement will be amended

accordingly.” (Doc. 858-1, Pg. 72, § VII). The parties agreed that if Class Counsel

or Equifax rejected those changes, the Term Sheet would be enforced as the final

settlement.

      18.     In the weeks that followed, the Regulators negotiated with Equifax and

agreed upon a number of proposed substantive changes to the Term Sheet. We were

not involved in those negotiations, but were asked to include them in the final

settlement. Many of the proposed changes were minor, while others provided more

substantial relief, including increasing the settlement fund from $310 million to

$380.5 million, providing up to an additional $125 million if needed to pay claims

for documented out-of-pocket losses, and an expansion of the extended claims

period from 3 years to 4 years. Class Counsel supported the changes that benefitted

members of the settlement class, but opposed others that might diminish the relief

available under the Term Sheet, trigger objections, create problems in approving the


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settlement, or otherwise make class members worse off.

      19.    Because the proposed modifications were presented as a “take it or

leave it” package, Class Counsel’s opposition to some of the individual proposals

triggered another round of difficult and intense negotiations that lasted over two

months.

      20.    Successfully resolving those problems did not ensure that the extra

money would be available. That is because Equifax refused to execute the settlement

until and unless it also reached separate agreements with the regulators, which it

wanted to announce as part of a “global resolution,” but Equifax was having

difficulty reaching such agreements.

      21.    Class Counsel forced the issue by setting a deadline and threatening to

move to enforce the binding deal reflected in the Term Sheet. Equifax signed the

class action settlement shortly before the deadline was to expire. In all likelihood,

had Class Counsel not set the deadline, the extra money would have never been

obtained for the class.

      22.    During the four-month period after executing the Term Sheet (from

April through July, 2019) during which they were preoccupied by the negotiations

with Equifax and the regulators, Class Counsel spent 4,884 hours valued at over $3.5

million.


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      23.    On July 19, 2019, Equifax and Plaintiffs executed the Settlement

Agreement. Plaintiffs submitted the agreement and moved for an order directing

notice to the class on July 22. The same day, after a hearing, the Court granted the

motion, authorizing issuance of notice to the class. [Doc. 742]

      24.    Equifax entered into separate settlements with the Regulators on or

about July 19, 2019. The regulatory settlements—involving Equifax and the FTC,

CFPB, and Attorneys General from 48 states, the District of Columbia and Puerto

Rico—expressly refer to and are dependent upon the class action settlement Class

Counsel negotiated, incorporate its substantive terms, and rely upon and defer to the

class action settlement and this Court to distribute all relief to impacted consumers.

Accordingly, this is not a case where Class Counsel piggybacked on the effort of

government regulators to achieve a private settlement. To the contrary, Class

Counsel negotiated a binding settlement with Equifax without the involvement or

assistance of the Regulators. While Class Counsel later agreed to modify the

settlement to provide additional relief that the Regulators initiated, incorporating the

additional relief into the settlement was a difficult and lengthy process, and was

finally brought to fruition through Class Counsel’s extensive efforts.

      25.    During the period from March 30, 2019 until mid-July, 2019, in

addition to negotiating with Equifax and the Regulators regarding the scope of the


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relief in the settlement agreement, we spent considerable time first selecting and then

working with Signal Interactive to craft what we believe is a state-of-the-art notice

program; and successfully convincing Equifax to agree to the program. We also

consulted with federal and state regulators, who provided input. The process was

laborious. The parties discussed the details of every email, social media

advertisement, video, newspaper, and radio advertisement to which the class would

be exposed, ranging from their substantive content and headlines to such matters as

the facial expressions of the actors featured in the advertisements. The parties also

negotiated about the scripts that would be used during the focus groups that Signal

has conducted, the questions that were included in the public opinion survey, and

issues relating to many other topics. Simultaneously, we selected and worked with

JND to design a settlement website that allows class members to electronically file

their claims; drafted a claims protocol that covered every step of the claims process,

from filing through verification and adjudication of electronic claims; prepared the

scripts for hundreds of telephone operators to use in responding to class members’

questions; and otherwise managed development of the claims and administration

process. During this time, we traveled to JND’s headquarters in Seattle to tour their

facility, observe their operations, and meet with their senior management. We also

spent considerable time negotiating and coordinating with Equifax and the


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Regulators regarding the claims and administration process to reach agreement on

the final documents, forms, notices, and procedures that would be used.

            Preliminary Approval and Media Coverage of the Settlement

      26.     On the morning of July 22, 2019, before Class Counsel had presented

the proposed settlement and proposed Notice Plan to this Court, there was a deluge

of pervasive and, in some respects, misleading coverage in the national media

following statements and press conferences by Equifax and regulators announcing

their separate settlements with Equifax.

      27.     Class Counsel filed the proposed settlement with the Court the morning

of July 22, 2019, and were scheduled to appear in front of the Court to present the

proposed settlement at 11:00 a.m. that same day.

      28.     Before the hearing, at 9:00 a.m. that same day, Equifax held a

conference call for its investors, analysis, and others, with a follow-up 9:30 a.m. call

for the media. See Equifax Announces Comprehensive Consumer Settlement

Arising from 2017 Cybersecurity Incident (July 22, 2019).3

      29.     Shortly thereafter, at 10:00 a.m., the Federal Trade Commission

convened a press conference to announce the settlement. Participants included FTC


3
 Available at https://investor.equifax.com/news-and-events/news/2019/07-22-
2019-125543228.


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Chairman Joe Simons, Consumer Financial Protection Bureau Director Kathy

Kraninger, and Maryland Attorney General Brian Frosh. See Equifax to Pay $575

Million as Part of Settlement with FTC, CFPB, and States Related to 2017 Data

Breach (July 22, 2019).4

      30.   The media coverage of the Settlement began following these press

conferences and statements, before the commencement of the approval hearing and

before the Notice Plan was approved. This early media coverage, which continued

for days, created a widespread misperception that all consumers affected by the data

breach (and, in some news stories, all Americans, regardless of class membership)

could get $125 simply by filing a claim.

      31.   Although alternative cash compensation is only one potential type of

relief for individuals who do not want to receive the credit monitoring developed to

monitor the specific types of information affected by the data breach, reports of an

entitlement to a $125 cash payment—usually without reference to the other

components of the settlement—were widespread in the days following the approval

hearing, but well before the Notice Plan was implemented.




4
  Available at https://www.ftc.gov/news-events/press-releases/2019/07/equifax-
pay-575-million-part-settlement-ftc-cfpb-states-related.

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      32.    For example, on July 22, 2019, USA Today published an article stating

that “you can receive $125 if you already have a credit monitoring service and won’t

enroll in the free one.” Nathan Bomey, What does Equifax’s $700M settlement over

its data breach mean for you? (July 22, 2019).5

      33.    In reporting a few days later, USA Today moved the $125 claim to its

headline, inviting readers to take steps to claim their $125 from the settlement:6




Kelly Tyko, Equifax will pay Americans hit by breach. Take these steps to file claim

for $125 or more. (July 25, 2019).

      34.    The next day, on July 26, 2019, Slate published another story with a




5
  Available at https://www.usatoday.com/story/money/2019/07/22/ftc-equifax-
settlement/1793029001/.
6
  Available at https://www.usatoday.com/story/money/2019/07/25/equifax-
settlement-how-file-claim-125-credit-reporting/1822919001/.


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headline that continued the narrative that all class members (or all Americans) were

entitled to $125 under the settlement:




Josephine Wolff, You Have a Moral Obligation to Claim Your $125 from Equifax,

Slate (July 26, 2019).7 In this article, Slate encouraged consumers to “[g]o claim

your $125 from Equifax. Right now. Even if $125 isn’t a sum of money that matters

to you, even if you don’t feel you were really directly affected by the breach. Even

if the prospect of filling out a relatively brief online form fills you with more dread

than the theft of all of your personal data.” The article went on to call the settlement

“astonishingly large.”8


7
 https://slate.com/technology/2019/07/equifax-settlement-money-how-to-
claim.html.
8
    Slate later published a follow-up piece clarifying points about the Settlement on


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      35.    On the same day, CNBC published a similar article with the headline:

“I may have banked $125 from filling out the Equifax claim in seconds – what are

you waiting for?”9




The article encourages readers to file claims for $125, in part because the settlement

was endorsed by the FTC: “If you’re leery about using the link above, here’s the

portal for filing a claim offered by the Federal Trade Commission—a U.S.

government agency whose mission is protecting American consumers.”

      36.    The innocent but pervasive misinformation regarding the entitlement to

$125 under the settlement continued to move through the public discourse. For

example, citing the CBNC article, Congresswoman Ocasio-Cortez tweeted to her 5.9




July 29, 2019. Josephine Wolff, The Nitty Gritty of the Equifax Settlement, Slate
(July 29, 2019), https://slate.com/technology/2019/07/equifax-settlement-125-
credit-monitoring-details.html.
9
 Available at https://www.cnbc.com/2019/07/26/you-could-make-125-by-filling-
out-this-equifax-data-breach-claim-form.html?__source=twitter%7Cmain.



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million followers: “Everyone: go get your check from Equifax! $125 is a nice chunk

of change” with a link to the claim form.10




      37.    All of these communications occurred within four days of the approval

hearing and well before the initiation of the direct notice program. And, as explained

in the Settlement Agreement and the notice program approved by the Court, not

everyone is eligible for $125 under the settlement and even those eligible because

they already have credit monitoring are not guaranteed $125. The settlement limits



10
  Available at https://twitter.com/AOC/status/1154852681523093505. Once
informed on the settlement terms, Congresswoman Ocasio-Cortez advised
followers that “for most people the better deal is 10 years of free credit
monitoring.” See https://twitter.com/AOC/status/1154935657527222272.

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alternative compensation to those who already have credit monitoring services, do

not want the services available under the settlement, attest they will maintain their

own service for at least six months, and provide the name of their current credit

monitoring provider. Moreover, the settlement provides that alternative

compensation claimants will receive up to $125 because it was subject to an

aggregate $31 million cap, and was not a $125 guaranty.

      38.    The amount available to pay alternative compensation claims is capped

at $31 million to ensure there are sufficient funds to pay class members for out-of-

pocket losses they sustained as a result of the breach (such as freezing their credit or

for the amount of money they already spent purchasing their own monitoring

services, which they can claim in addition to alternative compensation), covering

the costs of credit monitoring for up to seven million class members (the rest would

be paid separately by Equifax), and other benefits. If the cap is exceeded during the

initial claims period, alternative compensation claims will be reduced and paid pro

rata. The cap will be lifted at the end of the extended claims period if money remains

after other benefits are paid and a supplemental pro rata distribution will be made.

[Doc. 739-2, ¶ 7.5]

      39.    This structure was an important component of the settlement. Class

Counsel wanted to ensure that enough settlement funds were made available to class


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members to cover out-of-pocket losses because it was widely reported that many

Americans spent money freezing their credit or checking their credit reports after the

breach. Wakefield Research Survey, Nearly 1 in 5 Americans Froze Credit After

Equifax Breach, Fundera (Mar. 6, 2018).11

      40.    In addition to ensuring that sufficient settlement funds were made

available to cover out-of-pocket losses incurred by class members, Class Counsel’s

negotiation of the alternative reimbursement compensation benefit was also guided

by claims rates in other data breach settlements. For example, in the Anthem data

breach settlement, while 1,257,208 timely claims were received for the two years of

credit monitoring services made available under that settlement, only 144,208 claims

were submitted for alternative compensation. See In re Anthem, Inc. Data Breach

Litig., No. 15-md-02617-LHK (NC) [Doc. 1042, Ex. A]. Accordingly, based on the

Anthem experience, demand for a quality credit monitoring product that would cost

consumers $1,200 to purchase on their own over 4 years was much stronger than for

a smaller cash benefit.

      41.    Not only were Class Counsel focused on ensuring that the best credit

monitoring product be made available to class members that specifically addressed



11
    Available at https://www.fundera.com/resources/credit-freeze-after-equifax-
breach.

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and monitored the information impacted by the data breach [see Doc. 739-2 at 100-

105], but they also wanted to ensure that the credit monitoring product would cover

each and every class member electing that benefit.

      42.    To ensure that the settlement fund was not over-extended by requests

for credit monitoring, Class Counsel negotiated for a provision requiring that each

and every request for credit monitoring over seven million class members would be

paid by Equifax separate and apart from the settlement fund. [Doc. 739-1 at 8]

      43.    By request of the regulatory agencies, the settlement website went live

on the evening of July 23, 2019, allowing consumers to find out if they were class

members and to electronically file their claims for benefits. Less than 48 hours later,

and prior to the issuance of the Court-approved direct notice program, Class Counsel

learned that millions of claims already had been filed, most of which sought

alternative compensation, rather than credit monitoring. While Class Counsel

suspected that many of these claims might be invalid given the erroneous and

pervasive press coverage around the $125 claim, it was apparent that the $31 million

cap would be hit and thus alternative compensation claimants would receive

substantially less than $125.

      44.    Class Counsel immediately contacted defense counsel and proposed

adjustments to the notice and claims program so that class members would be


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informed about the situation and that those who had already filed claims would be

given a chance to file an amended claim to change the type of relief they preferred

under the settlement. When issues remained after Class Counsel’s negotiation with

Equifax regarding this proposed corrective action, Class Counsel sought emergency

relief from the Court. At a hearing on July 30, 2019, the Court approved Plaintiffs’

proposals, which were implemented. Further, Class Counsel issued a public

statement on August 1, 2019, explaining the terms of the settlement and urging class

members to rely only on the official notice authorized by this Court, not the media

or other sources. [Doc. 858-1, Ex. C] Individuals who had filed claims prior to that

point in time were invited to “validate” their claims by providing the name of their

credit monitoring service, in accordance with the terms of the Settlement Agreement

§ 7.5, as discussed further in the Declaration of Jennifer Keough, App. 4.

      45.    While the Court-ordered notice program continued as ordered,

misinformation regarding the $125 claim persisted, sometimes prompted not by a

misunderstanding of the settlement’s terms, but now by objectors seeking to stir

discontent regarding the settlement by tying the $125 claim to an erroneous

statement that there was “only $31 million in cash” available under the settlement.

Most notably, on September 16, 2019, the New York Times published an opinion

piece, on its Op-Ed page, concerning the settlement:


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Charlie Warzel, Equifax Doesn’t Want You to Get Your $125. Here’s What You Can

Do., New York Times (Sept. 16, 2019),12 attached hereto as Ex. 1. In the piece,

Charlie Warzel inaccurately reported that “Equifax earmarked only $31 million for

claims, meaning that if all 147 million people affected by the breach filed a claim,

everyone would get just 21 cents.” Mr. Warzel quotes Jay Edelson, an attorney for

the City of Chicago in this case: “This deal makes me sick.” He also quoted Ted

Frank,13 a recurrent objector to class action settlements and an objector in this case




12
  Available at https://www.nytimes.com/2019/09/16/opinion/equifax-
settlement.html
13
   Ted Frank, Hamilton Lincoln Law Institute, https://hlli.org/ted-frank/ (last
accessed Dec. 2, 2019).

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who used the article as a forum to encourage other objections as quoted by Mr.

Warzel:

      Mr. Frank argues, if people come out in droves with formal objections,
      it may lessen the burden for all victims. “It’s like that meme where if
      10,000 people storm Area 51, the government won’t shoot them all. If
      enough people object, they probably won’t get deposed. And if they
      do, well, you can look at it as a once-in-a-lifetime experience.”

      46.    Mr. Warzel did not attempt to contact Class Counsel, nor did he report

on the other cash benefits (including out of pocket reimbursement up to $20,000 per

claim) available under the settlement from a total of $505.5 million in available

funds. Several class members heeded the advice provided by Mr. Frank, and filed

objections to the Settlement, citing to the New York Times opinion piece, and the

inaccurate information that “only $31 million was available for cash claims” under

the settlement.14 Days after the article was posted, objections spiked. See Decl. of

Jennifer Keough ¶ 81, App. 4.




14
    Examples include objections from Anne Vaughan (“Enclosed please find
materials that I have relating to my correspondence from and to Equifax as a result
of the breach occurring in the Fall of 2018. I do so at the recommendation of Charlie
Warzel, Opinion Writer of the New York Times, in the lead editorial of September
18, [sic] 2019.”); Claudia Moncagatta (citing to the New York Times opinion piece);
Daniel C. Gedacht (citing to the New York Times opinion piece); Joshua Levin
(“After millions of people registered with the website, it was reported by the New
York Times that Equifax had earmarked just $31 million for claims.”); Mikell West
[Doc. 880 at 8] (citing to the New York Times opinion piece).

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      47.   Unlike previous reporting that may have been prompted by innocent

confusion caused by early coverage of the settlement, statements like those in the

Warzel opinion were likely prompted by objectors seeking to spread misinformation.

For example, despite the erroneous statement in the article that there was “only $31

million for claims,” Mr. Frank previously acknowledged that “[t]here are other pots

of money” available for claims:




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      48.   Thus, although he understood there was other substantial cash relief in

the settlement, Mr. Frank decided to focus on alternative reimbursement

compensation, presumably to stir discontent regarding the settlement and later to

accuse Class Counsel of “snooker[ing]” the FTC.




      49.   As reflected in the objections, several class members continued to

believe that the settlement provided only $31 million in relief. This narrative was

repeated again on November 8, 2019, when Reuben Metcalfe, the CEO of Class




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Action, Inc.15 took up the false narrative in support of his promotion of his website,

classactioninc.com. On that date, Mr. Metcalfe published an article on Medium that

made a number of misrepresentations about the settlement, namely: “[t]he proposed

settlement of $700M includes only $31M for cash payments.”




15
     Class Action, Inc., https://classactioninc.com/ (last accessed Dec. 3, 2019).


                                         30
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Reuben Metcalfe, You have the right to object to the Equifax settlement. Here’s

how., Medium (Nov. 8, 2019).16 A copy of that article is attached as Ex. 2.

      50.    In Mr. Metcalfe’s article, he promotes a “chat-bot” named “Clarence”

that his company typically uses to file claims for claimants in class action

settlements. Class Action, Inc. is a claims filing service that, we understand, charges

a five percent transaction fee to aid class members in filing claims using its service.17

Mr. Metcalfe programmed the chat-bot specifically for the Equifax settlement at the

website https://www.NoThanksEquifax.com.

      51.    That chat-bot provides a simple user flow that directs consumers to one

of three options: object, opt-out, or file a claim. Prior to the objection deadline,

individuals who visited the chat-bot were provided insufficient and misleading

information about the settlement and the benefits it provided. References or links to

the settlement website were only provided to consumers who affirmatively chose to

file a claim, and only after they were walked through misleading statements about

what the settlement provided and offered an opportunity to object based upon that



16
   Available at https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-
to-the-equifax-settlement-heres-how-4dfdb6cca663.
17
   Mr. Edelson, counsel for the City of Chicago quoted in Mr. Warzel’s New York
Times opinion alongside Mr. Frank, is identified as a member of Class Action Inc.’s
Advisory Board. See Class Action Inc. 2019 Demo Day Pitch – Class Action,
https://vimeo.com/341715052 (at 5:50 mark in video).

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information. The chat-bot informed consumers that only two types of relief were

available under the settlement: credit monitoring, or a cash payment “between $1.30

and $25 per person.” The chat-bot did not inform consumers that they could file

claims for out-of-pocket losses (up to $20,000) and their time; that they were eligible

to receive identity restoration services without filing a claim; or that the settlement

reduced the risk of a future data breach by requiring Equifax to adopt sweeping

business practice changes, spend at least $1 billion on cybersecurity over five years,

submit to independent compliance audits, and risk being found in contempt of court

if it fails to comply. Further, while the chat-bot was critical of the credit monitoring

offered under the settlement, it did not explain to consumers the features of the credit

monitoring developed for this case, or even that Experian—at Class Counsel’s

insistence—would be subjected to the Court’s jurisdiction, ensuring that Class

Counsel could ensure that Experian was providing services in accordance with the

Settlement Agreement.

      52.    Screen shots of the chat-bot’s user flow are attached hereto as

Composite Ex. 3 (“Learn More,” “File a Claim,” “Opt-Out,” and “Object”).

      53.    News of the chat-bot caught on, and completing the circle he initiated

in the Times opinion, Mr. Frank directed consumers to the Class Action Inc.’s chat

bot to encourage more objections:


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      54.   Class Counsel again provided information to the media to correct this

latest misinformation campaign. See Alison Frankel, Equifax settlement faces

objection campaign by class action disruptor, Reuters (Nov. 11, 2019).18 Despite

pointing out Mr. Metcalfe’s misrepresentations regarding the settlement, he did not

modify the representations, nor did he reach out to Class Counsel to ask questions

or voice his concerns.




18
  Available at https://www.reuters.com/article/legal-us-otc-equifax/equifax-
settlement-faces-objection-campaign-by-class-action-disruptor-
idUSKBN1XL2LK.

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      55.   On November 19, 2019, Mr. Metcalfe sent the purported objections

procured via his chat-bot to JND, promoting his efforts on social media.




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      56.    Mr. Metcalfe represented that he had obtained 911 objections from

settlement class members; however, JND has confirmed that only 718 were actually

from class members. See Keough Decl. ¶ 81.

      57.    Mr. Metcalfe made the objections publicly available. He provided

information regarding objections that were “unsigned” via Google Docs.19 In a

spreadsheet, Mr. Metcalfe provides the date the “objection” was received from an

individual, along with their first name (last name and other PII redacted) and the

individual’s “message to the Court.” Mr. Metcalfe made available 911 “signed

objections” via a public Dropbox link.20 It does not appear that any of these

documents were redacted. Accordingly, they are being publicly filed with the Court

in the same form available on Dropbox.

      58.    After submitting the chat-bot objections, Mr. Metcalfe updated the bot,

allowing individuals to either “write to the Court,” or “stay updated,” attached hereto

as Composite Ex. 4.


19
  Available here:
https://docs.google.com/spreadsheets/d/1gfF7Gk8bOhDZwADeYbBWn9FMWN4
uM1sr9rk89hN0efY/edit?fbclid=IwAR2ivlPVPUGUpvWMM69jWNEZitll-
YArppORV-pWJU0fd5XmFvulOyCK7aQ#gid=86993864 (last accessed Dec. 3,
2019).
20
  Available here:
https://www.dropbox.com/sh/da8xqdcnmzxggx7/AAA6ZiXdRmbOdx6pWAREU
mv9a?dl=0 (last accessed Dec. 3, 2019).

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      59.    Class Counsel is attempting to seek additional information from Class

Action, Inc. via subpoena in order to assess the validity of the objections. Among

other things, Class Counsel needs to understand how signatures to the objections

were obtained. Class Counsel have been in contact with Mr. Metcalfe to schedule

his deposition.

      60.    Class Counsel is also seeking the depositions of a limited number of

other objectors, pursuant to the terms of the Settlement Agreement.

      61.    For example, Class Counsel took the deposition of Mikell West, who is

represented by The Bandas Law Firm, P.C. (“Bandas Law”) and Christopher

Bandas, among other attorneys on December 4, 2019. [Doc. 880-2; 881] Federal

courts across the country have referred to Mr. Bandas as a “serial objector,” who

“routinely represents objectors purporting to challenge class action settlements, and

does not do so to effectuate changes to settlements, but does so for his own personal

financial gain; he has been excoriated by Courts for this conduct.” In re Cathode

Ray Tube (CRT) Antitrust Litig., 281 F.R.D. 531, 533 (N.D. Cal. 2012); see also,

e.g., In re Gen. Elec. Sec. Litig., 998 F. Supp. 2d 145, 156 (S.D.N.Y. 2014) (noting

that Bandas “has been repeatedly admonished for pursuing frivolous appeals of

objections to class action settlements” and concluding that the objector’s

“relationship with Bandas, a known vexatious appellant, further supports a finding


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that [objector] brings this appeal in bad faith”); In re Hydroxycut Mktg. & Sales

Practices Litig., 2013 WL 5275618, at *5 (S.D. Cal. Sept. 17, 2013) (noting that

“Mr. Bandas was attempting to pressure the parties to give him $400,000 to

withdraw the objections and go away” and “was using the threat of questionable

litigation to tie up the settlement unless the payment was made”); Clark v. Gannett

Co., 122 N.E. 3d 376, 380 (Ill. Ct. App. 2018) (Bandas has “earned condemnation

of [his] antics from courts around the country. Yet, [his] obstructionism continues.”).

      62.    In 2018, the Appellate Court of Illinois, First District, ruled that Mr.

Bandas had “engaged in a fraud on the court” by failing to file a pro hac vice

appearance and filing an objection for an improper purpose—mainly, to elicit

payment to drop an objection. Clark v. Gannett Co., Inc., 122 N.E.3d 376 (Ill. App.

1st Nov. 20, 2018), reh’g denied (Jan. 18, 2019). The court referred Mr. Bandas to

the disciplinary commission for assisting in the unauthorized practice of law. See

id. at 390-392 (finding that another attorney “was merely the frontman for the

objection so that Bandas did not have to sign any pleadings or appear in court.”).

See Ex. 5. In a subsequent action, Mr. Bandas and his firm were permanently

enjoined by a federal judge from, among other things, seeking admission to practice

in any court without providing a copy of the final judgment in the action and

objecting to any class action settlement without complying with certain


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requirements. Edelson P.C. v. The Bandas Law Firm, 2019 WL 272812 (N.D. Ill.

Jan. 17, 2019). Ex. 6. The apparent purpose of the injunction is to ensure that courts

overseeing class action litigation in which Mr. Bandas or his firm become involved

are aware of his unethical conduct. Neither Mr. Bandas nor his firm has filed the

final judgment in this case.

      63.    In his deposition, Mr. West testified that he was not aware of Mr.

Bandas or Bandas Law’s prior misconduct, nor was he aware of the injunction that

was issued against them. Additionally, Mr. West testified that he paid for credit

monitoring services, but did not file a claim for the hundreds of dollars in out-of-

pocket losses to which he would be entitled as a result. Mr. West also testified that

he did not see sitting for a deposition as a burden. Many of the objections that Mr.

West made were undermined by his testimony.

      64.    Class Counsel are also seeking the depositions of George Cochran (an

attorney), John Davis, and Steven Helfand. Class Counsel seek to take their

depositions to ensure that their motives for objecting in this action are appropriate

and comport with Rule 23’s criteria and have good reason to do so. See, e.g.,

Muransky v. Godiva Chocalatier, 2016 WL 11601079, at *3 (S.D. Fla. Sept. 16,

2016) (labelling Mr. Davis and others as “professional objectors who threaten to

delay resolution of class action cases unless they receive extra compensation.”); In


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re Optical Disk Drive Prods. Antitrust Litig., 2016 WLL 7364803, at *11 (N.D. Cal.

Dec. 19, 2016) (noting that Mr. Helfand “frequently file[s] objections in class action

settlement proceedings,” which, in that case, was not “well-tailored to the facts of

the case”); Davis v. Apple Computer, Inc., 2005 WL 1926621 (Cal. Ct. App., 1st

Dist., Div. 4 Aug. 12, 2005) (noting that Mr. Davis and Mr. Helfand had

“confidentially settled or attempted to confidentially settle putative class actions in

return for payment of fees and other consideration directly to them” in apparent

violation of court rules.)

      65.    Another objector in this case—Christopher Andrews (whose objection

is postmarked November 20, 2019)—also has a history of objecting to class action

settlements. He has made a number of unfounded accusations against Class Counsel

in this case. In addressing Mr. Andrews’ objections in another class action, Shane v.

Blue Cross, No. 10-cv-14360 (E.D. Mich.), the court noted that many of his

“submissions are not warranted by the law and facts of the case, were not filed in

good faith and were filed to harass Class Counsel.” Ex. 7. The court also noted that

Mr. Andrews “is known to be a ‘professional objector who has extorted additional

fees from counsel in other cases[.]’” Id. And based on an email that Mr. Andrews

sent to counsel in the Shane action on November 27, 2019, this case appears to

another example of an extortion scheme. Ex. 8.


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      66.    Another objector—Troy Scheffler—filed what essentially amounts to a

racist rant under the guise of objecting to the settlement (albeit belatedly, on

November 25, 2019): “Mainstream ‘news’ is taking fast. Fake news is a thing. . . .

The majority of hate groups are black. The only reason there was an uptick in ‘hate

groups’ was not because of white supremacists. . . . The numbers still show blacks

are overrepresented in hate crimes and whites are underrepresented.            This

notwithstanding the constant which [sic] hunts against whites.” [Doc. 884 at 20-22]

Mr. Scheffler has objected to a number of class actions; however, a court has

previously found that similar objections to the ones he made here “have no factual

or legal merit.” No. 13-cv-24583-PAS, Doc. 197 at 25 (S.D. Fla. July 22, 2016),

aff’d No. 16-15277 (11th Cir. July 31, 2017). In another objection, Mr. Scheffler

agreed to a payout to drop his objection. In re Experian Data Breach Litig., No. 15-

cv-01592, Doc. 335 (C.D. Cal. July 3, 2019) (approving payment of $10,000 to Mr.

Scheffler and his counsel to drop the objection).

      67.    All objections to this case are being filed contemporaneously in a

separate document. They are summarized in the attached Ex. 9.



                         Class Counsel’s Additional Work




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      68.    Since the Court’s order authorizing class notice, Class Counsel have

also spent substantial time on other matters, such as overseeing implementation of

the claims and notice programs; communicating with JND, Signal, defense counsel,

and the Regulators (including through weekly conference calls); answering hundreds

of questions from class members; evaluating and responding to objections; and

working on the papers that will be filed before the final approval hearing.

      69.    Although a toll-free number was set up to answer questions that

settlement class members could have about the settlement, Class Counsel have

collectively responded to hundreds of inquiries from class members, themselves,

ranging from how to fill out claims forms, to questions about the specific types of

relief available under the settlement.

      70.    And Class Counsel’s work will not end once the settlement is finally

approved or even after all appeals are resolved. Class Counsel’s oversight

responsibilities and other work will continue until the settlement is finally

consummated, which will not occur until far into the future. The initial claims period

does not end until January 2020, and likely will be followed by a four-year extended

claims period. Identity restoration services will be available to class members for

three more years after that. The notice program will continue throughout this entire

seven-year period. Moreover, as the settlement administrator begins verifying


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claims, Class Counsel will be hard at work monitoring the process and where

necessary participating in the dispute resolution procedures as contemplated by the

claims protocol. (Ex. 9 to Settlement Agreement, Doc. 739-2 at 285-292). Additional

information regarding Class Counsel’s anticipated work is outlined in Plaintiffs’

Motion for Attorneys’ Fees, Expenses, and Service Awards to the Class

Representatives and Supporting Memorandum of Law [Doc. 858], as well as

declarations submitted in support. [Docs. 858-1, 858-2, 858-3]

      71.   Since submission of Plaintiffs’ motion for attorneys’ fees, Class

Counsel have continued to collect and review time and expense records pursuant to

the standard protocol and the review process described in our previous declaration

[Doc. 858-1 ¶¶ 40-49]. Since October 1, 2019, and after review by Class Counsel

for billing judgment, Plaintiffs’ counsel have incurred an additional 1,366 hours of

time and $1,005,657.90 in lodestar through November 30, primarily on overseeing

the notice program and administration of the settlement and work related to final

approval and responding to objections. In addition, there is a modest amount of

previously-incurred time that was erroneously not reported by participating firms

who represent individual class representatives, totaling 234.6 hours and $100,303.00

in lodestar. All of this time is summarized by firm in Exhibit 10 hereto, and detail




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thereof will be submitted to the Court in camera pursuant to the February 12, 2018

Order.

      72.   When combined with the time submitted with the fee application

(31,011.9 hours and $20,986,357.80 lodestar), the time and lodestar reasonably

incurred on behalf of the class and submitted in support of Plaintiffs’ fee

application—to the extent the Court considers lodestar in this common-fund

settlement—is 32,612.5 hours and $22,092,191.70 lodestar. This time is reasonable

and justified in view of the issues, the complexity and importance of the case, the

manner in which the case was defended, and the quality of the result.

      73.   Plaintiffs’ lodestar of $22,092,191.70 as of November 30, 2019, results

in a multiplier of 3.5 through November 2019. The multiplier is even lower if Class

Counsel’s future hours as estimated above are included in the cross-check

calculation. When considering the additional 10,000 hours and $6,767,200 in

lodestar Class Counsel conservatively estimates will be expended after final

approval, the lodestar for current and future time thus is $28,859,391.70, reducing

the total multiplier to 2.69. Class Counsel will make a final supplement of time

incurred immediately prior to the final approval hearing.

      74.   In connection with the fee application, Class Counsel reported that they

had reasonably and necessarily incurred $1,248,033.46 in expenses for such items


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as court reporter fees; document and database reproduction and analysis; e-discovery

costs; expert witness fees; travel for meetings and hearings; paying the mediator;

and other customary expenditures. Since submission of the fee application, Class

Counsel have reasonably and necessarily incurred an additional $42,002.70 in

expenses, bringing the total requested expenses as of this filing to $1,290,036.16.

Supporting detail for each of these current expenses has been reviewed by Class

Counsel. A chart summarizing these expenses by category is attached hereto as

Exhibit 11, and detail of these expenses will be submitted to the Court in camera

pursuant to the February 12, 2018 Order. Class Counsel will make a final supplement

of expenses incurred immediately prior to the final approval hearing.

      We declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.




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 Executed this 5th day of December, 2019.


                               /s/ Kenneth S. Canfield
                               Kenneth S. Canfield

                               /s/ Amy E. Keller
                               Amy E. Keller

                               /s/ Norman E. Siegel
                               Norman E. Siegel




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                    Exhibit 1

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
12/5/2019               Case 1:17-md-02800-TWT              Document
                                  Opinion | Equifax Doesn’t Want You to Get 900-1
                                                                            Your $125. Filed  12/05/19
                                                                                       Here’s What          Page
                                                                                                   You Can Do.       48 of
                                                                                                               - The New York247
                                                                                                                              Times




Equifax Doesn’t Want You to Get Your $125.
Here’s What You Can Do.
Consumers have a few options for dealing with the data breach settlement.

            By Charlie Warzel
            Mr. Warzel is an Opinion writer at large.


Sept. 16, 2019


Equifax had one job — keep its vast trove of personal ﬁnancial information on millions of Americans secure. In 2017, the company failed
spectacularly at that job when a hack compromised the information of more than 147 million people.

This July, Equifax settled a lawsuit with the Federal Trade Commission in response to that failure for up to $700 million. A settlement
website was created to allow those who had their information exposed by Equifax to ﬁle a claim to receive either free three-bureau credit
monitoring for up to 10 years or up to $125 (if you already had credit monitoring, no documentation necessary).

News spread. Millions listened and inundated the claim site. A week later, I reported on some ﬁne print in the settlement suggesting that
Equifax earmarked only $31 million for claims, meaning that if all 147 million people affected by the breach ﬁled a claim, everyone would
get just 21 cents. Two days later, the F.T.C. admitted this and urged victims instead to take the free credit monitoring. Activists and
politicians, including Elizabeth Warren, excoriated the F.T.C., calling the initial settlement “misleading.”

Last weekend, victims looking for their $125 faced yet another indignity in the form of an email from the Equifax settlement team. The
email — which looked so spammy the F.T.C. had to assure readers on its website that it was legitimate — said that people looking for a
cash reward must verify they had credit monitoring in place by Oct. 15, 2019, or their claims would be denied.

To recap: Equifax exposed personal ﬁnancial information, was sued by the government and settled. The government publicly touted a
cash reward alternative of up to $125 to victims without ensuring enough money had been set aside to guarantee the max amount for
every possible person affected; the government backtracked on its statement; eventually, the Equifax settlement team sent a mid-
weekend email adding a new hurdle for victims to claim their money. And the cash settlement? “Forget about the $125 alternative,” the
Los Angeles Times columnist Michael Hiltzik wrote. “It doesn’t really exist in the real world.”

As one of the 147 million who had their personal information exposed (my weekend email was helpfully buried in the purgatory of Gmail’s
“Promotions” tab), the settlement high jinks are enraging to me — an example of ﬁnancial restitution in the form of a news release only.
Worse yet, the bungled payouts may have long-term repercussions for the way Americans think about privacy.

“This deal makes me sick,” Jay Edelson, a class-action lawyer who specializes in privacy cases, told me last week. “This is going to be
most Americans’ experience with privacy class-action suits. And their view is going to be, I assume, ʻWe were promised a lot and we’re
going to get nothing and that’s how it’ll always be.”

[If you’re online — and, well, you are — chances are someone is using your information. We’ll tell you what you can do about it. Sign up for
our limited-run newsletter.]

Fortunately, experts say there are still things you can do if you feel frustrated and misled.


Respond to that Equifax settlement email
This may seem obvious but the best thing you can do, especially if you have credit monitoring protections active, is make sure you ﬁnd,
open and respond to the Equifax email the settlement team sent out. Theodore H. Frank, a lawyer who specializes in class-action suits,
told me this week that only 3 percent of the people who get class-action emails actually respond. But responding is important, because it
shows real consumer interest in restitution.

Of course, you’ll need to show proof that you have credit monitoring to be eligible for a cash settlement. But there’s a chance you might
have credit monitoring active even if you weren’t previously aware. Many major credit cards actually provide a form of credit monitoring
— it’s worth checking with your credit card company to see if you have some form of monitoring in place. If you do, it’s a loophole that
might allow you to receive your piece of the settlement.




https://www.nytimes.com/2019/09/16/opinion/equifax-settlement.html                                                                             1/3
12/5/2019          Case 1:17-md-02800-TWT              Document
                             Opinion | Equifax Doesn’t Want You to Get 900-1
                                                                       Your $125. Filed  12/05/19
                                                                                  Here’s What          Page
                                                                                              You Can Do.       49 of
                                                                                                          - The New York247
                                                                                                                         Times

Granted, this requires some legwork — more than many people may be willing to put in. But giving up is exactly what the settlement team
is hoping for when they send out a suspect-looking email, Mr. Frank argued. “Boycotting this unfair settlement isn’t doing anything. The
settlement attorneys will still get paid, even if you don’t,” he said.




Write a letter to the court
Before anyone can get their money, the court — speciﬁcally, the United States District Court for the Northern District of Georgia — has to
approve the settlement. This, two class-action lawyers told me, is where victims have some real power to exert some inﬂuence. According
to one lawyer familiar with the settlement, one of the factors the court looks at are the responses from those who write letters.

These objections can come in many forms — you can ﬁnd information on how to object here under FAQ section 25 — and you can simply
write a standard one-page letter. No legalese or lawyers necessary. “Courts actually read all the objections,” one attorney said. Because
most people are too intimidated to write in, a small percentage can go a long way. “Even if it’s just 1,000 or 2,000 people, that can send a big
message.” The letter should be brief and outline the process, stressing that you feel deceived by the terms of the settlement — if you do.

Another option is to write your state attorney general to complain about the settlement. Multiple class-action lawyers I spoke with noted
that a number of state attorneys general were part of this settlement and that inundating them with letters could ratchet up the pressure
to push back on the settlement.

The difﬁculty is that people usually don’t realize a settlement is unfair right away. Often, it’s not until years later, when a check for a few
cents arrives, that they’ll realize they’ve been baited and switched. But then it’s too late.




File a formal, legal objection
Then there’s the heavy-lift option, which involves class-action lawyers like Mr. Frank. This process is likely to take time, as the objection
will cite case law and make a formal argument to the settlement judge. Once these formal objections are ﬁled, other victims can join them
without needing to do as much legwork.

There are some serious downsides to ﬁling a formal objection, according to Mr. Frank. Those who do could face long, aggressive
depositions from Equifax’s lawyers. Their ﬁnancial records could be subpoenaed as well. “The lawyers take these objections very
personally,” he said. “They have $80 million in fees at stake. It’s going to be really ironic when the lawyers who were ﬁghting for the
privacy of the class will harass them and invade their privacy to keep their money.”

But, Mr. Frank argues, if people come out in droves with formal objections, it may lessen the burden for all victims. “It’s like that meme
where if 10,000 people storm Area 51, the government won’t shoot them all. If enough people object, they probably won’t get deposed. And
if they do, well, you can look at it as a once-in-a-lifetime experience.”



https://www.nytimes.com/2019/09/16/opinion/equifax-settlement.html                                                                                2/3
12/5/2019          Case 1:17-md-02800-TWT              Document
                             Opinion | Equifax Doesn’t Want You to Get 900-1
                                                                       Your $125. Filed  12/05/19
                                                                                  Here’s What          Page
                                                                                              You Can Do.       50 of
                                                                                                          - The New York247
                                                                                                                         Times

Why should I do this?
If all of this sounds elaborate, it is. But if you care about the future of privacy, the impact could be meaningful. As Mr. Frank notes, this is
ultimately about sending a message on behalf of millions of victims that protecting privacy does matter and that those who expose
entrusted personal information owe victims real compensation. Not some bait-and-switch news release.

Like other media companies, The Times collects data on its visitors when they read stories like this one. For more detail please see our
privacy policy and our publisher's description of The Times's practices and continued steps to increase transparency and protections.

Follow @privacyproject on Twitter and The New York Times Opinion Section on Facebook and Instagram.




https://www.nytimes.com/2019/09/16/opinion/equifax-settlement.html                                                                                 3/3
  Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 51 of 247




                    Exhibit 2

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 52 of 247




      You have the right to object to the
      Equifax settlement. Here’s how.
                  Reuben Metcalfe Follow
                  Nov 8 · 10 min read




                                            HECK YEAH INDEPENDENT ACCESS TO JUSTICE



      TLDR FACTS:
            The 2017 Equifax data breach affected 148M US residents, and included names,
            addresses, SSN’s, credit cards, drivers licence details and more.

            The proposed settlement of $700M includes only $31M for cash payments.

            The ‘$125 to $250’ claims are currently expected to pay less than $5 each.

            The proposed credit monitoring service (via Experian) recently had their own data
            breach. (We know because we filed thousands of claims for it.)

            If approved, the attorneys representing you will make $77.5M in fees.

            Equifax shares are up 43% this year… For now.
https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    1/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 53 of 247

            We built a chatbot called Clarence to make it easy for you to object.


      HOW TO OBJECT:
      Simply ask our chat-bot Clarence to do it for you by clicking here.




                                         Shia LaBeouf would. In fact, he probably already has.



      THE STORY:
      It was 2AM, and the the tone of the 7–11 employee counter had changed.

      Brow now certifiably furrowed, he eventually landed on “I won’t sell” before (now rather
      pointedly) completing my coffee purchase.

      Like myself, this hard working fellow’s personal data had been compromised in The
      Worst Data Breach in History involving roughly half the US population and I suspect, the
      vast majority of those reading this post.

      Unlike myself, he hadn’t the context of having filed tens of thousands of class action
      claims that week.Indeed, he was aware of neither the settlement, the data breach, nor
      the existence of any credit bureau, including Equifax.

      Naturally, when I asked him for how much he’d be willing to sell me his
      first and last name, email and physical addresses, telephone number,
      credit card number, social security number and drivers license details for
      …He assumed it was a joke.




https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    2/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 54 of 247




                                           You’d think selling SSN’s would be illegal. It is not.


      I mean it sounds like it must be a joke... Doesn’t it?

      Is there a scenario in which that question isn’t patently ludicrous?

      His story is not uncommon. Over the past few months I’ve asked the same question of
      clerks, bankers, mothers, friends, or anyone with enough patience (or perhaps the
      temperament) for a curve-ball from a stranger.

      Most refuse to entertain the question entirely and — when pushed — will answer in the
      ‘tens of thousands to millions’ range.

      Still, we now find ourselves with what most believe to be only three options in the
      Equifax settlement as follows;

      1) File a claim for $125–250 per person.

      Only you’re much more likely to receive less than five dollars, due to a capped $31M
      settlement pool with completely predictable claim volumes.




https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    3/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 55 of 247




                                           GET YOUR $125 NOW BEFORE ITS PREDICTABLY $5


      2) Accept credit monitoring services from Experian

      Of course, they recently settled their own data-breach class action for sixteen million
      Californian T Mobile users. So one might be forgiven for feeling odd about handing ones
      data over so that they too can sell it to their clients.




                       We can protect your data this time… we just need a little more of it if that’s okay.


      3) Shake our heads, and do nothing.

      …And watch as Equifax’s stock climbs higher than it was prior to the breach, whilst
      simultaneously losing your legal rights to sue or participate in any future outcome of any
      litigation related to the event.




https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    4/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 56 of 247




                                                                    Tempting.



      Here’s two options you may not have heard of:
      4) Opting out

      Usually only attorneys (or those with the means to hire one) have the awareness and
      access to exercise their right to opt-out of a class action settlement in order to pursue
      their rights individually. That being said, there are a number who have received multi-
      thousand dollar judgments in their favor from pursuing this path in small claims court.




         Opting out means you’re on your own — which may not be a bad idea if you’re willing to put the time in.


      …And then there’s this option:

      5) You can object to the settlement(!)




https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    5/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
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                                                       Objecting is kind of a big deal.


      If you were not aware you had to the right to object, it is because every actor in the class
      action ecosystem is actively incentivized to ensure that is the case.

      What could possibly be so important about this mechanism, that both plaintiffs
      and defense counsel would make it as difficult as possible?

      To put it simply; If class actions were a finely tuned system of checks and balances
      (which they can be and often are) filing an objection would be the equivalent of
      someone walking in with a bomb strapped to their chest.

      It is essentially a vote of ‘no confidence’ in the settlement, and it causes a lot of trouble
      for those who are trying to approve the deal. In this case, a successful objection or group
      of objections would;

            Prevent the settlement from being approved as-is.

            Prevent class counsel from receiving a $77.5M paycheck.

            Prevent Experian from receiving a great deal of money for their ‘free’ credit
            monitoring services (paid in part by some of the $669M that doesn’t go to you.)

            Pave the path for an immediate appeal against a judges decision if they decide to
            overrule such objections and,

            Expose Equifax to the full extent of any and all liability the class action settlement
            would otherwise waive in lieu.

      Unsurprisingly, filing an objection (as noted in Q25 on this FAQ) is not as easy as filing a
      claim for the not-really-$125.

      Whilst there is no legal reason to prioritize one legal right over another, filing objections
      for class actions are reliably several times harder, invariably involving physical letters,
      often sent to multiple physical addresses.
https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    6/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
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      That being said, even among ‘normally’ difficult processes… This settlement has perhaps
      the MOST unduly burdensome we’ve seen to date… And we’ve seen hundreds in our
      role as the worlds leading (okay okay — the only) online class action claims filing
      service for consumers.

      On learning this, I had to remind myself as to why I started this company.

      You see, the Equifax Data breach happened shortly after I was inspired (incensed?) to
      start Class Action Inc in 2017.

      When this settlement finally across our desk years later, I immediately told my Facebook
      friends to ‘wait for a moment’ before filing a claim… The numbers didn’t add up, and
      whilst it’s common for consumer class action claims to see low participation rates (The
      average US resident is part of 3–4 class actions each year, yet files only one claim every
      five years) … This settlement was…

      Well.

      Unsettling.

        1. The consumer cash portion is less than 5% of the total settlement pool

        2. The proposed credit monitoring supplier only recently settled a large-scale data
            breach of their own.

        3. The payment is likely to be orders of magnitude less than what was advertised.

        4. The attorneys representing the class are getting double the total cash portion of
            their consumer client base. (One presumes they refused to be paid in $77.5M worth
            of free credit monitoring.)

        5. The defendant’s share price has SKYROCKETED, with speculators touting stock as ‘a
            buy right now’…Perhaps the Equifax execs who sold $2 Million worth of stock after
            the breach but before the announcement should have held on a little longer, hey?

      But you know… Not everyone cares about this kind of thing.

      Only a small percentage of the population people pay real attention to data, privacy
      rights, or related class actions and their outcomes. Out of sight, out of mind right? Life is
https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    7/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 59 of 247

      for living — not dwelling on what happened in the past!

      Still, to the extent you wouldn’t sell your SSN and credit card details to a stranger on the
      street for $5, and to the extent a necessary part of my job is to observe hundreds of class
      actions a year… SOMEONE should probably speak up when things aren’t working like
      they’re supposed to.

      As the filing deadlines has approached in recent weeks, with a few notable exceptions —
      I haven’t seen many offering real solutions for consumers who’ve felt frustrated with
      what can feel like an abuse of power, and a mistaken belief that they are powerless.

      In truth, class members are more powerful than you might think.

      Given our role, we’ve decided it’s our job to let them know that fact.

      Hey, you’d do the same for us, right?

      So!

      Here’s the deal:

      I Reuben Metcalfe, founder of Class Action, Inc, whilst having no desire to alienate
      myself or my company from the class action plaintiffs bar, the class action defense bar, or
      the judiciary who oversee this critical part of the US legal infrastructure, am pretty much
      done with being quiet about just how bad of a mess the class action system has become:

            Claims rates are regularly in the single digit range.

            Coupon settlements are (somehow) alive and well.

            Adhesive arbitration agreements are being increasingly upheld.

            Collective power wanes, along with the faith in the system so many stewards of
            justice spent their lives to earn and maintain.

      Perhaps it is the current climate, but it feels as though the fabric of trust upon which the
      strength of the rule of law rests, increasingly frays at the seams.



https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    8/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 60 of 247

      If we are to repair and maintain this rich and valuable tapestry then, we must prepare to
      speak and act in its service when the opportunity presents itself.


      Here’s what we’re doing about it:
      Starting today, our claims-filing robot bear Clarence will not only file
      claims for class action settlements.

      He will now file opt-outs and objections. (For free.)
      Why would a company simultaneously antagonize both the class action plaintiffs bar and
      the collective legal resources of the Fortune 500?

      Quite simply, we believe it’s the most sustainable long-term path.

      While some corporations see fit to censor their own communities for fear of retaliation
      from national interests, we choose to empower the voice of our community, and to join
      them with a voice of our own.

      On that note, allow me to be explicit:

      The Equifax settlement is an objectively bad deal.

      It is not fair.

      It is not adequate.

      It is not reasonable.

      As filing agent and custodian for hundreds of thousands of US consumer class members,
      we believe the five percent fee we procure from filing such claims, is of lesser value than
      the loyalty and support of our customers, who deserve a service provider who refuses to
      profit at their expense.

      We choose not to be complicit in the wholesale of human rights.

      We choose transparent systems over institutionalized ambivalence.

      We choose to eschew the needlessly complex, and unduly burdensome.
https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    9/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 61 of 247

      We choose to reinforce an underfunded court system suffering from increasing pressures
      on an outdated infrastructure.

      We choose greater access for consumers to their powerful legal rights.

      We choose increased independent access to justice.

      And far this settlement is concerned?

      We choose to object.

      You can join us in doing so by clicking here.

      Sincerely,

      Reuben Metcalfe

      Founder and CEO, Class Action, Inc.

      Addenda:

      For avoidance of doubt - whilst we believe objecting is the better option - we can and will
      file claims for those among our client community who choose to do so for this particular
      settlement. We’re capitalists, so we don’t accept donations — but we’d love to file your
      claims for you for hundreds of (other, much better) settlements each year for our
      standard five percent fee if you’re interested in semi-regular amounts of free money on
      the internet. You can find us at www.classactioninc.com


      FAQ: (Updated 11/11/19)
      Q: How many objections are needed to ‘block’ this settlement?

      A: Only one valid objection is needed — but higher volumes really make an impact. The
      highest volume of objections I’ve personally seen on a case was almost 30 — though I
      hear some cases have seen several hundred in the past. We accrued over two hundred
      objections on the first day of this post, so I suspect we may be setting a world record
      here.

      Q: What data do you need from me to file an objection?
https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663    10/11
12/5/2019         Case 1:17-md-02800-TWT     Document
                                      You have                900-1
                                               the right to object         Filedsettlement.
                                                                   to the Equifax 12/05/19  Here’sPage
                                                                                                   how. 62 of 247

      A: We’ll need your name, physical address, email, and the reasons why you’re objecting
      to the settlement. You’ll also be confirming you are indeed part of the settlement — if
      you’re unsure, you can find out here.

      Q: I already filed a claim… Can I still file an objection?

      A: You can — make sure to mention it in your objection.

      Q: Will Clarence (or your company) sell, lease, or expose my data?

      A: No. (Except for filing the objection to the court.)

      Q: Do you make money from this? What’s the angle, here?

      A: We don’t make money from filing objections (Indeed, it costs a reasonable amount to
      send the physical letters by certified mail) That said, if the settlement is renegotiated and
      our clients are paid higher amounts (Say for example, the originally proposed
      $125-$250 per person) then we’ll still make 5% in filing fees for those claims. If that
      happens, it’ll be the same for every class member, whether or not they‘re a customer. It’s
      a bit like a union (you know, one of the cool ones) advocating for workers rights —
      whether or not every worker is part of the union. You don’t have to be a customer if you
      don’t want to, but we promise to work really hard for you if you do.

      Q: Is there anything else I can do to help make this thing happen?

      A: Yes! TELL EVERYONE.



        Privacy       Equifax       Legal       Startup        Justice



                                                                                                                   About   Help   Legal




https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-heres-how-4dfdb6cca663                          11/11
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                    Exhibit 3

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 64 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread – File aa Claim
                                    - File    Claim




                  Hi there! My name's Clarence.


     12:23


                                                                                                12:23
                                                                           Hey, Clarence.




                  My job is to help people with the Equifax data breach settlement.



                  Do you already know what you want to do?


     12:23
              CHOOSE AN OPTION




                                                                        I want to file a
                   I want to object!         I want to opt out
                                                                            claim




                    I'd like to learn
                         more




                 Do you already know what you want to do?


   12:23


                                                                                                    12:23
                                                                       I want to file a claim




                Okay - before you do, there's a few things you should know,
    &
   12:23
             CHOOSE AN OPTION




                     Like what?




                                                   11                                 11/11/19
                                                                                      11/11/19 12:07
                                                                                               12:07 PM
                                                                                                     PM
     Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 65 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread – File aa Claim
                                    - File    Claim




                  Okay - before you do, there's a few things you should know,


     12:23


                                                                                                 12:24
                                                                                Like what?




                  There's two primary kinds of claims: You can apply for free credit
                  monitoring, or a cash settlement.
      &
     12:24


                                                                                                 12:24
                                                                                       Okay...




                  The credit monitoring service would be provided by Experian -
                  which has had its own data breaches in the past.
      •-


     12:24
              CHOOSE AN OPTION




                          Huh.




                The credit monitoring service would be provided by Experian -
       3        which has had its own data breaches in the past.


   12:24


                                                                                                 12:24
                                                                                         Huh.




                 For the cash option - whilst it was advertised that payments would
                 be hundreds of dollars, the current projections are a little
                different...
   &
   12:24
             CHOOSE AN OPTION




                      How so?




                                                   22                             11/11/19
                                                                                  11/11/19 12:07
                                                                                           12:07 PM
                                                                                                 PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 66 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread – File aa Claim
                                    - File    Claim




                  be hundreds of dollars, the current projections are a little
                  different...


      12:24


                                                                                                         12:24
                                                                                       How so?




                  Well, right now they're expected to paybetween $1.30 and $25
                  per person.



      12:24
              CHOOSE AN OPTION




                          I see...




                 Well, right now they're expected to paybetween $1.30 and $25
                  per person.



     12:24


                                                                                                             12:25
                                                                                              I see...




                  If you'd still like to file a claim, I can send you to the right place.



                 Alternatively, you can opt-out or object to the settlement.
     W
     12:25
              CHOOSE AN OPTION




                                                  Tell me more
                  I'd still like to file a
                                                 about the other
                          claim.
                                                     options...




                                                       33                                   11/11/19
                                                                                            11/11/19 12:07
                                                                                                     12:07 PM
                                                                                                           PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 67 of 247

Nothanksequifax.com Chat Bot Thread – File a Claim




                                            4               11/11/19 12:07 PM
      Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 68 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread – File aa Claim
                                    - File    Claim



https://www.equifaxbreachsettlement.com/
https://www.equifaxbreachsettlement.com/

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                     EQUIFAX DATA BREACH SETTLEMENT


       Home           Key                    Important                   FAQs      I Would Like To... -            ES
                     Dates                   Documents




            Welcome To The Equifax Data Breach
                   Settlement Website


      In September of 2017, Equifax announced it experienced a data breach, which impacted the
      personal information of approximately 1 47 million people. A federal court is considering a
      proposed class action settlement submitted on July 22, 201 9, that, if approved by the Court,
      would resolve lawsuits brought by consumers after the data breach. Equifax denies any
      wrongdoing, and no judgment or finding of wrongdoing has been made.




                                                 FILE A CLAIM TODAY




       If you are a class member, you can use this website to claim the benefits described below.


         Please note that none of these benefits will be distributed or available until the settlement is
                                            finally approved by the Court.

      If you request or have requested a cash benefit, the amount you receive may be significantly




                                                            55                                   11/11/19
                                                                                                 11/11/19 12:07
                                                                                                          12:07 PM
                                                                                                                PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 69 of 247

Nothanksequifax.com Chat Bot Thread – File a Claim




                                            6               11/11/19 12:07 PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 70 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread – Learn More
                                    - Learn More




                   Hi there! My name's Clarence.


      12:31


                                                                                               12:31
                                                                            Hey, Clarence.




                   My job is to help people with the Equifax data breach settlement.




                   Do you already know what you want to do?


      12:31


                                                                                               12:31
                                                                      I'd like to learn more




          3>      What would you like to know more about?


      12:31
               CHOOSE AN OPTION




                      Filing a claim            Opting out                 Objecting




                                                   11                              11/11/19
                                                                                   11/11/19 12:07
                                                                                            12:07 PM
                                                                                                  PM
      Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 71 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections



 <-   ->    C        ft   nothanksequifax.com                                                           ®      l
 !!: Apps   V             ACS | American Co...   § Hernandez v. Mesa...   g   ecommons.jmls.edu     * LexisNexis® for La...



                    (ilii) Your legal rights m3tt6r. Clarence was built to help you use them!



                              Hi there! My name's Clarence.


            11:48


                                                                                                                       11:48
                                                                                           Are you a... Bear?




                              It's cooler than that. I'm a ROBOT bear.



                mk            You're a human, right?

            11:48


                                                                                                                       11:48
                                                                                                  Yep! Sure am.




                                        \mL      I.   I




                                                                  11                                      11/11/19
                                                                                                          11/11/19 12:07
                                                                                                                   12:07 PM
                                                                                                                         PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 72 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections



                                                                        11:48
                                                        Yep! Sure am.




                                      1
                                               4


                                          * m
                    ,

                                          m
                           lr ?l          }M

                                fj\       fm




                 Oh man I KNEW it.


     11:48
             CHOOSE AN OPTION




                        Good job,
                        Clarence.




                                                   22       11/11/19
                                                            11/11/19 12:07
                                                                     12:07 PM
                                                                           PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 73 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




              Oh man I KNEW it.


  11:48


                                                                              11:50
                                                        Good job, Clarence.




              I KNOW RIGHT?



             Ahem.



              I should probably do my job, here.
   &
  11:50
          CHOOSE AN OPTION




              ...What's your job?




                                                   33              11/11/19
                                                                   11/11/19 12:07
                                                                            12:07 PM
                                                                                  PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 74 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




               I should probably do my job, here.
    &
   11:50


                                                                                           11:50
                                                                    ...What's your job?




               My job is to help people with the Equifax data breach settlement.



               Do you already know what you want to do?
    -s;
   11:51
           CHOOSE AN OPTION




    o                                                                I want to file a
    BACK
                I want to object!         I want to opt out
                                                                         claim




                 I'd like to learn
                      more




                                                44                             11/11/19
                                                                               11/11/19 12:07
                                                                                        12:07 PM
                                                                                              PM
     Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 75 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections


 ii:di




                                                                                       I
                                                                                           11:51
                                                                    I want to object




            Hey just quickly...



            Before we do this, there's something you should know.
 &
 11:51


                                                                                           11:51
                                                           Whats that, Clarence?




            Everytime someone chooses to object to the Equifax settlement,
            something happens at the office.


 11:51


                                                                                           11:51
                                                                    ...What happens?




            This happens.




                                               55                            11/11/19
                                                                             11/11/19 12:07
                                                                                      12:07 PM
                                                                                            PM
           Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 76 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections


 X l.J X




                                                                                  11
                                                              ...What happens?




                 This happens.




                            P
                            m




                  Or sometimes...


 11:51
              CHOOSE AN OPTION




                                             66                    11/11/19
                                                                   11/11/19 12:07
                                                                            12:07 PM
                                                                                  PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 77 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




               Or sometimes...


    11:51


                                                                                       11:52
                                                                   Sometimes what?




               Sometimes it's this.




                         V
                          _        -2;




               Finally - for everyone one hundred people who choose this
        3> I   option... well...




                                              77                           11/11/19
                                                                           11/11/19 12:07
                                                                                    12:07 PM
                                                                                          PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 78 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                Finally - for everyone one hundred people who choose this
                option... well...


      11:52


                                                                                            11:53
                                                         I get it Clarence. You like fre-



                1*




                             •




                         —J




                             1
                %
                         *




                                    'J-Jiri
                     v




                Okay I'm just saying though.




                                               88                              11/11/19
                                                                               11/11/19 12:07
                                                                                        12:07 PM
                                                                                              PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 79 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections



                «
                     r                                        j
                          #Freedom


               Okay I'm just saying though.

   11:53


                                                                                      11:53
                                                                     Are you done?




              Ahem.



               In order to object, I'm going to need a few things.


   11:53
           CHOOSE AN OPTION




                     Hit me.




                                                 99                       11/11/19
                                                                          11/11/19 12:07
                                                                                   12:07 PM
                                                                                         PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 80 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections


    n:3j



                                                                              11:53
                                                                    Hit me.




              What's your FIRST name?
    3F
    11:53


                                                                              11:53
                                                                       Jim




              And your LAST name?
    ap
    11:53


                                                                              11:54
                                                                   Edwards




              What email should I send the copy to?


    11:54




              Type your email here...

                                                          3
                                             PRESS ENTER TO SEND




                                             10
                                             10                    11/11/19
                                                                   11/11/19 12:07
                                                                            12:07 PM
                                                                                  PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 81 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                What email should I send the copy to?


    11:54


                                                                                            11:54
                                                              j casevedwards@email.com




                Thanks Jim.



                 Next I'll need your address, and your permission to send a letter on
       |^H      your behalf.

    11:54
             CHOOSE AN OPTION




                      I'm ready.




                Go ahead and type your address here.


   11:54


                                                                                             11:55
                                         5859 North Kenmore Avenue, Chicago, I L, USA




                Do you give Class Action Inc permission to send the settlement
                administrator a letter on your behalf?


   11:55
            CHOOSE AN OPTION




                      Yes I do.               No -I do not!




                                                  11
                                                  11                              11/11/19
                                                                                  11/11/19 12:07
                                                                                           12:07 PM
                                                                                                 PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 82 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                Do you give Class Action Inc permission to send the settlement
                administrator a letter on your behalf?


    11:55


                                                                                            11:57
                                                                           No - 1 do not!




               That's no problem at all.



                Let me know if you change your mind, otherwise you can visit the
                Equifax settlement website and follow the instructions to file
               yourself -okay?


    11:57
            CHOOSE AN OPTION




                                             I changed my
                  File a claim   $
                                                mind!




                                                 12
                                                 12                              11/11/19
                                                                                 11/11/19 12:07
                                                                                          12:07 PM
                                                                                                PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections



               Equifax settlement website and follow the instructions to file
              yourself -okay?


   11:57


                                                                                            11:59
                                                                    I changed my mind!




               Okay! Now...



               Do you give Class Action Inc permission to send the settlement
               administrator a letter on your behalf?
    &
   11:59


                                                                                            11:59
                                                                                Yes I do.




               Great. Now we're going to ask you WHY you object.


   11:59
           CHOOSE AN OPTION




                  That seems
                   reasonable




                                                13
                                                13                               11/11/19
                                                                                 11/11/19 12:07
                                                                                          12:07 PM
                                                                                                PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 84 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                  Great. Now we're going to ask you WHY you object.


      11:59


                                                                                         12:00
                                                                That seems reasonable




                 Would you like to see some reasons why others have objected
                 first?


      12:00
              CHOOSE AN OPTION




      e                                    No - 1 know what
       BACK
                          I would!
                                            I'm going to say.




                                                 14
                                                 14                            11/11/19
                                                                               11/11/19 12:07
                                                                                        12:07 PM
                                                                                              PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 85 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                Would you like to see some reasons why others have objected
                first?


    12:00



                                                                                    I would!




                Okay so... Honestly? There's too many for me to put them all here.



                So I'm going to give you a link with some existing reasons, which
                will be updated as new ones come forward... Okay?
     &
    12:00



                                                                        What's the link?




                Here's the link. (Make sure you come back to this window
                afterwards okay?)

    12:01
            CHOOSE AN OPTION




                   Click here   $




                                            15
                                            15                           11/11/19
                                                                         11/11/19 12:07
                                                                                  12:07 PM
                                                                                        PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 86 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                                                                                    Become a member                 Sign in   Get started




    You have the right to object to the
    Equifax settlement. Here's how.
            Reuben Metcalfe ( Follow )
            Nov 8 • 10 min read




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                  .                                                  1

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                                                       'X i.5!


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                  1   .    »- M»j
                                                                                                                  \ i.vwji
                                                                                                    ,
                                                                                                                        k.




                                                  HECK YEAH INDEPENDENT ACCESS TO JUSTICE




    TLDR FACTS:




                                                                         16
                                                                         16                                           11/11/19
                                                                                                                      11/11/19 12:07
                                                                                                                               12:07 PM
                                                                                                                                     PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 87 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                    Now that you have more context, let's get back to the objection...


        12:01


                                                                                                 12:03
                                                                                         Lets!




                    Complete the sentence "I object to this settlement on the grounds
                    it is

         W
        12:03
                CHOOSE AT LEAST ONE




                            Unfair                            Unreasonable



                            Unduly burdensome                 Insufficient



                       | All of the above                     None of the above



                        Send




                                                 17
                                                 17                               11/11/19
                                                                                  11/11/19 12:07
                                                                                           12:07 PM
                                                                                                 PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 88 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                  Now that you have more context, let's get back to the objection...


      12:01


                                                                                                    12:03
                                                                                       Lets!




                  Complete the sentence "I object to this settlement on the grounds
                  it is


      12:03


                                                                                                    12:03
                                                                        None of the above




                  Okay Jim - in your own words, why do you wish to object to this
                  settlement?
      &
      12:03




       e          I am only testing the chat bot and do not want to object. This
       BACK       should not be counted as an objection.!

              ©                                                               PRESS ENTER TO SEND




                                                 18
                                                 18                                11/11/19
                                                                                   11/11/19 12:07
                                                                                            12:07 PM
                                                                                                  PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 89 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                   Okay Jim - in your own words, why do you wish to object to this
                  settlement?


       12:03


                                                                                                12:04
                   I am only testing the chat bot and do not want to object. This should
                  not be counted as an objection.




                  The judge presiding over this case is The honorable W. Thrash Jr -
                  they'll decide whether to approve or deny the settlement.


       12:04


                                                                                               12:04
                                                                      Judge Thrash. Got it.




                  Would you like us to send them a personal note?
       S>
       12:04
               CHOOSE AN OPTION




       Q                Heck yes.               No, not really.
        BACK




                                                    19
                                                    19                               11/11/19
                                                                                     11/11/19 12:07
                                                                                              12:07 PM
                                                                                                    PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 90 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                 Would you like us to send them a personal note?
      -S-
     12:04


                                                                                                      12:05
                                                                                  No, not really.




                  No problem.



                 Just a couple more questions...



                  Do you think its unreasonable to force people to send a phyical
                  letter with a wet signature in order to simply keep their rights,
                 instead of using a digital signature or a website like this?
      &
     12:05
             CHOOSE AN OPTION




                       Uh.Yeah.                No that's fine.




                                                                                                    12:05
                                                                                No that's fine.




                And would you like us to keep you updated on the satus of the
                 case? (We're expecting maybe 3-4 emails before February. - that's
                 about it.)
     W
     12:05
             CHOOSE AN OPTION




                                            No thanks -just a
                   Sure, go ahead.             copy of my
                                                objection.




                                                   20
                                                   20                                  11/11/19
                                                                                       11/11/19 12:07
                                                                                                12:07 PM
                                                                                                      PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                And would you like us to keep you updated on the satus of the
                case? (We're expecting maybe 3-4 emails before February. - that's
                 about it.)


     12:05


                                                                                           12:06
                                                                         Sure, go ahead.




                 Neat. A A



                 Now that we're done with the hard part, there's one last thing you
                can do to help.


     12:06
             CHOOSE AN OPTION




     Q              What's that?
      BACK




                                                 21
                                                 21                              11/11/19
                                                                                 11/11/19 12:07
                                                                                          12:07 PM
                                                                                                PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 92 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                                                                          12:06
                                                         What's that?




                       drumroll                  A




                 TELL.




                  EVERYONE.


      12:06
              CHOOSE AN OPTION



                                   1




                                            22
                                            22              11/11/19
                                                            11/11/19 12:07
                                                                     12:07 PM
                                                                           PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 93 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections



        12:06


                                                                                                  12:07
                                                                                  ...Everyone?




                                   f

                                   a   EVERYONE




                   Yeah seriously everyone. 147 Million people had their social
                   security numbers go missing and this is the only thing holding
                    parties accountable.



                    If we don't get enough objections - they'll likely be overruled.


        12:07
                CHOOSE AN OPTION




                     Okay. Everyone.




                                                   23
                                                   23                                  11/11/19
                                                                                       11/11/19 12:07
                                                                                                12:07 PM
                                                                                                      PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread -- Objections
                                       Objections




                   If we don't get enough objections - they'll likely be overruled.


       12:07


                                                                                                 12:07
                                                                             Okay. Everyone.




                   EVERYONE. GO GO GO.



                   LETS DOTHISOMG


       12:07
               CHOOSE AN OPTION




                     Twitter link                Share on
                                                                          Send an email $
                         here                    Facebook




                                                   24
                                                   24                                 11/11/19
                                                                                      11/11/19 12:07
                                                                                               12:07 PM
                                                                                                     PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 95 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread –
                                    - Opt-Out
                                      Opt-Out




      ->   C        i   nothanksequifax.com                                                      ®       I   £

    Apps                ACS | American Co...   § Hernandez v. Mesa...    ecommons.jmls.edu   *   LexisNexis® f<



                   (^) Your legal rights matter. Clarence was built to help you use them!



                            Hey! This is not the first time you are here. What would you like to
                            do?


           12:16
                        CHOOSE AN OPTION




                              START AGAIN                     CONTINUE




                                                         11                            11/11/19
                                                                                       11/11/19 12:07
                                                                                                12:07 PM
                                                                                                      PM
    Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 96 of 247

Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread –
                                    - Opt-Out
                                      Opt-Out




                 Hi there! My name's Clarence.


     12:17


                                                                                            12:17
                                                                          Hey, Clarence.




                 My job is to help people with the Equifax data breach settlement.



                 Do you already know what you want to do?
     2i>-

     12:17
             CHOOSE AN OPTION




     o                                                                 I want to file a
      BACK
                  I want to object!         I want to opt out
                                                                           claim




                   I'd like to learn
                        more




                                                 22                              11/11/19
                                                                                 11/11/19 12:07
                                                                                          12:07 PM
                                                                                                PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread –
                                    - Opt-Out
                                      Opt-Out




                       Do you already know what you want to do?


   12:17


                                                                                                          12:18
                                                                                    I want to opt out




                       By opting out, you won't participate in the settlement - but you will
                       retain your legal rights to sue as an individual.
   W
   12:18


                                                                                                          12:18
                                                                   Okay - what else should I know?




                      You can hire an attorney for this, but a lot of people have found
       3> I            better results in filing a claim in small claims court.

   12:18
                   CHOOSE AN OPTION




                       How do I do that?




                          You can hire an attorney for this, but a lot of people have found
                          better results in filing a claim in small claims court


           12:18


                                                                                                        12:18
                                                                                   How do I do that?




                          Each state has their own process for this - would you like to see an
                          example?


           12:18
                      CHOOSE AN OPTION




                               Show me                   Nevermind.




                                                            33                                11/11/19
                                                                                              11/11/19 12:07
                                                                                                       12:07 PM
                                                                                                             PM
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Nothanksequifax.com Chat Bot Thread – Opt-Out




                                           4                11/11/19 12:07 PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread –
                                    - Opt-Out
                                      Opt-Out



https://www.courts.ca.gov/1007.htm
httj^^Vww. courts, ca. gov/1007, htm
                                                                   Oddl Ol I




  CALIFORNIA COURTS
  THE JUDICIAL BRANCH OF CALIFORNIA




    Suing Someone

        Topics


                                                                                                             Espano!




    Checklist — If You Are Suing
       1 . Talk to the person or business you are thinking about suing. Try to work things out before going to court.
         You can also write a "demand letter" that asks the person or business in writing what you are asking
         for. Get help with a demand letter.

       2. Try mediation or other alternatives to lawyers and courts. You can try mediation throughout your case,
         even if it does not work now. Click for an online program that will help vou decide whether mediation is
         rights for you and direct you to mediation resources.

       3. Consider if going to court can give you what you want. If you win in court, the court cannot collect the
         money for you. Is the person you are suing able to pay? If you want to sue a neighbor because the

         neighbor behaves badly, will suing make the neighbor behave better? Courts cannot force good
         behavior. Will the time and money it takes to go to court be worth the likely outcome? Ask yourself these
         questions before filing your claim so you do not find yourself worse off after suing than if you did not sue
         at all.


       4. Learn about how small claims court works. Go to the courthouse and watch a small claims hearing. That
         way you will know what to expect. Read this website, get help from your court's small claims advisor and
         use the different resources this website gives you.

       5. If you decide to go to court, follow these steps:
              1. Figure Out How to Name the Defendant

              2. Ask for Payment
              3. Find the Right Court to File Your Claim
                   trill   i+   .r-   .r4 tr~.—~,




                                                              55                                  11/11/19
                                                                                                  11/11/19 12:07
                                                                                                           12:07 PM
                                                                                                                 PM
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Nothanksequifax.com Chat
Nothanksequifax.com Chat Bot
                         Bot Thread
                             Thread –
                                    - Opt-Out
                                      Opt-Out




                 Here's California's version


    12:19


                                                                                               12:19
                                                                                Show me




                 You can learn a lot by googling 'small claims' and the name of your
                 state if you'd like to find out more.


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                 Some nice attorney made an opt-out generator to make this
                 process easy - would you like to see it?
     &
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             CHOOSE AN OPTION




     e                                         Tell me about the
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                                                other options.




                 Some nice attorney made an opt-out generator to make this
                  process easy - would you like to see it?


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                                                                              Yes please.




                  Okay - here it is.
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              CHOOSE AN OPTION




                   Click here to
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https://www.clfip.com/ip/equifax-settlement-opt-out.html
https://www.clfip.com/ip/equifax-settlement-opt-out.html


i                                                    Chhabra Law




           Chhabra
            Law Firm PC




       Equifax Settlement Opt-out Document Generator


    On July 22, 2019, the FTC announced the Equifax Settlement at: https://www.ftc.gov/enforcement/cases-

    proceedings/refunds/equifax-data-breach-settlement




    If vou do not object to the settlement bv Nov. 19. 2019. vou waive the right for any future claims against

    Equifax.


    Use this automatic generator to opt-out of the proposed Equifax settlement.


    Please note: by mailing the form generated by this system to the claim administrator, you will waive all

    rights to be part of the settlement or receive the benefits it proposes. SEEK THE SERVICES OF AN
    ATTORNEY BEFORE MAILING THE DOCUMENT.
    This document generator is provided to you as a courtesy by Chhabra Law Firm, PC. No attorney-client
    relationship is established by using this automatic document generator.




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            Automatic Equifax Settlement Opt-
            out Document Generator
            Complete Your Information and a PDF copy of the form with information you enter below will be
            emailed to you. Mailing Instructions will be provided in the email.


            * Required




            Are You Eligible? *
            Visit Official link: https://eliaibilitv.eauifaxbreachsettlement.com/eliaibilitv



            O Yes The Site Shows I Am Eligible


            Potential Waiver Of Rights *
            Please note: by sending the document generated by this system, you will waive all rights to be
            part of the settlement or receive the benefits it proposes.This document generator is provided to
            you as a courtesy. You should seek legal consultation before completing this form.


                 Yes I Understand. I will seek services of an attorney before mailing the
            O document. I have read the important information disclosed at
                  https://www.clfip.com/ip/equifax-settlement-opt-out.html




            Full Name *
            Enter Your Full Legal Name Here. This Is the Information That Will Be Printed On The Document



            Your answer




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      Enter Your Full Legal Name Here. This Is the Information That Will Be Printed On The Document



      Your answer




      Email Address *
      The system will email the document at this address



      Your answer




      Current Address *
      Enter Your Current Mailing Address. This Is the Information That Will Be Printed On The
      Document.


      Your answer




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                 Okay - here it is.
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                 Let me take you back to the other options.


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                                                                   Okay Clarence.




                What would you like to know more about?
     As-

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                    Exhibit 4

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
   Case 1:17-md-02800-TWT Document 900-1 Filed 12/05/19 Page 106 of 247

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https://medium.com/@reubenmetcalfe/you-have-the-right-to-object-to-the-equifax-settlement-
heres-how-4dfdb6cca663




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Nothanksequifax.com Chat Bot Thread – Stay Updated




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Nothanksequifax.com Chat Bot Thread – Write to the Court




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                    Exhibit 5

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
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                                                                   trial court abused its discretion by excluding from hearing on
               2018 IL App (1st) 172041
                                                                   class counsel's motion for sanctions all evidence related to
        Appellate Court of Illinois, First District,
                                                                   objections to other class action settlements in which objector's
                   Second Division.
                                                                   counsel was counsel.
       Ramona CLARK and Dylan Schlossberg,
  Individually and on Behalf of All Others Similarly
                                                                   Reversed and remanded.
 Situated, Plaintiffs-Appellees and Cross-Appellants,
                           v.                                      Mason, P.J., specially concurred, with opinion.
          GANNETT CO., INC., a Delaware
          Corporation, Defendant-Appellee.                         Procedural Posture(s): On Appeal; Motion to Approve
        (Gary Stewart, Objector-Appellant and                      Settlement; Motion for Contempt Sanctions; Motion to
       Cross-Appellee; Christopher A. Bandas                       Exclude Evidence or Testimony; Judgment.
        and C. Jeffrey Thut, Cross-Appellees).
                                                                   *379 Appeal from the Circuit Court of Cook County. No. 16
                       No. 1-17-2041                               CH 06603, The Honorable Kathleen G. Kennedy and Pamela
                              |                                    McLean Meyerson, Judges, presiding.
             Opinion filed November 20, 2018
                                                                   Attorneys and Law Firms
                              |
            Rehearing denied January 18, 2019                      C. Jeffrey Thut, of Noonan, Perillo & Thut, of Waukegan, for
                                                                   objector-appellant.
Synopsis
Background: Class representatives brought class action             Rafey S. Balabanian, Ryan D. Andrews, and Alexander G.
against defendant, alleging that defendant violated Telephone      Tievsky, of Edelson PC, of Chicago, for appellees Ramona
Consumer Protection Act. Parties thereafter signed settlement      Clark and Dylan Schlossberg.
agreement establishing nonreversionary fund of $13.8 million
and providing that class counsel would seek reasonable             Bradley J. Andreozzi and Iman N. Boundaoui, of Drinker
attorney fees of no more than 39% of fund, and the                 Biddle & Reath LLP, of Chicago, and Matthew J. Fedor (pro
Circuit Court, Cook County, No. 16 CH 06603, Kathleen G.           hac vice), of Drinker Biddle & Reath LLP, of Florham Park,
Kennedy, J., preliminarily approved settlement and directed        New Jersey, for appellee Gannett Co.
notice to settlement class. Objector filed objections regarding
amount of settlement, class counsel's attorney fees, and class     Darren M. VanPuymbrouck, of Freeborn & Peters LLP, of
notice. The Circuit Court, Kathleen G. Kennedy, J., overruled      Chicago, for cross-appellee Christopher A. Bandas.
objections and affirmed certification of settlement class. Class
                                                                   Joseph R. Marconi, Victor J. Pioli, and Ava L. Caffarini,
counsel then moved for sanctions against objector's counsel,
                                                                   of Johnson & Bell, Ltd., of Chicago, for cross-appellee C.
alleging that objector's counsel filed objections for improper
                                                                   Jeffrey Thut.
purpose. After objector failed to appear at hearing regarding
motion, the Circuit Court, Pamela McLean Meyerson, J., held
him in contempt, fined him $500, and struck his objections,
                                                                                             OPINION
and further denied class counsel's motion. Objector appealed
and class counsel cross appealed.                                  JUSTICE HYMAN delivered the judgment of the court, with
                                                                   opinion.

                                                                    **370 ¶ 1 The relationship between class counsel and
Holdings: The Appellate Court, Hyman, J., held that:
                                                                   objector's counsel can be a tense **371 *380 and
                                                                   combative one. And when objector's counsel happens to be
objector's notice of appeal failed to specify judgment
                                                                   professional objectors, who impose objections for personal
appealed from as required by rule, and thus appellate court
                                                                   financial gain without little or no regard for the interests of
lacked jurisdiction to consider appeal, and
                                                                   the class members, open hostility often ensues. Objector's


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counsel here, Christopher A. Bandas, of Corpus Christi,           ¶ 9 Plaintiff-Class representatives, Ramona Clark and Dylan
Texas, and C. Jeffrey Thut, of Chicago, have provoked             Schlossberg, represented by Edelson PC, of Chicago, sued
more than the ire of class counsel, earning condemnation          Gannett Co., Inc., in a class action suit alleging violations of
for their antics from courts around the country. Yet, their       the Telephone Consumer Protection Act of 1991 (Telephone
obstructionism continues.                                         Consumer Protection Act) (47 U.S.C. § 227 (b)(1)(A)(iii)
                                                                  (2012) ). A disbarred California attorney referred objector
¶ 2 After the trial court overruled objector counsel's            Gary Stewart, of Cardiff, California, to attorney Christopher
boilerplate objections to the settlement agreement and            Bandas, a member of the Texas state bar who is not licensed
attorneys' fees, class counsel decided to expose what they        to practice law in Illinois. C. Jeffrey Thut, of Chicago, acted
regarded as a farce by moving under Illinois Supreme Court        as local counsel for Bandas.
Rule 137 (eff. Jan. 1, 2018) for sanctions against objector's
counsel.

                                                                                        ¶ 10 Background
¶ 3 The trial court held a hearing on the Rule 137 motion.
The objector, Gary Stewart, of Cardiff, California, who had       ¶ 11 Plaintiffs alleged that Gannett violated the Telephone
been ordered to appear at the hearing, was a no-show. The trial   Consumer Protection Act (id.) by promoting the sale of its
court held Stewart in contempt, fined him $500, and struck        newspapers through unsolicited marketing calls to cellular
his objections to the settlement and attorneys' fees. The trial   telephones of a class of about 2.6 million individuals.
court also denied sanctions against objector's counsel.           Plaintiffs sought actual and statutory damages, an injunction
                                                                  on unsolicited calls, and declaratory relief.
¶ 4 Stewart appeals the trial court's contempt order. But, his
notice of appeal is defective. The notice of appeal identifies    ¶ 12 In January 2014, Richard Casagrand and Schlossberg
an order that had been withdrawn and omits mention of the         filed an almost identical lawsuit in the United States District
superseding order issued four days later. Thus, this court        Court for the District of New Jersey. About two years later,
lacks jurisdiction to review Stewart's contempt finding, and      during which little **372 *381 formal discovery appears to
it stands.                                                        have been exchanged, the parties spent a full day in mediation
                                                                  with former federal Judge Wayne R. Andersen. In April, the
¶ 5 Stewart also appeals the trial court's order denying his      parties held another full day with Judge Andersen. Next,
objections to the class settlement and granting the full amount   Casagrand and Schlossberg voluntarily dismissed the New
of class counsel's request for attorneys' fees. Because the       Jersey case, and in May 2016, Schlossberg along with Clark
contempt order stands, and that order struck his objections,      (in place of Casagrand) refiled the virtually identical case in
we need not address his objections.                               the chancery division of the circuit court of Cook County.

¶ 6 In the course of the Rule 137 hearing, the trial court        ¶ 13 By July, the parties had signed a settlement agreement
granted a motion in limine to exclude evidence of objector's      establishing a nonreversionary fund of $13.8 million. Gannett
counsel's pattern of conduct in representing objectors in class   also promised to initiate various measures designed to
action lawsuits. We reverse that ruling and remand for new        ensure compliance with the Act and prevent future unwanted
Rule 137 hearing at which this evidence will be admitted to       telemarketing calls to consumers. On the matter of class
determine whether the objection was filed for an improper         counsel's attorneys' fees, the settlement agreement provided:
purpose.                                                          “Class Counsel will petition the Court for an award of
                                                                  reasonable attorneys' fees,” which class counsel agreed “to
¶ 7 Finally, we direct the clerk of our court to forward a copy   limit” at “no more than 39% of the Settlement Fund.”
of this order to the Attorney Registration and Disciplinary
Commission (ARDC) to determine whether disciplinary               ¶ 14 The following month, in August 2016, Judge Kathleen
action should be taken against Bandas and Thut.                   Kennedy preliminarily approved the settlement and directed
                                                                  notice to a settlement class. According to the parties, 99% of
                                                                  the settlement class of 2.6 million members received direct
                       ¶ 8 The Parties                            notice of the suit. About 50,000 members made claims to




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participate in the settlement. Absent from the record is a         any benefit *382 **373 to the class or informing the court
transcript of the preliminary hearing.                             of their improper purpose. Bandas and Thut retained separate
                                                                   counsel for the hearing on the Rule 137 motion. On January
¶ 15 In October, class counsel moved for an award of               31, 2017, Freeborn & Peters LLP filed an appearance on
attorneys' fees, expenses, and an incentive award for the class    behalf of Bandas, along with a motion challenging the court's
representatives.                                                   jurisdiction over him (735 ILCS 5/2-301 (West 2016) ) and
                                                                   asserting the sanctions motion fails to state a claim under
¶ 16 The sole objector to the settlement was Stewart. His          section 2-615 of the Code of Civil Procedure (id. § 2-615).
participation was solicited by a disbarred California attorney,    The trial court construed the 2-615 motion as a motion to
Darrell Palmer, who referred Stewart to Texas attorney             strike the sanctions motion.
Bandas. In turn, Bandas contacted Chicago attorney Thut to
act as his local counsel. On the last day for filing objections,   ¶ 22 Edelson PC argued:
Thut signed and filed an objection prepared by Bandas,
which included this statement: “Objector is also represented         “Ultimately he, you know, Mr. Bandas, got us to a
by Christopher Bandas, with Bandas Law Firm, PC, 500                 mediation and basically said, ‘I'm going to—I can delay
N. Shoreline, Corpus Christi, Texas 78401, as his general            the settlement which will cost the class and class counsel
counsel in objecting to the settlement. Mr. Bandas does not          money. And, in exchange for me not doing that, you can
presently intend on making an appearance for himself or his          pay me’—I think his first demand was near half a million
firm.” At no time did Bandas file an appearance or sign a            dollars. We ultimately agreed to pay him $225,000 so he
pleading.                                                            wouldn't appeal this objection.”

                                                                   Edelson PC also argued that Bandas's “game” was to enlist
¶ 17 Bandas's objection on behalf of Stewart argued that class
                                                                   other attorneys to sign documents, even though he wrote
counsel's attorneys' fees were excessive and class members
                                                                   “every single document in this case,” and not sign the
had received insufficient information in the class notice
                                                                   objection. As to Thut, Edelson PC argued he was responsible
regarding the settlement terms. After class counsel's response,
                                                                   for Bandas's actions because he “signed everything without
Stewart added an objection to the amount of the settlement.
                                                                   reviewing it.”

¶ 18 At the fairness hearing, the Edelson PC firm argued that
                                                                   ¶ 23 Bandas's counsel admitted Bandas had “participated in
the objection was a “cut and paste job” filed by a professional
                                                                   the mediation” and had prepared the first draft of the objection
objector. Thut's total oral argument consisted of a single
                                                                   and stated that “there was input from others.”
sentence, “We are resting on our papers.”

                                                                   ¶ 24 On May 19, 2017, Judge Pamela McLean Meyerson
¶ 19 Judge Kennedy affirmed the certification of the
                                                                   ruled on the Rule 137 motion for sanctions, noting
settlement class, overruled Stewart's objection, determined
that class notice provided adequate information, and found           “The objection to the settlement was prepared by Mr.
the settlement agreement “fair, reasonable, and adequate.” As        Bandas and it was reviewed, signed, and filed by Mr. Thut.
to attorneys' fees, she found “no basis to require a net benefit     Judge Kennedy had overruled the objection and approved
analysis or a Lone Star [sic ] cross-check or to supervise the       the settlement on November 14th, 2016. At that time
allocation of fees,” and approved $5,382,000 for attorneys'          there were some arguments about improper motives of the
fees and expenses, representing a fee of 39% of the settlement       objector, but she stated that this court attempted to look
amount, as “within the range of reasonable fees.”                    only to the merits and makes no determination about any
                                                                     untoward motive behind Mr. Stewart's objection.”


                   ¶ 20 Rule 137 Sanctions                         ¶ 25 Edelson PC requested sanctions (i) striking the objection;
                                                                   (ii) requiring Bandas to obtain admission to the bar of this
¶ 21 The next month, Edelson PC moved for sanctions against        state before representing any future clients in Illinois; and
Bandas and Thut under Rule 137. Edelson PC maintained that         (iii) imposing monetary sanctions or, alternatively, amending
Bandas and Thut filed Stewart's objection for an improper          the judgment to note that the objection had been resolved by
purpose, namely, to elicit attorneys' fees without providing       settlement, essentially enforcing Bandas's alleged demand of



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$225,000 to drop the appeal. Judge Meyerson refused to strike        After some discussion about inaccuracies in the objection,
the objection on the basis that Judge Kennedy had overruled          Thut “started swearing” and, eventually, hung up on him.
it. Judge Meyerson then found that Rule 137 sanctions did
not apply to Bandas because he did not sign the objection and        ¶ 32 Thut, in a letter dated October 27, 2016, to Jay Edelson,
had not filed an appearance in this jurisdiction, but suggested      stated that Bandas served as lead counsel, made all the
filing a complaint with the ARDC about Bandas not having             decisions, and would move to be admitted pro hac vice in
been admitted pro hac vice.                                          Illinois.

¶ 26 Regarding Thut, Judge Meyerson ordered an evidentiary
hearing limited to the issue of whether Thut filed the objection
                                                                                     ¶ 33 Balabanian's Testimony
for an improper purpose: “My holding is that I do need more
evidence and I will set an evidentiary hearing, but it's going to    ¶ 34 Edelson PC attorney Rafey Balabanian testified that he
be strictly limited. I mentioned what the sanctions were that        knew Stewart acted as a “professional objector.” He noted
have been requested. The only sanction that I will consider at       that Stewart's objection described Bandas to be “general
this point is a monetary sanction. I will not strike the objection   counsel,” and he believed Stewart's objection indicated
because it's already been overruled by Judge Kennedy. I won't        Bandas intended to seek pro hac vice admission, which
require anything of Mr. Bandas because it is only with respect       Bandas never did. (The objection states, “Mr. Bandas does not
to Mr. Thut, and I will not enforce the alleged settlement as        presently intend on making an appearance for himself or his
a sanction because while Plaintiff asked me to enforce the           firm.”) Balabanian said Thut repeatedly told him that Bandas
settlement as an alternative sanction, Plaintiff also says that      represented Stewart.
the mediation was a sham and that the settlement agreement
[with the objector] is the product of extortion.”                    ¶ 35 Balabanian spoke with Thut outside Judge Kennedy's
                                                                     courtroom after the initial final fairness hearing,
 **374 *383 ¶ 27 Edelson PC served Stewart with an
Illinois Supreme Court Rule 237(b) (eff. July 1, 2005) notice          “Judge Kennedy entered and continued the motion for final
to appear at the evidentiary hearing. Thut, as Stewart's               approval. Mr. Thut left the courtroom rather abruptly. I
counsel, moved to quash Stewart's appearance. The court                recall I walked out after him. I told him that—I reminded
denied the motion, and ordered Stewart's appearance.                   him about the contents, essentially, of the letter that my
                                                                       partner had sent to him on, I think, October 18th, expressing
                                                                       that Christopher Bandas was a serial professional objector,
                                                                       that he filed objections for the improper purpose of
        ¶ 28 Rule 137 Sanctions Evidentiary Hearing
                                                                       extorting fees for himself as proved, and that if he persisted
¶ 29 Before the hearing, Thut moved in limine to bar any               in acting as counsel for Mr. Stewart, that we would likely
testimony or evidence regarding other class action cases in            sue him for that conduct.”
which he served as objector's counsel or in which sanctions
                                                                     Thut responded by calling Balabanian “Junior” and saying
were sought against him.
                                                                     Balabanian should talk to Bandas because “he was calling the
                                                                     shots.”

                   ¶ 30 Edelson's Testimony                          ¶ 36 After the hearing at which Judge Kennedy approved the
                                                                     settlement, Balabanian spoke with Thut about withdrawing
¶ 31 At the hearing, attorney Jay Edelson, of Edelson PC,            from the case. Thut said Balabanian should speak to Bandas
testified that he represented the class and lead negotiations        about resolving the case because “he's the one running the
to resolve Stewart's objection. In October 2016, he called           show” and “he speaks for us.” Balabanian denied chasing
Thut to discuss the objector's request for more information to       Thut down the hall and asking him to resolve the objection to
assess the settlement's reasonableness. Thut “responded with         avoid an appeal.
impatience,” did not seem to understand that he had made
that objection, and he didn't care.” Thut responded that he          ¶ 37 Next, Bandas returned a telephone call from Balabanian
“should speak to his co-counsel [Bandas] who's really leading        to discuss “potentially resolving” Stewart's objection.
the case.” Thut also said Bandas was “calling all of the shots.”     Balabanian wanted to talk about the objection because


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he thought they had an “understanding” that “we don't
pay professional objectors.” Bandas “became irritated” and
                                                                                    ¶ 43 Thut's Testimony
called the subject “nonsense,” then hung up. A few days
later, Balabanian e-mailed Bandas to again inquire about        ¶ 44 Thut testified that before this case, he had been co-
resolving the objection. Bandas responded that he did not       counsel with Bandas on objections involving three class
“trust” **375 *384 Balabanian and they would need to            action cases; two in federal court, and one in Illinois state
communicate through a mediator.                                 court. Bandas was admitted to practice in federal court so
                                                                he would handle appeals in those cases. As for the Gannett
¶ 38 Balabanian e-mailed Bandas on November 30 about            settlement, Bandas called Thut on the morning of October 21,
mediation. Bandas responded, suggesting a mediator, Rodney      2016, the deadline for objections, and they had a five-minute
Max. Bandas e-mailed Max (copying Balabanian) that he           conversation about Stewart's need for representation. Thut
represented the objector “and soon-to-be appellant” and         received Bandas's objection by e-mail at 1 p.m. Thut checked
Balabanian for the settlement class and Bandas for Stewart,     the settlement website, read the objection and exhibits,
had agreed to mediate fees for Bandas.                          and called Bandas back. Thut said he asked Bandas, “Is
                                                                everything in here true and correct?” and “Did this guy sign
¶ 39 Then, Max and Bandas spoke by telephone, followed by       this?” After Bandas answered “absolutely” and “yes, he did,”
Max relating to Balabanian a demand from Bandas “to his         Thut “hopped in [his] car” and “flew down” to the Skokie
group” of between $225,000 and $457,000. The demand did         courthouse to meet the filing deadline. Thut filed the objection
not seek any alterations to the class settlement. Balabanian    at 4:30 p.m.
understood this to mean the objection would “potentially” be
resolved in exchange for a payment. Balabanian did not know     ¶ 45 Thut did not review any case law. He was satisfied that
if the demand included any payment to Stewart.                  Stewart's objection was “factually accurate and warranted by
                                                                existing law.” Thut did not have a retainer agreement with
¶ 40 Balabanian asked Max for Bandas's justification for the    Stewart, and he did not know whether Bandas and Stewart
requested payment, explaining that a payment without any        had a retainer agreement but assumed they did.
relief for the class was inappropriate and improper. Bandas's
response to Max was that he had no obligation to improve
the settlement on behalf of the class, he represented only
his client's interest, and the payment demand had nothing to                      ¶ 46 Trial Court's Ruling
do with the time he put into the case. Balabanian “felt as
                                                                ¶ 47 The trial court found by a preponderance of the testimony
though we were being extorted” and made no counteroffer
                                                                that the objection was not filed for an improper purpose. The
but asked if “$225,000 would actually settle the matter.”
                                                                trial court further declined to grant the Rule 137 motion for
Balabanian understood this to mean that if his firm paid
                                                                sanctions.
$225,000, Bandas and Thut would not pursue an appeal.
Max confirmed an agreement between class counsel and
Bandas for the $225,000. When Max informed Bandas of
Edelson PC's intent to seek court approval of the payment as           **376 *385 ¶ 48 Stewart's Contempt Finding
required by statute (735 ILCS 5/2-806 (West 2016) ), Bandas
                                                                ¶ 49 On the day of the hearing, July 19, 2017, Stewart failed to
responded that disclosure of the mediation agreement could
                                                                appear. Judge Meyerson found Stewart to be in direct criminal
not be made to anyone, “including the court.”
                                                                contempt and imposed a $500 fine. But the written order
                                                                entered on July 20 read that Stewart had been found
¶ 41 An objection to a question regarding Bandas's reputation
in the legal community was sustained by the trial court.          “in indirect criminal contempt of court for his knowing
                                                                  failure to appear at the evidentiary hearing on July 19,
¶ 42 On cross-examination, Thut's lawyer questioned               2017, in violation of the Court's Orders of June 30 and July
Balabanian, eliciting testimony that Bandas's conduct as a        19, 2017. As a sanction, Mr. Stewart is ordered to pay a
serial objector was well-known to the class action community.     fine in the amount of $500 to the Clerk of the Circuit Court
                                                                  of Cook County within 30 days of the date of this Order.
                                                                  In addition, the Court strikes Mr. Stewart's objection to the



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  settlement in this matter (which objection was previously         ¶ 56 Stewart's insurmountable problem is that Judge
  overruled).”                                                      Meyerson withdrew the July 20 order and issued a different
                                                                    order on July 24, superseding the order specified in his
¶ 50 On July 24, on Clark and Schlossberg's motion, Judge           notice of appeal. Under Illinois Supreme Court Rule 303(b)
Meyerson withdrew the July 20 order, finding Stewart in             (2) (eff. July 1, 2017), an appellant must “specify the
direct criminal contempt of court to conform to her oral            judgment or part thereof or other orders appealed from and
pronouncement.                                                      the relief sought from the reviewing court.” The appellate
                                                                    court has jurisdiction only to review the judgments or parts of
¶ 51 Stewart's Notice of Appeal referenced only the July            judgments identified, or inferred from, the notice of appeal.
20 order that found him in indirect criminal contempt. His           **377 *386 City of Chicago v. Concordia Evangelical
Notice of Appeal does not mention or refer to the July 24           Lutheran Church, 2016 IL App (1st) 151864, ¶ 70, 410
order. In his prayer for relief he “requests that the Appellate     Ill.Dec. 30, 69 N.E.3d 255. Further, a notice of appeal will
Court reverse the November 14, 2016 Order overruling his            be deemed to include an unspecified interlocutory order
objection and reverse the July 20, 2017 Order finding Mr.           when the interlocutory order was a step in the procedural
Stewart in Contempt, imposing a $500 on him, and striking           progression leading to the judgment specified in the notice.
his objection.”                                                     Id. In City of Chicago, the trial court's ruling on a motion
                                                                    in limine was a step in the procedural progression leading
                                                                    to the final order specified in the notice. Id. ¶ 71. Here, the
                                                                    order specified in the notice, the withdrawn order, preceded
                         ¶ 52 Analysis
                                                                    the order that held Stewart in contempt. The July 20 order,
                                                                    having been withdrawn, no longer exists and cannot be the
               ¶ 53 Stewart's Notice of Appeal                      basis for an appeal. See Kelch v. Watson, 237 Ill. App. 3d 875,
                                                                    877, 178 Ill.Dec. 448, 604 N.E.2d 971 (1992) (“The effect of
¶ 54 We have an independent duty to review our jurisdiction
                                                                    a vacated order is that of a void order. Black's Law Dictionary
over an appeal and dismiss when it does not exist. Vines v.
                                                                    defines ‘vacate’ as follows: ‘[t]o annul; to set aside; to cancel
Village of Flossmoor, 2017 IL App (1st) 163339, ¶ 8, 418
                                                                    or rescind. To render an act void; as, to vacate an entry of
Ill.Dec. 507, 90 N.E.3d 996 (citing Archer Daniels Midland
                                                                    record, or a judgment.’ (Black's Law Dictionary 1548 (6th ed.
Co. v. Barth, 103 Ill. 2d 536, 539, 83 Ill.Dec. 332, 470 N.E.2d
                                                                    1990).”).
290 (1984) ). Illinois Supreme Court Rule 303(b)(2) provides
that a notice of appeal “shall specify the judgment or part
                                                                    ¶ 57 Finally, the notice filed on August 15, 2017, referenced
thereof or other orders appealed from and the relief sought
                                                                    four orders: November 14, 2016; June 30, July 17, and July
from the reviewing court.” Ill. S. Ct. R. 303(b)(2) (eff. June 4,
                                                                    20, 2017. During oral argument, Thut represented to this court
2008). Without a properly filed notice of appeal, the appellate
                                                                    that the proper order (the July 24 order) was attached to the
court lacks jurisdiction over the matter and must dismiss the
                                                                    notice of appeal. Contrary to Thut's statement, not only did
appeal. General Motors Corp. v. Pappas, 242 Ill. 2d 163, 176,
                                                                    the notice of appeal not reference or attach the July 24 order,
351 Ill.Dec. 308, 950 N.E.2d 1136 (2011). A notice of appeal
                                                                    but none of the four orders referenced as exhibits in the body
confers jurisdiction on the appellate court to consider only the
                                                                    of the notice were attached either. The notice of appeal in the
judgments or parts of judgments specifically identified in the
                                                                    record consists of two pages without any attachments.
notice. Corah v. The Bruss Co., 2017 IL App (1st) 161030, ¶
20, 413 Ill.Dec. 231, 77 N.E.3d 1038 (citing General Motors         ¶ 58 We must comply with the Illinois Supreme Court Rules
Corp., 242 Ill. 2d at 176, 351 Ill.Dec. 308, 950 N.E.2d 1136).      governing appeals, and neither a trial court nor an appellate
                                                                    court has the authority to excuse compliance with the filing
¶ 55 The July 20 order found Stewart in “indirect criminal          requirements. Mitchell v. Fiat-Allis, Inc., 158 Ill. 2d 143, 150,
contempt.” The July 24 order withdrew the July 20 order and         198 Ill.Dec. 399, 632 N.E.2d 1010 (1994). Thus, we lack
found Stewart in “direct criminal contempt.” Stewart's notice       jurisdiction to consider Stewart's appeal.
of appeal references only the withdrawn July 20 order and
Judge Kennedy's November 14, 2016 order overruling his
objection to the settlement.
                                                                                 ¶ 59 Class Counsel's Cross-Appeal




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¶ 60 Class counsel cross-appeals (i) the order denying             allowing Bandas and Thut to file documents “in a manner that
sanctions under Rule 137 against Bandas; (ii) the evidentiary      avoids any attorney taking responsibility for their contents.”
rulings excluding evidence, including the grant of Thut's
motion in limine related to objections to class action             ¶ 65 Rule 137 requires every pleading, motion and other
settlements in which Thut was counsel; and (iii) the trial         document of a party represented by an attorney to be signed
court's order denying sanctions under Rule 137 against Thut.       by at least one attorney of record.
Class counsel asks that we remand for a new evidentiary
hearing.                                                             “The signature of an attorney or party constitutes a
                                                                     certificate by him that he has read the pleading, motion
¶ 61 After thoroughly reviewing the record, including the            or other document; that to the best of his knowledge,
transcripts and pleadings in the trial court, we recognize the       information, and belief formed after reasonable inquiry it
cross-appeal for what it is—an internecine clash between             is well grounded in fact and is warranted by existing law or
class counsel and objector counsel, between Edelson PC and           a good-faith argument for the extension, modification, or
Bandas-Thut. So we refer to the Edelson PC firm rather than          reversal of existing law, and that it is not interposed for any
the named plaintiffs because the cross-appeal, at its core, is       improper purpose, such as to harass or to cause unnecessary
a feud that the Edelson PC firm has with objector's counsel.         delay or needless increase in the cost of litigation.” Ill. S.
This is nothing new to class action litigation; an objector by       Ct. R. 137(a) (eff. Jan. 1, 2018).
challenging one or more aspects of the settlement transforms
                                                                   (We do not condone the use of sexist language; the pronouns
the fairness hearing into an adversarial proceeding. And, from
                                                                   should be reconfigured to refer to both sexes or, better
time to time, as here, objections are not class member driven
                                                                   yet, gender-free. We urge the supreme court to substitute
but driven by attorneys interested in lining their own pocket-
                                                                   gender-neutral language.) Rule 137 further provides that if a
books. Stewart was plucked by an intermediary, a disbarred
                                                                   document is signed in violation of this rule, the court, either
lawyer to boot, for Bandas-Thut.
                                                                   on a motion or its own initiative, may impose on the person
                                                                   who signed it “an appropriate sanction, which may include
¶ 62 Edelson PC claims that Bandas-Thut's motive for
                                                                   an order to pay to the other party or parties the amount of
objecting was nothing short of disingenuous and Bandas-
                                                                   reasonable expenses incurred because of the filing of the
Thut interposed the last-minute objection for their own
                                                                   pleading, motion or other document, including a reasonable
pecuniary interests, their own self-interests; in other words,
                                                                   attorney fee.” Id.
to extort a fee for themselves. For this reason, Edelson PC
moved for Rule 137 sanctions against Bandas-Thut, asserting
                                                                   ¶ 66 The supreme court designed Rule 137 to prevent abuse of
that the objection was filed for “an improper purpose.”
                                                                   the judicial process by sanctioning parties who file vexatious
Essentially, Edelson PC depicts Bandas-Thut as hold-up
                                                                   and harassing actions based on unsupported allegations of
artists deliberately manipulating the legal system to collect an
                                                                   fact or law. Dismuke v. Rand Cook Auto Sales, Inc., 378
unearned bonanza at Edelson PC's expense. This is **378
                                                                   Ill. App. 3d 214, 217, 317 Ill.Dec. 727, 882 N.E.2d 607
 *387 self-serving because here every dollar for fees reduces
                                                                   (2007). See Sanchez v. City of Chicago, 352 Ill. App. 3d
what is available to class members and, accordingly, is at the
                                                                   1015, 1020, 288 Ill.Dec. 418, 817 N.E.2d 1068 (2004) (“The
class members' expense.
                                                                   purpose of Rule 137 is to prevent the filing of false and
                                                                   frivolous lawsuits.”). The purpose is not, however, to punish
                                                                   parties “simply because they have been unsuccessful in the
      ¶ 63 Illinois Supreme Court Rule 137 Sanctions               litigation.” Burrows v. Pick, 306 Ill. App. 3d 1048, 1050,
                                                                   240 Ill.Dec. 105, 715 N.E.2d 792 (1999). Using an objective
¶ 64 Edelson PC asserts error in the July 19, 2017, granting       standard, the trial court must evaluate whether a party made
of Thut's motion in limine to exclude all evidence related to      a reasonable inquiry into the facts and law supporting his
other objections to class action settlements in which Thut was     or her allegations. Dismuke, 378 Ill. App. 3d at 217, 317
counsel. According to Edelson PC, by so doing, the trial court     Ill.Dec. 727, 882 N.E.2d 607. Penal in nature, Rule 137 is
excluded certain evidence demonstrating Thut's knowledge of        strictly construed, and courts reserve sanctions for egregious
the extortionate purpose of the objection. Edelson PC argues       cases. Webber v. Wight & Co., 368 Ill. App. 3d 1007, 1032,
that the trial court failed to follow procedures required by       306 Ill.Dec. 782, 858 N.E.2d 579 (2006). The party seeking
the Attorney Act (705 ILCS 205/1 (West 2014) ), thereby            sanctions for a violation of the rule bears the burden of proof


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and must show that the opposing party made untrue and false        seeking attorneys' fees with the bare minimum of effort,
allegations without reasonable cause. Stiffle v. Baker Epstein     expense, and time.
Marz, 2016 IL App (1st) 150180, ¶ 32, 410 Ill.Dec. 774, 71
N.E.3d 770.                                                        ¶ 70 Bandas-Thut, with Stewart as the objector, have used
                                                                   this strategy in multiple cases in different states. This case
¶ 67 When considering the propriety of Rule 137 sanctions,         was the impetus for the federal lawsuit brought by Edelson
a reviewing **379 *388 court determines whether (i) a              PC accusing the defendants of various racketeering and
trial court's ruling was based on adequate information, (ii)       conspiracy violations of federal statutes. We take judicial
valid reasons appropriate to the case are identifiable, and        notice of that proceeding. Edelson PC v. The Bandas Law
(iii) the ruling logically follows from applying the reasons       Firm PC, No. 16 C 11057, 2018 WL 3496085, at *2
stated to the particular circumstances. Berg v. Mid-America        (N.D. Ill. July 20, 2018). Plaintiff Edelson PC accused
Industrial, Inc., 293 Ill. App. 3d 731, 737, 228 Ill.Dec. 1,       Bandas, Thut, Stewart, and 20 unnamed John Does of
688 N.E.2d 699 (1997). Before imposing sanctions, a hearing        being “vexatious litigants” who allegedly recruit “sham”
must be conducted to afford the parties an opportunity to          objectors to frivolously object, appeal its denial, settle out
present evidence to support or rebut the claim and to allow        of court, then withdraw as soon as class counsel agrees to
them to articulate their respective positions. Id. at 736, 228     a nominal amount in “attorneys' fees.” As noted in Judge
Ill.Dec. 1, 688 N.E.2d 699. See Century Road Builders,             Pallmeyer's ruling in Edelson PC, “courts nationwide have
Inc. v. City of Palos Heights, 283 Ill. App. 3d 527, 531,          denounced Defendants' behavior,” specifically Bandas, Thut,
219 Ill.Dec. 158, 670 N.E.2d 836 (1996) (“An evidentiary           and Stewart. The Gannett case was cited as one of 15
hearing should always be held when a sanction award is             lawsuits since 2009 in which Bandas, Thut, and Stewart
based upon a pleading filed for an improper purpose, rather        have repeated this same basic pattern—frivolously object,
than one which is merely unreasonable based on an objective        appeal its denial, settle out of court, and withdraw. See id.
standard.”). The ruling on the motion in limine foreclosed         (“Nevertheless, courts across the country have excoriated
Edelson PC from presenting evidence of the relationships           Defendants' exploitative, rent-seeking behavior in cases in
between serial objector Stewart and Texas attorney Bandas,         which their involvement has come to light.”). One federal
who has a history with courts across the country of acting         judge found that “Bandas routinely represents objectors
frivolous, vexatious, and in bad faith. See infra ¶ 69.            purporting to challenge class action settlements, and does not
                                                                   do so to effectuate *389 **380 changes to settlements,
¶ 68 Thut, as Stewart's Illinois attorney, argues that he should   but does so for his own personal financial gain [and] has
not be held responsible for Bandas's actions, despite signing      been excoriated by Courts for this conduct.” In re Cathode
the objection. Thut avers the objection to the settlement          Ray Tube (CRT) Antitrust Litigation, 281 F.R.D. 531, 533
was proper and that Judge Kennedy overruled Stewart's              (N.D. Cal. 2012). Another federal judge described Mr.
objection but declined to find the objection frivolous “or         Bandas as “a known vexatious appellant” who has been
impute untoward motives toward Thut.”                              “repeatedly admonished for pursuing frivolous appeals of
                                                                   objections to class action settlements.” In re General Electric
¶ 69 There are two ways an objector might be paid: first, “by      Co. Securities Litigation, 998 F.Supp.2d 145, 156 (S.D.N.Y.
raising the value of a class action settlement and receiving       2014). See, e.g., In re Oil Spill by the Oil Rig “Deepwater
a percentage of the increase in value or a fixed-payment for       Horizon,” 295 F.R.D. 112, 159 n.40 (E.D. La. 2013); Garber
having improved the settlement” or, “on the other hand, he         v. Office of the Commissioner of Baseball, No. 12-CV-03704,
might intervene and cause expensive delay in the hope of           2017 WL 752183 (S.D.N.Y. Feb. 27, 2017).
getting paid to go away. The former purpose for intervening
would be entirely proper, while the latter would not.” Vollmer     ¶ 71 The same pattern of “rent-seeking behavior” expressed in
v. Selden, 350 F.3d 656, 660 (7th Cir. 2003). The attempt          Edelson PC exists here. An order denying Rule 137 sanctions
to intervene might not be frivolous, but the court must            will not be disturbed on review absent an abuse of discretion.
decide whether sufficient evidence supports the trial court's      Oviedo v. 1270 S. Blue Island Condominium Ass'n, 2014 IL
conclusion regarding improper purpose. Id. at 659. The             App (1st) 133460, ¶ 46, 384 Ill.Dec. 865, 17 N.E.3d 847
pattern of conduct engaged in by Bandas, Thut, and Stewart         (citing Mohica v. Cvejin, 2013 IL App (1st) 111695, ¶ 47, 371
is relevant to the objection's possible improper purpose of        Ill.Dec. 532, 990 N.E.2d 720). But our deferential standard
                                                                   of review does not prevent this court from independently



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reviewing the record to determine whether the facts warrant           ¶ 75 Bandas hides behind the narrow interpretation of Rule
an abuse of discretion finding. Id. Here, as in Oviedo, “the          137 as limited to those attorneys who sign a pleading or
better course is to allow the trial court, on consideration of        other document. First, Stewart's objection, filed October 16,
our views” regarding the claims of an improper purpose as             2016, identifies Bandas, with Bandas Law Firm, PC, in
the basis for Stewart's objection, to revisit the request for         Corpus Christi, Texas, as his general counsel in objecting
sanctions. Id. Therefore, we vacate the order denying the             to the settlement. Stewart's objection stated further: “Mr.
motion for Rule 137 sanctions and remand this matter to the           Bandas does not presently intend on making an appearance
trial court. We direct the trial court to conduct a new hearing       for himself or his firm.” And Bandas unquestionably provided
with admission of evidence of similar conduct in other cases          Stewart legal services that constitute the practice of law in
to determine whether the objection was indeed filed for an            Illinois and subject him to the personal jurisdiction of this
improper purpose.                                                     Court, including (i) soliciting a disbarred lawyer to arrange
                                                                      for Stewart to serve as an objector in Illinois; (ii) agreeing
                                                                      to represent Stewart in the Illinois proceeding, as Stewart's
                                                                      objection acknowledges; (iii) drafting Stewart's objection and
              ¶ 72 Unauthorized Practice of Law
                                                                      listing himself as Stewart's lawyer in the Illinois proceeding;
¶ 73 The Attorney Act requires a license to practice law              (iv) contacting Thut to appear in his stead in the Illinois
in Illinois, and only a licensed attorney can “receive any            proceeding; (v) representing Stewart in discussions with class
compensation directly or indirectly for any legal services.”          counsel regarding Stewart's objection, by phone, and by e-
705 ILCS 205/1 (West 2014); see also Ill. R. Prof'l Conduct           mail; and (vi) entering into negotiations with class counsel
(2010) R. 8.5(a) (eff. Jan. 1, 2010) (“A lawyer not admitted in       and, apparently, agreeing to resolve this matter solely in
this jurisdiction is also subject to the disciplinary authority of    exchange for $225,000 in attorneys' fees. In addition, Thut
this jurisdiction if the lawyer provides or offers to provide any     repeatedly informed class counsel that Bandas called the
legal services in this jurisdiction.”). Section 1 of the Attorney     shots, and his role was limited, so limited, in fact, that at the
Act permits a contempt sanction for the unauthorized practice         final hearing Thut made no argument or any other comment
of law, “in addition to other remedies permitted by law and           regarding the objection.
shall not be construed to deprive courts of this State of
their inherent right to punish for contempt or to restrain the        ¶ 76 By not signing or appearing in court, Bandas has
unauthorized practice of law.” 705 ILCS 205/1 (West 2014).            succeeded in circumventing the Rule 137, but that does not
The Attorney Act was intended to prevent the practice of a            relieve him of responsibility for his undisputed representation
profession by those who are not licensed. King v. First Capital       of Stewart in Illinois.
Financial Services Corp., 215 Ill. 2d 1, 25, 293 Ill.Dec. 657,
828 N.E.2d 1155 (2005). No private right of action exists             ¶ 77 In ruling on the motion for sanctions, the trial court noted
under the Attorney Act, but other attorneys licensed in Illinois      “[t]he objection to the settlement was prepared by Mr. Bandas
have standing to bring an unauthorized practice of law cause          and it was reviewed, signed, and filed by Mr. Thut.” The
of action because the practice of law by unlicensed persons           trial court found, however, it had no jurisdiction to sanction
infringes on the rights of those who are properly licensed. Id.       Bandas, suggesting the proper route to pursue sanctions was
at 26, 293 Ill.Dec. 657, 828 N.E.2d 1155 (citing Richard F.           with the Illinois ARDC. In “a case before a court of the State
Mallen & Associates, Ltd. v. Myinjuryclaim.com Corp., 329             of Illinois,” the lawyer must still register with the ARDC,
Ill. App. 3d 953, 956, 263 Ill.Dec. 872, 769 N.E.2d 74 (2002)         be admitted pro hac vice, and file an appearance. Ill. S.
).                                                                    Ct. R. 707(c)(1) (eff. Feb. 1, 2018). See also Ill. S. Ct. R.
                                                                      13 Committee Comments (adopted June 14, 2013) (noting
¶ 74 Bandas claims there is no basis to sanction him because          limited scope appearance applies to attorneys appearing for
he is a nonparty and a nonattorney of record and he did not           “settlement negotiations”). At the very least, subsections (1)
sign any pleadings. Responding to Edelson PC's argument,              and (3) of Rule 13(c) require Bandas to have filed a limited
Bandas asserts Thut was Stewart's attorney of record and              scope appearance (after being admitted pro hac vice under
signed the objection. Bandas further asserts Rule 137 cannot          Rule 707). See Ill. S. Ct. R. 13(c)(1), (6) (eff. July 1, 2017);
apply to impose sanctions on **381 *390 him and, thus,                R. 707 (eff. Feb. 1, 2018).
the trial court did not abuse its discretion in refusing sanctions.




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¶ 78 The Illinois Supreme Court possesses the authority to            of law. Ill. R. Prof'l Conduct (2010) R. 5.5(a) (eff. Jan.
regulate the practice of law, but no all-embracing definition         1, 2010). The Illinois Rules were adopted in 1990 and
defines its meaning. Grafner v. Department of Employment              modeled after the American Bar Association Model Rules
Security, 393 Ill. App. 3d 791, 797-98, 333 Ill.Dec. 101, 914         of Professional Conduct. Schwartz v. Cortelloni, 177 Ill. 2d
N.E.2d 520 (2009). A “generally accepted definition of the            166, 179, 226 Ill.Dec. 416, 685 N.E.2d 871 (1997). Foreign
term exists,” however, as “ ‘the giving of advice or rendition        lawyers “not disbarred or suspended from practice in any
of any sort of service by any person, firm or corporation when        jurisdiction, may provide legal services on a temporary basis
the giving of such advice or rendition of such service requires       in [Illinois,]” but they must associate with an admitted lawyer
the use of any degree of legal knowledge or skill.’ ” Id. at          “who actively participates in the matter.” Ill. R. Prof'l Conduct
798, 333 Ill.Dec. 101, 914 N.E.2d 520 (quoting People ex rel.         (2010) R. 5.5(c)(1) (eff. Jan. 1, 2010).
Chicago Bar Ass'n v. Barasch, 406 Ill. 253, 256, 94 N.E.2d
148 (1950) ). Bandas's method of not applying and appearing             “ ‘The signing attorney cannot leave it to some trusted
pro hac vice is designed to escape responsibility by appearing          subordinate, or to one of his [or her] partners, to satisfy
not to practice law in this jurisdiction.                               himself [or herself] that the filed paper is factually and
                                                                        legally responsible; by signing he [or she] represents not
¶ 79 Bandas was named as Stewart's counsel from the                     merely the fact that it is so, but also the fact that he [or
inception of proceedings; this status never changed and                 she] personally has applied his [or her] own judgment.’
presents this court with the conundrum of Bandas filing an              ” Bachmann v. Kent, 293 Ill. App. 3d 1078, 1086, 228
objection to reap monetary benefits *391 **382 in an                    Ill.Dec. 299, 689 N.E.2d 171 (1997) (quoting Pavelic &
Illinois case, and doing all the substantive work, while hiding         LeFlore v. Marvel Entertainment Group, 493 U.S. 120,
behind the cloak of Rule 137.                                           125, 110 S.Ct. 456, 107 L.Ed.2d 438 (1989) ).

                                                                      Here, the documents were prepared by Bandas and signed by
¶ 80 But, Bandas cannot avoid responsibility so easily. Rule
                                                                      Thut, who admittedly did not review or take an active part
5.1(c) of the Illinois Rules of Professional Conduct of 2010
                                                                      in the case. By failing to adequately investigate the basis for
provides,
                                                                      the objections to the proposed settlement before filing, Thut
  “A lawyer shall be responsible for another lawyer's                 did not use his own judgment, nor did Bandas adequately
  violation of the Rules of Professional Conduct if:                  supervise his actions.

  (1) the lawyer orders or, with knowledge of the specific            ¶ 82 The annotated comments to the American Bar
  conduct, ratifies the conduct involved; or                          Association's Model Rules of Professional Conduct Rule 5.5
                                                                      note the following: “Lawyers who work with out-of-state
  (2) the lawyer * * * has direct supervisory authority over          lawyers risk being deemed to have assisted in them in the
  the other lawyer, and knows of the conduct at a time when           unauthorized practice of law.” American Bar Association,
  its consequences can be avoided or mitigated but fails to           Annotated Model Rules of Professional Conduct, R. 5.5, at
  take reasonable remedial action.” Ill. R. Prof'l Conduct            523 (8th ed. 2015). See, e.g., In re Lerner, 124 Nev. 1232, 197
  (2010) R. 5.1(c) (eff. Jan. 1, 2010).                               P.3d 1067 (2008) (lawyer allowed employee licensed only in
                                                                      Arizona to conduct initial consultations, decide whether to
The committee comments indicate paragraph (c) “expresses
                                                                      accept representation, negotiate claims, and serve as clients'
a general principle of personal responsibility for acts of
                                                                      sole contact with firm); In re DuBre, 376 S.C. 158, 656 S.E.2d
another” and references Rule 8.4(a) regarding misconduct. Ill
                                                                      343 (2007) (managing lawyer of out-of-state collection firm's
R. Prof'l Conduct (2010) R. 5.1 cmt. 4 (eff. Jan. 1, 2010); see
                                                                      South Carolina office signed firm's pleadings so they could be
Ill. R. Prof'l Conduct (2010) R. 8.4(a) (eff. Jan. 1, 2010) (“It is
                                                                      filed in state and took no other action in those cases, **383
professional misconduct for a lawyer to: (a) violate or attempt
                                                                       *392 which were handled by out-of-state lawyers).
to violate the Rules of Professional Conduct, knowingly assist
or induce another to do so, or do so through the acts of
                                                                      ¶ 83 Exceptions to the rule enable an out-of-state attorney
another.”).
                                                                      to participate in pending litigation, and include a co-counsel
                                                                      situation where representation is undertaken in association
¶ 81 We turn to Thut's actions. Assisting another in the
                                                                      with an attorney admitted to practice in the jurisdiction
unauthorized practice of law is also the unauthorized practice
                                                                      and who actively participates in the representation. Peter J.


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Walsch, Multijurisdictional Practice of Law Issues in Estate        “unpredictable” or “sporadic” enforcement, with a “vastly
Planning, 40 Est. Plan. 23, 29 (June 2013). For the “temporary      uncertain” scope of jurisdictional restrictions in various
basis” to apply, “the affiliation with the local attorney must      states. See Arthur F. Greenbaum, Multijurisdictional Practice
be temporary.” Id.                                                  and the Influence of Model Rule of Professional Conduct 5.5
                                                                    —An Interim Assessment, 43 Akron L. Rev. 729, 731 n.7
  “A local attorney serving as a ‘mere conduit’ to an out-          (2010) (“Commission member describing the rules governing
  of-state attorney could face discipline for ‘assisting in         multijurisdictional practice at that time as ‘ambiguous’ and
  unauthorized practice of law.’ For example, in In Re DuBre,       ‘uncertain’ ”). Both attorneys have engaged in a fraud on the
  [376 S.C. 158, 656 S.E.2d 343 (S.C. 2007) ], an attorney          court.
  was disciplined for an association with an outof-state *
  * * law firm through which the attorney lent his name             ¶ 86 We reverse the judgment of the circuit court of Cook
  to the pleadings filed within the state but substantially all     County and remand for further proceedings consistent with
  substantive work in the matters was done at the office            this opinion. The clerk of our court is directed to forward
  of the out-of-state law firm. The local attorney may need         a copy of this order to the ARDC to determine whether
  to implement the action recommended by the out-of-state           disciplinary *393 **384 action should be taken against
  attorney so that the local attorney has the opportunity to        Bandas and Thut.
  review all such actions and protect the client against any
  advice which falls below the level of competence.” Id.            ¶ 87 Reversed and remanded.

The situation described is akin to that presented here, with the
out-of-state attorney doing all the substantive work and the
local counsel filing the objection a few scant hours after first    Justice Walker concurred in the judgment and opinion.
hearing of it via telephone.
                                                                    Presiding Justice Mason specially concurred, with opinion.
¶ 84 Moreover, Thut admitted that he did not have a retainer
                                                                    ¶ 88 PRESIDING JUSTICE MASON, specially concurring:
agreement with Stewart. As Thut stated, Bandas was “calling
                                                                    ¶ 89 I concur in the result in this case and agree that we lack
all the shots.” Thut was merely the frontman for the objection
                                                                    jurisdiction over Stewart's appeal from the trial court's order
so that Bandas did not have to sign any pleadings or appear
                                                                    finding him in contempt. The failure of Stewart's counsel to
in court. The record does not establish any payment-sharing
                                                                    perfect an appeal from the July 24, 2017, order precludes us
between Bandas and Thut, but we are mindful that any
                                                                    from resolving on the merits issues relating to the November
agreement addressing the division of fees between law firms
                                                                    14, 2016, order overruling his objection to the settlement and
must comply with Rule 1.5(e), which states:
                                                                    the propriety of the trial court's July 20, 2017 order striking
  “(e) A division of a fee between lawyers who are not in the       that objection, nunc pro tunc, as a sanction for Stewart's
  same firm may be made only if:                                    failure to appear for a hearing on the petition for Rule 137
                                                                    sanctions against his attorney. I write specially because I
  (1) the division is in proportion to the services performed       nevertheless consider it necessary, as future guidance for trial
  by each lawyer, or if the primary service performed by one        judges, to comment on the exorbitant fees awarded to class
  lawyer is the referral of the client to another lawyer and        counsel and the lack of any meaningful examination by the
  each lawyer assumes joint financial responsibility for the        trial court of the justification for those fees.
  representation;
                                                                    ¶ 90 As noted, a virtually identical class action complaint
  (2) the client agrees to the arrangement, including the share     was originally filed in federal district court in New Jersey
  each lawyer will receive, and the agreement is confirmed          on January 2, 2014. According to class counsel's brief on
  in writing; and                                                   appeal, “[t]he parties litigated the case in that forum for nearly
                                                                    two years.” But examination of the court's docket reveals
  (3) the total fee is reasonable.” Ill. R. Prof'l Conduct (2010)
                                                                    that other than the filing of the complaint and responsive
  R. 1.5(e) (eff. Jan. 1, 2010).
                                                                    pleadings, there was virtually no “litigation” to speak of.
                                                                    There was no contested motion practice and, in particular, no
¶ 85 Bandas and Thut, and Stewart by extension, have taken
                                                                    motion for class certification. The court originally ordered
advantage of a situation described as “murky” and with


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that an initial pretrial conference would be held on July           of class action settlement was signed. The stipulation of
15, 2014. At the request of the parties, that conference            settlement was filed in the circuit court on October 7, 2016. In
was postponed to October 30, 2014. Although class counsel           addition to the creation of a $13.8 million settlement fund, the
represent that the parties engaged in “extensive discovery,”        agreement provided that within one year of the settlement's
none of that activity is reflected on the court's docket.           effective date, Gannett would (i) provide “training concerning
                                                                    [Telephone Consumer Protection Act (TCPA) ] compliance to
¶ 91 By September 2015, the parties had agreed to stay              key managers who oversee telemarketing calls to consumers”
the federal case pending mediation. Ultimately, after several       and (ii) “conduct a review of its internal TCPA compliance
extensions of the stay, the federal case was dismissed by           procedures and the TCPA compliance procedures of any
stipulation on April 27, 2016. Class counsel's brief explains       vendor that conducts telemarketing on Gannett's behalf.”
the reason for the dismissal as based on “the uncertainty           No enforcement or verification mechanism for this relief is
surrounding federal subject-matter jurisdiction in TCPA             provided for under the settlement. Class counsel also agreed
cases at that time.” In point of fact, as recited in the            to “limit” their fees to “no more than 39% of the Settlement
stipulation of settlement, class counsel's concern pertained to     Fund” or roughly $5.38 million, plus costs, including the cost
the anticipated decision in Spokeo, Inc. v. Robins, 578 U.S.        of administering the settlement.
––––, 136 S.Ct. 1540, 194 L.Ed.2d 635 (2016), a case decided
shortly after the parties stipulated to dismiss the federal case.   ¶ 94 The trial court preliminarily approved the settlement
Spokeo dealt not with subject-matter jurisdiction but rather        the following month. We have no way of knowing what, if
with a class plaintiff's ability to demonstrate injury-in-fact      any, inquiries the trial judge made regarding the “package
as required to establish standing to sue under federal law.         deal” presented to her as the parties did not bother to bring
In Spokeo, the United States Supreme Court determined that          a court reporter to the hearing. We do know that the parties'
publication of allegedly inaccurate information by a website        appearance on the settlement was, other than routine motions,
operator was insufficient to confer standing on a putative class    their first substantive appearance on the case.
representative alleging a “bare procedural violation” of the
Fair Credit Reporting Act. Id. at ––––, 136 S.Ct. at 1549.          ¶ 95 As is typical in TCPA cases, less than 2% of the
The court found that the procedural violation unaccompanied         estimated 2.6 million class members responded to notice
by an identifiable, “concrete” injury could not satisfy the         of the settlement. The 50,000 class members who did file
injury-in-fact component of standing. Id. at ––––, 136 S.Ct.        claims can expect to receive, after payment of attorney fees
at 1548. As applied in this case, the allegation in the New         and costs, roughly $150 each. Meanwhile, even if we had
Jersey complaint that the named plaintiff and members of            jurisdiction, we would have no record to speak of that would
the class had received unsolicited, automated telephone calls,      enable us to determine whether the more than $5 million
without more, would likely suffer the same fate. Thus, it is        in fees Class Counsel expect to receive are reasonable or
apparent that it was not the lack of subject-matter jurisdiction    appropriate. The trial court did not require counsel to file
but standing that motivated class counsel **385 *394 to             a fee petition supported by time records showing exactly
abandon a forum in which the court might determine that the         how much time counsel devoted to the case. As discussed
named plaintiff—and hence the class—had not suffered any            above, the docket in the New Jersey litigation, participation
concrete injury at all.                                             in two days of mediation and negotiation of the settlement
                                                                    agreement, particularly lacking any mechanism to enforce
¶ 92 By the time the New Jersey case was dismissed                  the nonmonetary relief beyond the modest payments to class
by stipulation, the parties had participated in two days            members, would not appear to warrant such a generous
of mediation in an effort to settle the case. Although the          payday. And while a trial court certainly has discretion
mediation did not immediately produce a settlement, later           to dispense with a lodestar calculation under appropriate
negotiations resulted in an agreement in principle that called      circumstances (Brundidge v. Glendale Federal Bank, F.S.B.,
for the federal case to be dismissed and refiled in Cook            168 Ill. 2d 235, 244, 213 Ill.Dec. 563, 659 N.E.2d 909 (1995)
County. Thus, before the case was filed here, the parties had       ), where, as here, the parties present the court with a fait
agreed to settle it.                                                accompli and the court has absolutely no familiarity with the
                                                                    background of the litigation, the court abdicates its role as
¶ 93 The case was refiled in Cook County on May 12,                 the guardian of the interests of absent class members when it
2016. Two months later, on July 12, 2016, the stipulation           simply accepts counsel's word for it.



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                                                                       particularly risky litigation warranting a significantly higher
¶ 96 Every dollar that goes to class counsel depletes the              fee than the traditional 20 to 30% fees commonly awarded
funds available to compensate class members. See Baksinski             in TCPA cases. See In re Capital One Telephone Consumer
v. Northwestern University, 231 Ill. App. 3d 7, 15, 172 Ill.Dec.       Protection Act Litigation, 80 F.Supp.3d 781, 798-99 (N.D.
                                                                       Ill. 2015) (conducting TCPA class action settlement analysis
436, 595 N.E.2d 1106 (1992) (“once an attorney files a
                                                                       of 72 settlements approved since 2010 and finding median
petition for compensation from the [class action settlement]
                                                                       fees to be between 17.7 to 33.3% of the settlement); see also
fund, his role changes from that of a fiduciary for his clients
to that of **386 *395 a claimant against the fund which                Wilkins v. HSBC Bank Nevada, NA, No. 14 C 190, 2015 WL
                                                                       890566, at *11 (N.D. Ill. Feb. 27, 2015) (awarding fees of
was created for the benefit of [his] client[ ]”); see also In
                                                                       23.75% in “average TCPA class action”); Bayat v. Bank of the
re Mercury Interactive Corp. Securities Litigation, 618 F.3d
                                                                       West, No. C-13-2376 EMC, 2015 WL 1744342, at *3, *8-10
988, 994 (9th Cir. 2010); Mirfasihi v. Fleet Mortgage Corp.,
                                                                       (N.D. Cal. Apr. 15, 2015) (using lodestar method to award
356 F.3d 781, 785 (7th Cir. 2004) (reversing district court's
approval of settlement and criticizing court for failing to            fees which amounted to 13.5% of settlement fund); Michel v.
carefully scrutinize the settlement's terms to ensure class            WM Healthcare Solutions, Inc., No. 1:10-cv-638, 2014 WL
counsel was acting as “honest fiduciaries”). As the settlement         497031, at *17 (S.D. Ohio Feb. 7, 2014) (reducing fee award
fund is non-reversionary, Gannett had no interest in opposing          in TCPA class action from one-third of the settlement fund to
Edelson PC's request for fees and given our conclusion that            15% of the fund).
Stewart's objection was motivated solely by his lawyers'
desire to extract a payment from class counsel and not to              ¶ 98 The trial court's uncritical acceptance of an award of 39%
improve the terms of the settlement for the class, without             of the settlement fund to class counsel in a case in which the
the trial judge's oversight, absent class members had no one           court had no prior involvement encourages the skepticism,
looking out for their interests. See Baksinski, 231 Ill. App.          cynicism, and distrust of our judicial system so prevalent in
3d at 13, 172 Ill.Dec. 436, 595 N.E.2d 1106 (courts must act           society today. I strongly encourage trial judges in future cases
with “ ‘moderation and a jealous regard’ ” for the rights of           to fulfill their critical role as the guardians of the interests
                                                                       of absent class members, to carefully analyze unopposed fee
absent class members) (quoting Trustees v. Greenough, 105
                                                                       requests that diminish funds available to compensate class
U.S. 527, 536, 26 L.Ed. 1157 (1881) ). And as far as the
                                                                       members, and to insist that a reviewable record be made
record shows, the trial court simply accepted class counsel's
                                                                       of any hearing, including the court's reasons for granting
representation that a 39% fee was appropriate.
                                                                       counsel's fee request.
¶ 97 I sincerely doubt that a lodestar calculation would have
yielded a number that, enhanced by a reasonable multiplier,            All Citations
would remotely approach $5.38 million. And we have nothing
upon which to base a conclusion that this case presented               2018 IL App (1st) 172041, 122 N.E.3d 376, 428 Ill.Dec. 367

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                    Exhibit 6

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
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                                                                to Stewart related to Gannett, contacting and arranging
                                                                for C. Jeffrey Thut to appear in Defendants' stead in
                   2019 WL 272812
                                                                Gannett, allowing C. Jeffrey Thut to assist Defendants in
    Only the Westlaw citation is currently available.
                                                                the unauthorized practice of law, representing Stewart in
             United States District Court,
                                                                discussions with class counsel regarding Stewart's objection,
            N.D. Illinois, Eastern Division.
                                                                entering into negotiations with class counsel in Gannett on
            EDELSON PC, Plaintiff,                              behalf of Stewart, and agreeing to resolve Stewart's objection
                     v.                                         in exchange for $225,000 in attorneys' fees with no changes
   The BANDAS LAW FIRM PC, et al., Defendants.                  to the settlement agreement. Accordingly, the Court finds
                                                                that issuance of a permanent injunction against Defendants is
                   Case No. 1:16-cv-11057                       appropriate.
                              |
                    Signed 01/17/2019
                                                                II. ACTS RESTRAINED OR REQUIRED
Attorneys and Law Firms                                         Defendants The Bandas Law Firm, P.C. and Christopher A.
                                                                Bandas are hereby restrained and permanently enjoined from
Eve-Lynn J. Rapp, Ryan D. Andrews, Edelson P.C.,                engaging in the following actions:
Alexander Glenn Tievsky, Benjamin Harris Richman,
Edelson PC, Chicago, IL, Rafey S. Balabanian, Edelson PC,       1. Providing any advice or other service requiring the use of
San Francisco, CA, for Plaintiff.                               any degree of legal skill or knowledge related to any state or
                                                                federal court proceedings in the State of Illinois, regardless
Darren Van Puymbrouck, Falkenberg Ives LLP, Alexander
                                                                of whether Defendants or their clients are physically located
S. Vesselinovitch, Matthew Thomas Connelly, Freeborn &
                                                                within the State of Illinois, without obtaining admission to
Peters, LLP, Joseph R. Marconi, Brian C. Langs, Victor
                                                                the bar of Illinois or leave to appear pro hac vice from the
J. Pioli, Johnson & Bell, Ltd., Chris C. Gair, Kristi Lynn
                                                                court before which the proceeding is pending. The restrained
Nelson, Thomas Reynolds Heisler, Gair Eberhard Nelson
                                                                advice and services include but are not limited to providing
Dedinas Ltd., Alexander Holmes Burke, Daniel J. Marovitch,
                                                                legal advice, acting as general counsel, drafting documents,
Burke Law Offices, LLC, Chicago, IL, Robert Patrick
                                                                negotiating, or accepting payment of attorneys' fees.
Cummins, Norman, Hanson & DeTroy LLC, Portland, ME,
for Defendants.
                                                                2. Soliciting attorneys located in the State of Illinois to sign
                                                                pleadings or other documents drafted by Defendants in a case
                                                                where Defendants do not appear;
              FINAL JUDGMENT ORDER
                                                                3. Paying, or offering to pay, or to loan any client any monies
REBECCA R. PALLMEYER, United States District Judge
                                                                in connection with any class action objection unless such
 *1 IT IS HEREBY ADJUDGED and DECREED that                      payment is awarded or expressly approved by a court;
final judgment is entered in this matter on Count V of
Plaintiff Edelson PC's complaint in favor of Plaintiff and      4. Seeking admission, pro hac vice or otherwise, to practice
against Christopher Bandas and the Bandas Law Firm PC           in any state or federal court without fully and truthfully
(“Defendants”).                                                 responding to all questions on the application and without
                                                                attaching a copy of this judgment;

I. REASONS FOR ISSUANCE OF INJUNCTION                           5. Defendants shall not file or cause to be filed any objection
Defendants do not dispute that that they engaged in the         to any proposed class action settlement in any state or federal
unauthorized practice of law in Clark v. Gannett Co., Inc.      court unless:
Defendants further do not dispute that they engaged in the
following conduct without obtaining authorization from the        a. Such objection states whether it applies only to the
Illinois Supreme Court to practice law in Illinois: agreeing      objector, to a specific subset of the class, or to the entire
to represent Gary Stewart in the Gannett litigation, drafting     class, and also states with specificity the grounds for the
the objection of Stewart in Gannett, providing legal advice       objection; and


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                                                                    Without affecting the finality of this judgment, the Court
  b. Any payment in connection with the objection is
                                                                    retains jurisdiction to enforce the injunction set forth herein.
  disclosed and approved by the court and, unless approved
  by the court after a hearing, no payment or other
  consideration is provided in connection with forgoing             IV. COSTS
  or withdrawing the objection or forgoing dismissing, or           Defendants shall pay Plaintiff's costs in the amount of
  abandoning an appeal from a judgment approving the                $5,447.65.
  proposal;

 *2 6. Defendants, having consulted with their clients, shall       V. NO JUST REASON FOR DELAY
immediately and unconditionally withdraw objections and             The Court finds pursuant to Rule 54(b) that is no just reason
filings related thereto any and all objections now pending in       for delay of entry of this judgment.
Illinois state and federal courts, including Clark v. Gannett
Co., Inc. Defendants shall have no further direct or indirect
involvement in those matters, and Defendants shall accept no        IT IS SO ORDERED.
compensation of any kind related to those matters.
                                                                    All Citations

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III. CONTINUING JURISDICTION

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                    Exhibit 7

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  THE SHANE GROUP, INC., et al.,

        Plaintiffs,
                                                    Case No. 10-CV-14360
  v.                                                (Class Action Matter)
                                                    HON. DENISE PAGE HOOD
  BLUE CROSS BLUE SHIELD OF
  MICHIGAN,

       Defendant.
  _______________________________________/


         OPINION AND ORDER REGARDING FAIRNESS HEARING,
              GRANTING MOTION FOR ATTORNEYS’ FEES,
                 REIMBURSEMENT OF EXPENSES AND
                  PAYMENT OF INCENTIVE AWARDS,
                 DENYING MOTIONS TO INTERVENE,
             GRANTING MOTION FOR FINAL APPROVAL OF
                SETTLEMENT AND PLAN ALLOCATION,
               DENYING MOTION TO STRIKE SUR-REPLY,
                               AND
                 DENYING MOTIONS FOR SANCTIONS


  I.    BACKGROUND

        On June 22, 2012, a Consolidated Class Action Amended Complaint was filed

  against Defendant Blue Cross Blue Shield of Michigan (“Blue Cross”) alleging:

  Unlawful Agreement in Violation of § 1 of the Sherman Act under the Rule of Reason

  (Count I); Unlawful Agreements in Violation of Section 2 of the Michigan Antitrust
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  Reform Act, M.C.L. § 445.772 (Count II). (Doc. No. 78) The class action seeks to

  recover overcharges paid by purchasers of Hospital Healthcare Services directly to

  hospitals in Michigan. These overcharges resulted from the anticompetitive acts of

  Blue Cross. (Am. Comp., ¶ 1) Blue Cross is a Michigan nonprofit healthcare

  corporation headquartered in Detroit, Michigan. (Am. Comp., ¶ 18) Blue Cross

  provides, directly and through its subsidiaries, health insurance and administrative

  services, including preferred provider organization (“PPO”) health insurance products

  and health maintenance organization (“HMO”) health insurance products. (Am.

  Comp., ¶ 18)

        A Discovery Plan was jointly submitted by the parties on August 3, 2012.

  (Doc. No. 82) Several Scheduling Orders were thereafter entered by the Court and

  discovery was conducted by the parties. Various motions were filed by the parties as

  well. After the parties informed the Court the parties had resolved the issues before

  the Court and after a hearing was held on the matter, the Court entered an Order

  Granting Preliminary Approval to Proposed Class Settlement on June 26, 2014. (Doc.

  No. 151) The Court set a date for the Fairness Hearing on November 12, 2014, 2:00

  p.m. Objections were ordered to be filed no later than 90 days from the Preliminary

  Approval Order. The Court approved Epiq Class Action & Mass Tort Solutions, Inc.

  to administer the Settlement Agreement under the supervision of Class Counsel.


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  Eagle Bank, a Maryland State Chartered Bank, was approved by the Court to maintain

  the Escrow Account in which the Settlement Fund shall be held and to disburse the

  funds after the Court’s approval. To be excluded from the Settlement Class, a Class

  Member was required to request in writing postmarked no later than 90 days after the

  Preliminary Approval. If the request for exclusion from any class member was not

  timely filed, this would result in the Class Member being deemed included in the

  Settlement Class. The Claim Form was to be completed and sent to the Settlement

  Administrator by first-class mail, post-marked no later than November 16, 2014.

        The Preliminary Order provided that Class Counsel serve an application for

  attorneys’ fees, reimbursement of expenses and incentive awards no later than 30 days

  after entry of the Preliminary Approval Order, which was filed on July 24, 2014.

  (Doc. No. 155) Blue Cross filed with the Court a certificate stating compliance with

  the requirements of the Class Action Fairness Act, 28 U.S.C. § 1715, on July 1, 2014.

  (Doc. No. 152) Class Counsel were required to serve, no later than 75 days after entry

  of the Preliminary Approval Order, a Notice regarding dissemination of the Notice

  Plan, which was filed on October 2, 2014. (Doc. No. 162)

        Timely objections to (90 days from the June 26, 2014 Preliminary Approval

  Order) or letters regarding the proposed class action settlement were filed by: John

  Kunitzer (Doc. No. 158, filed September 19, 2014); Christopher Andrews (Doc. No.


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  159, filed September 24, 2014); Scott Mancinelli (Doc. No. 160, filed September 24,

  2014) and, ADAC Automotive and Others (Doc. No. 161, filed September 24, 2014).

  Untimely letters regarding the proposed class action settlement were filed by Darrell

  Thompson (Doc. No. 165, October 20, 2014) and Marguerite M. Schubert (Doc. No.

  176, October 31, 2014).

        This matter is now before the Court to determine whether the proposed class

  action settlement is fair. If the Court so finds, Plaintiffs seek final approval of the

  settlement and plan allocation. Also before the Court is Class Counsel’s Motion for

  Attorneys’ Fees, Reimbursement of Expenses and Payment of Incentive Awards to

  Class Representatives, Certain Movants’ Motion to Unseal Certain Records and to

  Adjourn the Fairness Hearing. A hearing was held on the various motions on

  November 12, 2014. The motions are each addressed below.

  II.   MOTIONS TO INTERVENE

        A.     Background

        Twenty-Six Class Members, represented by the Varnum law firm, seek to

  intervene for the limited purpose of unsealing records and adjourning the fairness

  hearing. (Doc. No. 166) Specifically, they seek to unseal the following four

  documents which were filed sealed: Opposition to Motion to Add and Drop Named

  Plaintiffs for the Proposed Class (Doc. No. 127); the Motion for Class Certification


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  and Appointment of Class Counsel and Response thereto (Doc. Nos. 133, 139); and

  the Motion to Exclude Expert Testimony of Dr. Jeffrey Leitzinger (Doc. No. 140).

  The Twenty-Six Class Members seek to access the Sealed Documents to gather

  information that will help them assess the likelihood of success of the case, assess

  their potential damages recovery, and gather information relevant to their assessment

  of the proposed settlement and their objections to the proposed settlement. They

  claim that they are entitled to intervene as of right, or in the alternative, with

  permission of the Court, and that this motion is timely.

        Blue Cross and Plaintiffs oppose the motion asserting that the motion to

  intervene is untimely and that the Twenty-Six Class Members have not shown they

  are entitled or require to review the sealed documents to evaluate whether the

  proposed settlement is fair. Certain Third-Party Hospitals and other organizations

  seek to intervene in order to respond in opposition to the Twenty-Six Class Members’

  Motion to Unseal certain records. (Doc. Nos. 183, 184, 185, 186, 189, 192) The

  Third-Party Hospitals and other organizations produced highly sensitive information

  during the discovery phase and oppose any records unsealed.

        B.     Intervention as of Rights, Fed. R. Civ. P. 24(a)

        Intervention as of right is governed by Rule 24(a) of the Federal Rules of Civil

  Procedure which allows a party to intervene who “claims an interest relating to the


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  property or transaction that is the subject of the action, and is so situated that

  disposition of the action may as a practical matter impair or impede the movant’s

  ability to protect its interest, unless existing parties adequately represent that interest.”

  Fed. R. Civ. P. 24(a)(2). An applicant must show: 1) the application was timely filed;

  2) the applicant possesses a substantial legal interest in the case; 3) the applicant’s

  ability to protect its interest will be impaired without intervention; and 4) the existing

  parties will not adequately represent the applicant’s interest. Blount-Hill v. Zelman,

  636 F.3d 278, 283 (6th Cir. 2011). Each of these elements is mandatory, and therefore

  failure to satisfy any one of the elements will defeat intervention under the Rule. Id.

  The court must consider timeliness in the first instance. Id. at 284 (The “court where

  the action is pending must first be satisfied as to timeliness” under Rule 24.) (quoting

  NAACP v. New York, 413 U.S. 345, 365 (1973)).

         In determining timeliness, five factors must be considered: 1) the point to which

  the suit has progressed; 2) the purpose for which intervention is sought; 3) the length

  of time the proposed intervenors knew or should have known of their interest in the

  case; 4) the prejudice to the original parties due to the proposed intervenors’ failure

  to promptly intervene after they knew or reasonably should have known of their

  interest in the case; and 5) the existence of unusual circumstances militating against

  or in favor of intervention.       Blount-Hill, 636 F.3d at 284 (quoting Jansen v.


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  Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990)).

           Applying the first factor–the point to which the suit has progressed–the instant

  action was filed on October 29, 2010, four years ago. The related case filed by the

  United States against Blue Cross was filed on October 18, 2010 and jointly dismissed

  on March 28, 2013. The Twenty-Six Class Action Members filed the instant motion

  on October 20, 2014. Over the four years this case and other related cases were before

  the Court, the cases have been vigorously litigated and extensive discovery have been

  conducted. In this class action lawsuit, motions to dismiss and other motions were

  filed.    During the litigation, the parties in this case entered into settlement

  negotiations. On June 23, 2014, the parties filed a Motion for Order for Preliminary

  Approval of Settlement. The parties held a hearing on the matter, granting the motion

  in a June 26, 2014 Order. (Doc. No. 151) When the Twenty-Six Class action

  Members filed the instant Motion to Intervene in October 2014, the suit had

  progressed to resolution, only awaiting a hearing on the fairness of the settlement and

  the motion for final approval of the settlement scheduled on November 12, 2014,

  about three weeks from when the Motion to Intervene was filed. Notices have been

  filed to class action members and the Twenty-Six Class Action Members themselves

  had filed their Objections to the settlement. This factor does not weigh in favor of the

  Twenty-Six Class Action Members since the motion was filed four years after the


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  instant case was filed and when a resolution between the parties has been reached.

        The second factor–the purpose of the intervention–is to review motions and

  documents filed under seal in this case. The Twenty-Six Class action Members claim

  they require these documents in order to value their claims and to determine whether

  the settlement is fair. While objectors are entitled to meaningful participation in the

  settlement process, they are not automatically entitled to discovery or to question and

  debate every provision of the proposed settlement. In re Gen. Tire & Rubber Co. Sec.

  Litig., 726 F.2d 1075, 1084 (6th Cir. 1984); Bailey v. White, 320 F. App’x 364, 366

  (6th Cir. 2009). These objectors should have knowledge of their own interests, as

  opposed to the interest of others and so evaluating their interests need not require the

  review of documents submitted by others to the Court and amongst the parties of the

  instant suit. The Sixth Circuit has noted that the purpose for intervening in order to

  investigate and evaluate the proposed settlement, was satisfied by the opportunity to

  participate in the fairness hearing. Bailey, 320 F. App’x at 366. This factor does not

  weigh in favor of the Twenty-Six Class Action Members since the Sixth Circuit has

  held that the members are not entitled automatically to discovery because they are able

  to participate in the fairness hearing.

        As to the third factor, the length of time the proposed intervenors knew of their

  interest in the case, the Court finds they should have known of their interest when the


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  United States filed its lawsuit against Blue Cross back in 2010, and when the instant

  suit and the related suits were filed in this District in 2010 and 2011. The related

  lawsuits were well-publicized at that time and since the filing of the suits in the

  general media and the insurance and medical communities. This Court notes that

  many of the moving parties have lawsuits in this District against Blue Cross regarding

  its handling of their insurance contracts on other issues. The length of time the

  proposed intervenors should have known their interest in the case factor does not

  weigh in their favor.

        Regarding the fourth factor–the prejudice to the original parties due to the

  proposed intervenors’ failure to promptly intervene after they knew or reasonably

  should have known of their interest in the case–also weighs against the Twenty-Six

  Class Action Members. As addressed in the third factor above, the proposed

  intervenors should have known of their interests back in 2010. Their failure to

  promptly intervene back then and only after the parties in the instant suit have reached

  a resolution, clearly prejudices those parties. The parties have conducted extensive

  discovery and have vigorously litigated this case. The proposed intervenors now seek

  documents which are filed under seal but contain sensitive information regarding the

  parties’ interests and private information regarding the parties’ insurance and medical

  information. In addition, many hospitals participated in this litigation and medical


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  information regarding patients may be contained in these documents. This factor

  weighs against the Twenty-Six Class Action Members and heavily weighs in favor of

  the original parties who have vigorously litigated this action.

        The fifth factor–the existence of unusual circumstances militating against or in

  favor of intervention–the proposed intervenors, other than noting there are no unusual

  circumstances militating against intervention, do not identify any unusual

  circumstances why the Court should allow intervention. The settling parties argue

  there are unusual circumstances militate against intervention. They claim that the

  Settlement involves millions of Settlement Class Members, many of which are large

  and sophisticated entities. This factor weighs against the Twenty-Six Class Action

  Members since there are unusual circumstances where millions of class members are

  involved and where documents the proposed intervenors seek to review may contain

  highly sensitive business, personal, medical and insurance information which may not

  be present in other class action lawsuits.

        Weighing the factors required for the Court to determine whether the Motion

  to Intervene is timely, the Court finds that the various motions to intervene were not

  timely filed. Having considered the timeliness issue in the first instance and since this

  element is mandatory, the Motion to Intervene, even for the limited purpose of

  unsealing and reviewing documents filed by the parties, is denied. Blount-Hill, 636


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  F.3d at 283.

         C.      Permissive Intervention, Fed. R. Civ. P. 24(b)

         Rule 24(b) provides that, “[o]n timely motion, the court may permit anyone to

  intervene who ... has a claim or defense that shares with the main action a common

  question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). The Sixth Circuit in Blount-Hill

  held that because the proposed intervenors’ motion was untimely in its analysis under

  mandatory intervention, the motion for permissive intervention was also untimely.

  Id. at 287. For the same reasons above, since the motion for mandatory intervention

  is untimely, the motion under the permissive intervention rule is also untimely. As in

  Bailey, the Twenty-Six Class Action Members have participated in this case by filing

  their Objections to the class action settlement. They have a voice as objectors in this

  case. The Motion to Intervene under the permissive intervention rule is denied.

         Since the Motions to Intervene are denied, there is no basis to adjourn the

  Fairness Hearing. The request to adjourn the Fairness Hearing is denied.

  III.   FAIRNESS OF SETTLEMENT

         A.      Rule 23

         Rule 23 of the Rules of Civil Procedure governs the Court’s determination of

  whether the settlement is fair. Pursuant to Fed. R. Civ. P. 23(e)(2), “[t]he claims,

  issues, or defenses of a certified class may be settled, voluntarily dismissed, or


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  compromised only with the court’s approval. The following procedures apply to a

  proposed settlement, voluntary dismissal, or compromise: If the proposal would bind

  class members, the court may approve it only after a hearing and on finding that it is

  fair, reasonable, and adequate.” The factors to be determined at the fairness hearing

  are: (1) the risk of fraud or collusion; (2) the complexity, expense and likely duration

  of the litigation; (3) the amount of discovery engaged in by the parties; (4) the

  likelihood of success on the merits; (5) the opinions of class counsel and class

  representatives; (6) the reaction of absent class members; and (7) the public interest.”

  Int’l Union, UAW v. Gen. Motors Corp., 497 F.3d 615, 631 (2007).

        B.     Objections Filed

               1.     Pro Se Letters/Objections

                      a.     John Kunitzer

        John Kunitzer filed a timely Objection on September 15, 2014. (#158) Kunitzer

  asserts that during the time period at issue, he has had four major surgeries, but has

  been unable to obtain copies of his bills and therefore cannot support his claim. He

  states that this is another case where the lawyers involved will reap the substantial

  benefits instead of those that actually suffered the loss.

                      b.     Christopher Andrews

        Christopher Andrews also filed timely Objections on September 24, 2014.


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  (Doc. No. 159) He also filed supplemental documents to support his Objections, to

  seek sanctions and to respond to other motions. (Doc. Nos. 163, 172, 179, 202, 204,

  205, 207, 209, 210) Andrews asserts that he is a non-attorney and is also acting as a

  representative under a Power of Attorney for Cathy Waltz as executor of the estate of

  Eileen Greenia and Emily Byrne, and for Ron Waltz and Michael Andrews. (Doc.

  Nos. 193, 195) Andrews lists several issues including: the $30 million amount for

  damages is too low; incentive awards are too high; postcard and long notices are

  flawed and defective; claim forms are flawed; claim packets are defective; hourly

  rates are too high as are the number of hours claimed for attorneys’ fees; $3.5 million

  in expenses is too high; and, Blue Cross should have paid for the notice. Andrews

  presented his arguments at the hearing.

                      c.    Scott Mancinelli

        Scott Mancinelli filed a timely Objection on September 24, 2014. (Doc. No.

  160) He asserts he directly purchased healthcare services form Michigan General

  Acute Care Hospitals for himself and for his minor children between January 2006

  and June 2014 in the form of co-pay, co-insurance and insurance deductibles.

  Mancinelli argues the settlement is not reasonable, fair or adequate. He claims the

  settlement fails to address Blue Cross’ “Most Favored Nation” contracts with the

  hospitals, which was the primary issue in the case. He argues the MFN issue is not


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  addressed in the settlement because there is no declaratory or injunctive relief

  prohibiting unfair trade practices in the future. The release in the settlement

  addressing the MFN issue applies to almost every consumer of acute care hospital

  services in Michigan. Mancinelli claims that in exchange for the paltry $15 to $40,

  consumers are “dooming” themselves to a “rigged” hospital pricing system that

  perpetuates a “quasi-monopoly” for Blue Cross, which is not the best interest of the

  settlement class, the citizens of Michigan, or other insurance carriers. Mancinelli

  argues that the cy pres recipients and the present cy pres distribution is a carve out of

  funds from the overall settlement and is not necessitated by or the result of the

  economic unavailability of a distribution to class members. He claims that the cy pres

  distribution is a direct result of a cap placed on distributions to class members and that

  the cap should be removed. As to notice, Mancinelli asserts he received no direct

  notice of the class action or its settlement, but that his eight-year old daughter received

  a post card notice. He agrees with Kunitzer’s objection that the claim forms require

  a claimant to put the date of service, the amount paid and hospital provider, which

  very few class members are unable to obtain back to 2006.

                      d.     Darrell Thompson

        Darrell Thompson filed untimely letters regarding the settlement, the first filed

  October 15, 2014 (Doc. No. 165), and two others received by the Court on November


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  7 and 11, 2014. Thompson’s letter dated October 13, 2014 states that he was a patient

  at Michigan hospitals from January 1, 2006 to June 23, 2014. He emailed the

  settlement administrator on September 17, 2014 asking how to determine if he is part

  of the settlement. The settlement administrator responded on September 19, 2014

  indicating it was investigating the issue and then responded on September 24, 2014

  directing Thompson to contact Class Counsel. Thompson then emailed Class Counsel

  the evening of September 24th. He received a telephone call the following week

  indicating he could file for the class action settlement, but by then, the time to file

  objections had passed. Thompson presented his arguments at the hearing.

                      e.     Marguerite Schubert/Dale J. Schubert

        Marguerite Schubert filed an untimely letter to the Court on October 30, 2014

  submitted by her son, Dale J. Schubert. (Doc. No. 176) Her son indicates he had been

  attempting to complete the claim form, but has been unable to obtain information from

  certain insurance companies. He states that he has called the claims administrator, but

  has not been able to obtain assistance with his questions. He asked to speak to one of

  the staff attorneys handling the matter, but has not received a response to the request.

  He seeks an adjournment of the filing deadline until all the issues have been

  addressed.

        The Named-Plaintiffs submitted a supplemental brief indicating that they


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  investigated Mr. Schubert’s inquiries to Epiq. Charles Marr, Epiq’s Project Manager,

  submitted a declaration indicating he called Mr. Schubert regarding his letter to the

  Court and further explained to him the details of the Plan of Allocation. Mr. Marr

  indicated that by the end of the call, Mr. Schubert stated he had the necessary

  information to file a claim, which was received by Epiq timely.

               2.       ADAC Automotive and Others (Represented by Varnum)

        Twenty-Six self-insured Objectors, made up of over 5,000 health plan

  participants filed a timely joint objection asserting: 1) the proposed settlement fund

  is woefully inadequate; 2) the proposed settlement gives preferential treatment to the

  named plaintiffs; 3) the proposed settlement gives preferential treatment to class

  counsel; and, 4) the claims process is unnecessarily burdensome. (#161, 9/24/14)

  They argue that under the “preferential treatment” standard, although not included in

  the seven UAW factors in evaluating the fairness of a settlement, the Sixth Circuit also

  looked to whether the settlement gives preferential treatment to the named plaintiffs

  and class counsel, citing Greenberg v. Procter & Gamble Co. (In re Dry Max

  Pampers Litig.), 724 F.3d 713, 719 (6th Cir. 2013) and Vasalle v. Midland Funding

  LLC, 708 F.3d 747, 755 (6th Cir. 2013). The Objectors’ arguments are addressed in

  the analysis below.

        C.     Factors


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               1.    Substantial Risk of Fraud or Collusion

        The Twenty-Six Objectors argue that class members over the eight-and-a-half-

  year period covered under the proposed settlement spent over $86 billion in Michigan

  hospitals. They claim that only 1 percent of the class member payments will be

  refunded under the settlement plan and for a small number of specific hospitals, class

  members will be refunded 3.5 percent of their payments to those particular hospitals.

  The Twenty-Six Objectors claim that “simple math” dictates that in order to refund

  class members 1 percent of their hospital expenditures, the settlement fund should be

  at least $850 million, based on the $85 billion figure. They argue that the proposed

  settlement of a gross amount of $29,990,000 is “woefully inadequate.” The nearly

  $30 million gross settlement amount is allocated as follows: 1) $3.5 million to

  reimburse class counsel for expenses; 2) up to $10 million attorneys’ fees for class

  counsel; 3) over $200,000 in potential incentive awards to the named-Plaintiffs; and,

  4) expenses incurred in administering the proposed settlement, pre-authorized up to

  $1 million. The Twenty-Six Objectors claim that closer to $15 million would then be

  available to reimburse class members, which they argue is “wholly inadequate” to

  reimburse the class members. The 1 percent refund set forth in the proposed

  settlement they argue is completely misleading and illusory. The proposed net

  settlement amount represents 0.000176 percent of the hospital expenditures by the


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  class members during the class period or $1 for every $5,681 spent by class members.

  If Plaintiffs are successful at trial, they claim that the case is a “billion-dollar” case.

  The Twenty-Six Objectors also argue that Blue Cross, despite being a non-profit

  corporation, holds massive reserves at almost $12.8 billion at the end of 2013,

  including $696 million in cash. They claim that any judgment against Blue Cross

  could be collected.

        The Twenty-Six Objectors claim that this “grossly inadequate” amount suggests

  a “serious risk of fraud and collusion” between the Named-Class Plaintiffs and Blue

  Cross. The proposed four organization Named-Plaintiffs are entitled to an incentive

  payment of up to $50,000 and the four individual Named-Plaintiffs are entitled to

  $10,000 incentive payment. With the net settlement fund of $15 million, they argue

  that it this was solely distributed to individual class members (and not to insurers or

  self-insured entities), each class member would receive an average recovery of $3.00.

        The Twenty-Six Objectors argue that the excessive attorneys’ fees award of up

  to $10 million to Plaintiffs’ counsel is unreasonable and points to a substantial risk of

  fraud and collusion. They claim that the substantial amount to be paid to class

  counsel, when compared to the “meager” net amount to be paid to class members,

  creates a substantial conflict of interest between class counsel and class members that

  raises a serious risk of fraud and collusion.


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        They next argue that the burdensomeness of the claims process will be a

  substantial deterrent to claims being filed and further suggests possible fraud or

  collusion. The claim form requires insurers and self-insured plans to itemize in a

  claims table: 1) the amount of healthcare services paid for; on 2) each date of service

  over the class period; for 3) each of approximately 130 hospitals in Michigan. They

  argue that the claims tables from insurers and self-insured are likely to be thousands

  of pages long. The individuals are also required to itemize their claim by amount, date

  and hospital during the class period. The requirement that insurers and self-insureds

  submit copies of supporting bills would result in submission of perhaps millions of

  pages of supporting documents. They claim that individuals are not required to

  submit supporting documents. The Twenty-Six Objectors argue that the insurers and

  self-insured plans should be treated the same way as individuals and not require

  supporting documents, unless the claim is suspect. The claimants are required to

  certify under penalty of perjury that their claim form is true and accurate, which

  should be sufficient to minimize the risk of false or inflated claims submitted. They

  also claim that millions of class members are either directly insured by Blue Cross or

  are self-insured plans administered by Blue Cross, which means that Blue Cross has

  superior access to the hospital payment information concerning its insureds and the

  self-insured plans it manages. The Twenty-Six Objectors claim that the claims


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  process can only be seen as a “cynical” attempt to discourage most class members

  from submitting claims in order to justify the extremely low settlement fund amount.

        The Named-Class Plaintiffs respond that the Settlement creates a common fund

  of approximately $30,000,000, which they claim is an excellent recovery for the class

  since it recovers more than 25 percent of the $118 million damages estimated. They

  argue that this amount of recovery and much less, have been approved in countless

  antitrust class actions. See, e.g., Stop & Shop Supermarket Co. v. SmithKline

  Beecham Corp., No. 03-cv-4578, 2005 WL 1213926, at *9 (E.D. Pa. May 19,

  2005)(11.4% of damages); In re Linerboard Antitrust Litig., No. MDL 1261, 2004

  WL 1221350, at *4 (E.D. Pa. June 2, 2004)(collecting cases approving anywhere from

  5.35% to 28% of damages). Named-Class Plaintiffs assert that this settlement was

  reached after three and a half years of hard-fought litigation, production of millions

  of pages of documents, depositions of 169 witnesses, analysis of many terabytes of

  data, expert reports submitted by the parities, and, briefing of several motions. They

  claim there are no indicia of unfairness to class members and that Class Counsel’s

  request for attorneys’ fees and expenses is authorized by abundant case law.

        The Named-Class Plaintiffs assert that the history of this litigation is hard-

  fought with extensive negotiations between the parties. They claim the Court had

  ample opportunity to observe the intensely adversarial nature of this litigation during


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  the past few years. They note that Blue Cross fought the class action at every turn,

  and Class Counsel fought back vigorously. The Named-Class Plaintiffs submitted

  declarations detailing the drawn-out settlement negotiations which demonstrate the

  arm’s-length, adversarial nature of the parties’ relations.

        The Named-Class Plaintiffs assert that the Settlement Agreement itself refutes

  the idea that there was fraud or collusion. The Settlement Agreement provides that

  all awards are placed in the sole discretion of the district court. They claim that Class

  Counsel’s interests are fully aligned with the Settlement Class’ interest, therefore,

  there was no self-dealing or fraud or collusion in the settlement negotiations. The

  Named-Plaintiffs claim that Class Counsel include highly competent antitrust class

  action experts, whose records of zealous and successful representation belies any

  claim that they would “sell out their clients for a quick deal.” (Doc. No. 169, Pg ID

  5328) Class Counsel invested $3.5 million of their own money and over $15 million

  of their time, despite facing substantial risks and a formidable opponent.

        Applying the first factor, the Court finds there is no indication of fraud or

  collusion in this case. It is “presumed that the class representatives and counsel

  handled their responsibilities with the independent vigor that the adversarial process

  demands” absent “evidence of improper incentives.” UAW, 497 F.3d at 628. Each

  party vigorously advanced and defended their arguments and positions before the


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  Court. There were initially three cases filed relating to the instant Settlement which

  were later consolidated by the Court after the parties’ agreed to do so. (Doc. No. 65)

  Various motions were filed by the parties, including a Motion to Dismiss filed by Blue

  Cross, which was denied by the Court. (Doc. No. 102) The parties engaged in

  extensive motion practice and discovery relating to the class certification issue and

  expert-related issues. It was only after these motions were filed that the Court was

  informed that the parties resolved the matter after extensive negotiations. Each time

  a status conference or a hearing was held before the Court, there were numerous

  attorneys in attendance representing each party. The duration and complexity of the

  litigation and the number of parties involved undermines the Objectors’ claims that

  fraud or collusion resulted in the Settlement Agreement. The Court did not observe

  any signs that the parties were engaged in pretense and posturing during the years in

  litigation before the Court to mask collusion in reaching a Settlement Agreement with

  Blue Cross. It is this Court’s observation as to cases before this Court involving the

  antitrust cases filed against Blue Cross that Blue Cross defends these cases most

  vigorously. Class Counsel in these consolidated cases also vigorously argued each of

  their positions before the Court. All the Objectors have failed to show that the

  Named-Plaintiffs and Class Counsel engaged in acts of fraud or collusion in

  negotiating the Settlement Agreement before the Court.


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               2.     Complexity, Expense, and Likely Duration of Litigation

        The Twenty-Six Objectors argue that the bulk of the work necessary to prepare

  the case for trial has been done. They claim that although antitrust litigation is

  complex, expensive and takes time, those are largely “sunk costs” at this point. They

  also claim that if Plaintiffs prevail at trial, they are entitled to treble damages and

  recovery of attorneys’ fees and costs, which means there is substantially less risk to

  the Plaintiffs in continuing to litigate rather than settle. The Twenty-Six Objectors

  claim it is Blue Cross who bears far greater litigation risk because of the treble

  damages and attorneys’ fees and costs recovery it faces.

        The Named-Plaintiffs respond that they have yet to complete the class

  certification litigation, there is expert discovery to be conducted, and summary

  judgment motions have not been filed. The antitrust claims at issue involving MFNs

  are difficult and complicated. Class Counsel have put millions of dollars in this case

  already, but more litigation is required to move the case forward. Appeals would

  follow, however the case is resolved by trial. Given the sizable hurdles in front of the

  Plaintiffs, any recovery outside of this Settlement would likely take years to recover

  and would highly be uncertain.

        As to the second factor in this case, the Court finds that the antitrust MFN

  issues raised by the Plaintiffs are complex, very expensive to litigate and the litigation


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  would continue for years, including any appeals. The MFN issue is not a common

  issue involving antitrust cases in the healthcare arena. The Named-Plaintiffs have

  submitted the expenses and fees they have expended related to the consolidated cases.

  The litigation, contrary to the Objectors’ arguments, is far from complete. The parties

  have yet to complete class certification motions, expert discovery, and any dispositive

  motion practice, even though the parties have engaged in extensive fact discovery to

  date. The complexity, expense and likely duration factor weighs in favor of class

  settlement.

                3.    Amount of Discovery

        The Twenty-Six Objectors indicate that Plaintiffs engaged in a very significant

  amount of discovery in this case, but because the documents have been filed under

  seal, it is impossible to assess the extent to which discovery has confirmed the

  allegations in the Complaint, enhanced or developed additional information to support

  the allegations in the Complaint or identified weaknesses in the allegations which

  might motivate settlement.

        The Named-Plaintiffs agree that they have engaged in discovery of millions of

  pages of documents, multiple terabytes of data, 169 depositions and preparation of

  competing expert reports. They argue that based on all of this discovery taken, the

  Named-Plaintiffs and Blue Cross are well-aware of the strengths and weaknesses of


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  the case. They argue that based on the significant discovery taken, this factor weighs

  heavily in favor of approval of the settlement.

        There is no dispute that extensive discovery has been taken in this case, and the

  Objectors so concede. In light of this extensive discovery, the Court finds that the

  Named-Plaintiffs and Blue Cross have been able to evaluate the propriety and fair

  value of the settlement. The amount of discovery taken and considered by the parties

  in this case weighs in favor of approving the settlement.

               4.     Likelihood of Success on the Merits

        The Twenty-Six Objectors argue that they are unable to determine the

  likelihood of success on the merits since the documents are sealed in this matter. They

  claim the information that is publicly available strongly suggests Plaintiffs have a

  substantial likelihood of success since the Department of Justice brought a federal

  complaint against Blue Cross. In addition, the Michigan legislature banned the MFN

  Agreements by legislation passed in March 2013. They also claim that the Court has

  not granted a dispositive motion in favor of Blue Cross in this suit or the related Aetna

  lawsuit or the original Department of Justice lawsuit. The Objectors argue that it is

  obvious that the proposed settlement is grossly unreasonable, which means class

  members have nothing to lose, and everything to gain, by going forward with trial.

        The Named-Plaintiffs argue that in this case, an expert has analyzed the


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  damages in this case, which was labor-intensive. The analysis could reliably and

  manageably be measured for purchasers covered by 23 provider agreements, out of

  hundreds of provider agreements with MFN hospitals at 13 hospitals, out of 70 MFN

  hospitals. According to the Named-Plaintiffs, this analysis projects damages that is

  far less than the multi-billion dollar case argued by the Objectors. They argue that the

  many risks of continued litigation cast significant doubt on whether class members

  would receive any recovery. The Named-Plaintiffs further argue that even though the

  United States and the State of Michigan obtained success, they did not have to obtain

  class certification or prove that the class members paid an overcharge for hospitals

  services, or measure the amount of the overcharge. While the Named-Plaintiffs argue

  they would have succeeded at trial in this case, given the complex economic issues,

  a jury may not credit Plaintiffs’ evidence or a jury may award less than the damages

  that would be sought at trial. The Named-Plaintiffs claim they face significant risk

  that class members would receive nothing without a settlement, therefore the recovery

  of nearly $30 million reflects a substantial victory for Settlement Class members.

        The main question in approving a class settlement is whether the settlement is

  fair in light of “plaintiff’s likelihood of success on the merits.” UAW, 497 F.3d at 631.

  As noted above, extensive discovery has been held in this case. The Court has denied

  Blue Cross’ initial Motion to Dismiss, finding at that point in the litigation that


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  Plaintiffs had stated a claim against Blue Cross. However, in light of Plaintiffs’

  expert’s analysis as to damages, the Court finds that the settlement amount reached

  by the parties is fair in light of any success the Plaintiffs may obtain on the merits of

  the case. As noted above, although significant discovery has been performed in this

  case, the litigation is far from over. The Named-Plaintiffs face significant risk that the

  class members could receive nothing or some negligible amount in damages at trial

  or on appeal. The Court finds that the likelihood of success on the merits weighs in

  favor of approving the settlement.

               5.     Opinions of Class Counsel and Class Representatives

        The Twenty-Six Objectors argue that in circumstances where class counsel and

  class representatives receive preferential treatment under the terms of the settlement,

  the Court should not give any weight to their opinions. They claim Class Counsel and

  the Class Representatives have a conflict of interest due to their heavy financial

  incentive to push for the proposed settlement.

        The Named-Plaintiffs and their counsel argue that as noted previously, counsel

  include leaders in complex class action litigation, particularly in the field of antitrust.

  They have considered voluminous discovery, expert analysis and engaged in motion

  practice before reaching the settlement. The Named-Plaintiffs claim they have

  participated in the case for years and they include all segments of the Settlement


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  Class, including individual purchasers, institutional payors, purchasers in each of the

  Categories 1, 2 and 3.

        “The judgment of the parties’ counsel that the settlement is in the best interest

  of the settling parties is entitled to significant weight.” IUE-CWA v. Gen. Motors

  Corp., 238 F.R.D. 583, 597 (E.D. Mich. 2006). Courts should defer to the judgment

  of experienced counsel who have evaluated the strength of the proofs. Williams v.

  Vukovich, 720 F.2d 909, 922-23 (6th Cir. 1983).

        Class Counsel and the Named-Plaintiffs in this action all support the settlement

  in this case. Deference is given to their opinions because they have had the

  opportunity to review discovery and an opinion by an expert in the evaluation of the

  case. Although the Objectors argue that Class Counsel and the Class Representatives

  have a conflict of interest due to their heavy financial incentive to push for the

  proposed settlement, the Court must weigh this factor significantly in their favor. The

  Objectors have not overcome this burden in light of the discovery taken in this case

  and the expert analysis reviewed by Class Counsel and Named-Plaintiffs.

               6.     Reaction of Absent Class Members

        The Twenty-Six Objectors argue that Aetna’s parallel lawsuit against Blue

  Cross provides significant evidence of the inadequacy of the proposed settlement.

  Aetna alleges it suffered over $600 million in damages, and with the trebled damages,


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  Aetna claims damages over $2 billion. The Twenty-Six Objectors argue that the

  aggregate damages in this class action exceed the individual damages sought by

  Aetna.

        The Named-Plaintiffs argue that as to Aetna’s estimate of damages, such

  estimate is based on lost profits for Aetna’s sales in the market for commercial group

  health insurance and diminution of business value, not overcharges for purchases of

  hospital services attributable to Blue Cross’ conduct. In this case, Named-Plaintiffs

  only sought overcharges in the sale of hospital services, not total payments for

  hospital services paid by class members.

        The Named-Plaintiffs and Counsel assert that more than 26,000 class members

  had filed claims as of October 17, 2014, including the largest purchasers of hospital

  services in Michigan. They claim that only 1,518 potential class members opted out,

  0.02% of the class and 0.05% of those directly notified. Out of this number, 179

  requests were filed by Aetna entities, who have filed a separate lawsuit in this District.

  They cite cases where courts approved class action settlements with a far higher opt

  rate such as 0.55% in Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566 (9th Cir. 2004)

  and 0.4% in Garner v. State Farm Mut. Auto. Ins., No. 08-cv-1365, 2010 WL

  1687832, at *15 (N.D. Cal. Apr. 22, 2010). They also argue that there were only four

  objections filed, representing 32 class members, one of which was later withdrawn.


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  They claim that the low number of objections favors approval of the settlement. See,

  D’Amato v. Deutsche Bank, 236 F.3d 78, 86-87 (2d Cir. 2001)(The small number of

  objections weighed in favor of settlement where 27,883 notices were sent and 18

  objections received.).

        Based on the opt out rate at 0.02% of the class and 0.05% of those directly

  notified, and the few objections filed against the settlement, the Named-Plaintiffs have

  shown that the opt-out rate the factor as to the reaction of absent class members

  weighs in favor of settlement.

               7.     The Public Interest

        The Twenty-Six Objectors assert that nearly every member of the public is a

  class member, therefore the interests of the public are best analyzed as part of

  assessing the reasonableness of the settlement to the class.

        The Named-Plaintiffs argue that the public interest in this case is to settle a

  complex litigation and class action and to conserve judicial resources. They claim that

  in this case, 169 depositions have been taken, including depositions of over 100 third

  parties (employees from dozens of hospitals), and that having a trial in this case would

  burden the court and place a burden on Michigan healthcare providers.

        There is a strong public interest in encouraging settlement of complex litigation

  and class action suits because such suits are “notoriously difficult and unpredictable


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  and settlement conserves judicial resources.” In re Cardizem CD Antitrust Litig., 218

  F.R.D. 508, 530 (E.D. Mich. 2003)(quoting Granada Inv., Inc. v. DWG Corp., 962

  F.2d 1203, 1205 (6th Cir. 1992)). The public interest the Objectors raise is essentially

  a numerosity issue, which weighs in favor of a class action settlement. The public

  interest is strong to settle complex class action cases, such as this case. If the matter

  was to move forward to class action litigation, dispositive motion practice and trial,

  given the number of members in the class, the time to resolve this matter would be

  lengthy. The number of witnesses, including those in the Michigan healthcare system

  involved, would burden those systems. There is no guarantee at trial that the matter

  would be resolved in favor of class members. The public interest in settling complex

  class action litigation weighs in favor of settlement.

               8.     Preferential Treatment

        The Twenty-Six Objectors argue that based on the Sixth Circuit decision in

  Greenberg, incentive payments to the named-Plaintiffs and Class Counsel are a

  disincentive for the class members to care about the adequacy of relief afforded by

  unnamed class members and instead encourages the class representatives to

  compromise the interest of the class for their personal gain. Such inequities in

  treatment, they argue, make a settlement unfair.

        The Named-Plaintiffs assert that the incentive payments to the Named-Plaintiffs


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  are allowed and encouraged to reward their efforts in litigating the case on behalf of

  the class. The incentives are proportional to the time and resources each Named-

  Plaintiff devoted to the case. They argue that the attorneys’ fees are not dependent on

  any award, but are subject to the Court’s approval. As to absent class members, the

  Named-Plaintiffs argue that the settlement on their behalf is not “perfunctory.” The

  settlement calls for a recovery of over 25 percent of the $118 million they claimed are

  the estimated damages in this case, which, they argue is not “perfunctory” in light of

  the risks, burdens and delay of continued litigation. They claim that there is no

  preferential treatment in favor of the Named-Plaintiffs and Class Counsel.

        Courts have stressed that incentive awards are the efficient ways of encouraging

  members of a class to become class representatives and rewarding individual efforts

  taken on behalf of the class. Hadix v. Johnson, 322 F.3d 895, 897 (6th Cir. 2003).

  Depending on the circumstances, incentive awards are appropriate. Id. at 897-98. The

  Named-Plaintiffs in this case have been involved since the filing of all three

  consolidated cases. They have been involved in extensive discovery and any award

  to class representatives is proportioned to the time and effort each representative

  performed in this action.     As to absent class members, their awards are not

  “perfunctory” in that the settlement is over 25 percent of the $118 million in estimated

  damages. The attorneys’ fees requested are not contingent upon any award, but are


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  subject to the court’s approval. The Court finds that the settlement before the Court

  does not give preferential treatment to the Named-Plaintiffs, other than the incentives

  which are reasonable in light of their involvement in the case. The Court also finds

  that the relief to unnamed class members is not illusory or perfunctory. Because the

  settlement does not give preferential treatment to Named-Plaintiffs or perfunctory

  relief to unnamed class members, the Court approves the settlement in this case.

               9.     Plan of Allocation

        In addition to the above-stated factors, the Court must also determine whether

  the method of distributing the settlement fund is “fair and reasonable.” Thacker v.

  Chesapeake Appalachia, L.L.C., 695 F. Supp. 2d 521, 534 (E.D. Ky. 2010).

        The Named-Plaintiffs in this case have shown that an expert has analyzed the

  damages in this case and the effect of the MFNs on the damages. The Plan of

  Allocation categorizes different claims by placing them in three categories: 23

  provider agreements for which damages were able to be measured (Category 1);

  purchases at hospitals with an MFN agreement, but for which the plaintiff has no

  reliable evidence of harm or evidence of only de minimus damages (Category 2); and

  purchases were made when no MFN agreement was in effect (Category 3). Category

  1 is allocated to receive 78 percent of the Net Settlement Fund, Category 2 will

  receive 20 percent of the Net Settlement Fund, and Category 3 will receive 2 percent


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  of the Net Settlement Fund. The Plan of Allocation is structured where the stronger

  claims receive more than the other claims where damages are less. Any payments in

  Category 3 which are too small to distribute will instead be made to the non-profit

  organization Free Clinics of Michigan, a charity providing free health services

  throughout Michigan. This non-profit was agreed to by the parties.

               10.    Conclusion/Summary

        Having reviewed and heard the Objections and arguments by the parties and

  having weighed the factors set forth above, the Court finds that the Settlement

  submitted to the Court is fair, reasonable and adequate and that the Plan of Allocation

  is also fair, reasonable and adequate. The Court approves the Settlement and the Plan

  of Allocation. The Objections are overruled for the reasons set forth above.

  IV.   ATTORNEYS’ FEES AND EXPENSES AND INCENTIVE AWARDS

        A.     Attorneys’ Fees and Expenses Standard of Review

        District courts may award reasonable attorneys’ fees and expenses from the

  settlement of a class action upon motion under Fed. R. Civ. P. 54(d)(2) and 23(h).

  The court engages in a two-part analysis when assessing the reasonableness of a fee

  petition. In re Cardinal Health Inc. Sec. Litig., 528 F. Supp. 2d 752, 760 (S.D. Ohio

  2007). First, the court determines the method of calculating the attorneys’ fees–either

  the percentage of the fund approach or the lodestar method. Id.; Van Horn v.


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  Nationwide Prop. and Cas. Inc. Co., 436 F. App’x 496, 498 (6th Cir. 2011). The

  court has the discretion to select the appropriate method for calculating attorneys fees

  “in light of the unique characteristics of class actions in general, and of the unique

  circumstances of the actual cases before them.” Rawlings v. Prudential-Bache Props.,

  Inc., 9 F.3d 513, 516 (6th Cir. 1993). In common fund cases, the award of attorneys’

  fees need only “be reasonable under the circumstances.” Id. Second, the court must

  then analyze and weigh the six factors described in Ramey v.Cincinnati Enquirer, Inc.,

  508 F.2d 1188 (6th Cir. 1974). Id.

        B.     Percentage of the Fund Approach

        Class Counsel asserts that the Court should award attorneys’ fees using the

  percentage of the fund approach at one-third of the fund amount. Class Counsel

  argues that this Circuit approves and prefers the percentage of the fund approach in

  awarding attorneys’ fees because it eliminates disputes about the reasonableness of

  rates and hours, conserves judicial resources, and fully aligns the interests of Class

  Counsel and the Class. See, e.g., Rawlings, 9 F.3d at 515. Class Counsel notes that

  the requested fee is $5.5 million less than their actual fees based on the lodestar

  approach. Courts in this District have approved attorneys’ fees in antitrust class

  actions anywhere from a 30% to one-third ratio of the common fund. See, In re

  Packaged Ice Antitrust Litig., 08-MDL-01952, 2011 WL 6209188, at *19 (E.D. Mich.


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  Dec. 13, 2011); Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D. 496, 503 (E.D. Mich.

  2000). Courts have noted that the range of reasonableness in common fund cases is

  from 20 to 50 percent of the common fund. See, In re Telectronics Pacing Sys., Inc.,

  Accufix Atrial “J” Leads Prods. Liab. Litig., 137 F. Supp. 2d 1029, 1046 (S.D. Ohio

  2001); In re Cincinnati Gas & Elec. Co. Sec. Litig., 643 F. Supp. 148, 150 (S.D. Ohio

  1986).

          Class Counsel claims that Co-Lead Counsel coordinated the efforts of all

  Plaintiffs’ Counsel to maximize efficiency, minimize duplication of effort, and

  minimize any unnecessary or duplicative billing. Class Counsel asserts the time

  submissions were reviewed to ensure that no person submitted time for unauthorized

  work.

          As noted previously, this action is a complex antitrust class action. Class

  Counsel submitted declarations of the various attorneys who participated in this case

  setting forth their attorneys’ fees and expenses incurred. Based on the submission of

  Class Counsel and after review of the Objections submitted, the Court finds that the

  percentage of the fund method is the proper measure to award attorneys’ fees in this

  case rather than the lodestar method. The percentage of the fund method eliminates

  arguments regarding the reasonableness of rates and hours incurred by the numerous

  counsel involved in this case and fully aligns with the interest of the Class. Rawlings,


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  9 F.3d at 515.

        The Court further finds that the requested one-third of the fund percentage at

  $9,996,667.00 is reasonable in light of the time and resources expended by Class

  Counsel in this case. Taking Class Counsel’s submissions regarding the fees incurred

  at $15,497,960.25 under the lodestar method, the one-third ratio awards Class Counsel

  more than $5 million less if the lodestar method was instead used in this case. Even

  if 10% of the lodestar amount was decreased, Class Counsel’s fees under the lodestar

  method would still be higher than the one-third amount requested by Class Counsel.

  The Court finds that Class Counsel properly supported the request to award one-third

  of the common fund as attorneys’ fees.

        C.     Ramey Factors

        The Court must also review the requested fees and weigh the factors set forth

  in Ramey: (1) the value of the benefits rendered to the class; (2) society’s stake in

  rewarding attorneys who produce such benefits in order to maintain an incentive to

  others; (3) whether the services were undertaken on a contingent fee basis; (4) the

  value of the services on an hourly basis [the lodestar cross-check]; (5) the complexity

  of the litigation; and (6) the professional skill and standing of counsel on both sides.

  Ramey, 508 F.2d at 1194-97. Based on the Class Counsel submissions and reviewing

  the Objections to the requested fees, the Court finds that each of these factors weighs


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  in favor of awarding the requested attorneys’ fees.

        The first factor, the value of the benefit to the Class, is that the Settlement

  provides cash payment of $29.99 million to the Class Members. As previously noted,

  this amount represents 25% of the overcharges the Class Members paid as estimated

  by Plaintiffs’ expert. Courts have approved settlements in class action antitrust

  settlements anywhere between 5.35% to 28% of estimated damages in a complex

  antitrust class actions. See, In re Linerboard, 2004 WL 1221350, at *4. This amount

  weights in favor of approving the fee award in light of the risks of the litigation as

  previously addressed.

        Regarding the second factor, the society’s stake in rewarding attorneys as an

  incentive, the Court finds this weighs in favor of approving the fee request. A court

  is tasked with ensuring that counsel are fairly compensated for the work performed

  and the result achieved. Rawlings, 9 F.3d at 516. “Encouraging qualified counsel to

  bring inherently difficult and risky but beneficial class actions ... benefits society.”

  In re Cardizem, 218 F.R.D. at 534. In this case, Class Counsel’s work resulted in a

  settlement for the Class, which in light of the risk of the litigation the attorneys’ fees

  requested are reasonable. As noted above, courts have held that the public interest is

  strong in encouraging settlement of complex litigation and class action suits because

  they are difficult and unpredictable. The settlement conserves judicial resources and


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  compensates class members.

        The third factor, whether the services were undertaken on a contingent fee

  basis, weighs in favor of awarding the attorneys’ fees requested. Contingency fee

  arrangements indicate that there is a certain degree of risk in obtaining a recovery. In

  re Telectronics, 137 F. Supp. 2d at 1043. Plaintiff’s Counsel prosecuted the cases on

  a contingent basis. They are aware that for a variety of reasons, including information

  revealed during discovery, court rulings on motions, and findings by a jury, Plaintiff’s

  Counsel could recover no fee for prosecuting the cases. The nature of the contingent

  fee arrangement between Plaintiffs and their Counsel weighs in favor of the fees

  requested by Class Counsel.

        As to the fourth factor, the value of the services on an hourly basis [the lodestar

  cross-check], as noted above, if the Court were to award the attorneys’ fees based on

  the lodestar method, the fees would exceed by more than $5 million the requested one-

  third ratio. The Court finds that the requested one-third attorneys’ fees amount is

  reasonable.

        The Court has noted, and there is no real dispute that this antitrust litigation is

  complex. This fifth factor, the complexity of the litigation, weighs in favor of

  awarding the requested attorneys’ fees.

        The sixth factor, the professional skill and standing of counsel on both sides,


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  weigh in favor of awarding the attorneys’ fees requested. “The ability of Co-Lead

  Counsel to negotiate a favorable settlement in the face of formidable legal opposition

  further evidences the reasonableness of the fee award requested.” In re Delphi Corp.

  Sec., Derivative & “ERISA” Litig., 248 F.R.D. 483, 504 (E.D. Mich. 2008). The

  Court has observed counsel on all sides of this litigation. There is no doubt that Blue

  Cross is a formidable opponent. Blue Cross’ counsel have zealously defended Blue

  Cross’ position in this litigation and the related litigation before the Court. Class

  Counsel and the other Plaintiffs’ Counsel in this case have also vigorously prosecuted

  the case on behalf of the Class. Class Counsel have submitted the lead counsels’

  backgrounds which indicate that each counsel have excellent standing amongst their

  peers and all are well-experienced in this area of litigation.

        Weighing the Ramey factors set forth by the Sixth Circuit, for the reasons set

  forth above, they requested attorneys’ fees of one-third of the Settlement Fund is fair

  and reasonable and is so awarded.

        D.     Expenses

        Class Counsel asserts that they have incurred litigation expenses in the

  aggregate amount of $3,499,893.02 for the benefit of the Settlement Class. They

  claim that a significant component of the expenses is the cost of the expert work

  performed on behalf of the Settlement Class. They retained highly qualified economic


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  experts to analyze the impact of Blue Cross’ MFN clauses on prices of acute care

  hospital healthcare services in Michigan, and to address other issues such as market

  definition and market power. Class Counsel claims the experts’ work required

  complex statistical analysis of extraordinarily large amounts of data. They assert that

  the notice sent to the Class indicated Class Counsel would seek up to $3,500,000 in

  attorneys’ fees. The costs incurred by Class Counsel is in line with the notice sent to

  the Class. Class Counsel indicated they will not seek reimbursement of certain

  expenses, including approximately $146,000 in expenses related to sending notice to

  an additional 500,000 names. Class Counsel asserts that they incurred the millions of

  dollars of expenses in this case, without any guarantee of recovery. Class Counsel

  claims the out of pocket expenses support their commitment to this case, even with the

  substantial risks inherent in this complex class action litigation.

        Class counsel is entitled to reimbursement of all reasonable out-of-pocket

  litigation expenses and costs in the prosecution of claims and in obtaining settlement,

  including expenses incurred in connection with document productions, consulting

  with experts and consultants, travel and other litigation-related expenses. In re

  Cardizem, 218 F.R.D. at 535. The type of expenses compensable are the type

  typically billed by attorneys to paying clients in the marketplace. Id. Courts have

  recognized that the assistance of qualified experts is necessary and a costly expense


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  in antitrust litigation. See, B&H Med., L.L.C. v. ABP Admin., Inc., No. 02-73615,

  2006 WL 123785, at *3 (E.D. Mich. Jan. 13, 2006).

        Reviewing the expenses incurred by Class Counsel set forth in their

  declarations and after considering the Objections, the Court finds that the requested

  amount incurred by counsel out-of-pocket is reasonable, in light of the time, resources,

  expert analysis and complexity of this class action case. The amount requested is

  substantial at $3,499,893.02. However, this amount includes complicated analysis by

  experts as to how the MFN clauses impacted healthcare services in Michigan using

  extraordinarily large amount of data. Class Counsel have shown that the experts

  provided significant services on behalf of the Settlement Class resulting in the

  settlement between the parties.

        E.     Incentive Awards

        Class Counsel request $165,000 in incentive awards for each Plaintiff

  organization and individual Plaintiffs as follows:

               C      Michigan Regional Council of Carpenters Employee
                      benefits Fund - $45,000;
               C      Abatement Workers National Health and Welfare
                      Fund - $35,000;
               C      Monroe Plumbers & Pipefitter Local 671 Welfare
                      Fund - $35,000
               C      The Shane Group, Inc. - $20,000
               C      Susan Baynard - $10,000
               C      Anne Patrice Noah - $10,000


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               C     Bradley Veneberg - $5,000
               C     Scott Steele - $5,000

  The Notice to the Settlement Class provided incentive awards for the class

  representatives at $240,000, which is .8% of the Settlement Fund. However, Class

  Counsel is only seeking a total of $165,000 in incentive awards, which is at 0.55% of

  the Settlement Fund, lower than the amount in the Notice.

        The Sixth Circuit has noted that incentive awards are typically awarded to class

  representatives for their extensive involvement with a lawsuit. Hadix, 322 F.3d at

  897. Awards encourage members of a class to become class representatives and

  reward their efforts taken on behalf of the class. Id. Payment of incentive awards to

  class representatives is a reasonable use of settlement funds. Moulton v. U.S. Steel

  Corp., 581 F.3d 344, 351 (6th Cir. 2009). Courts have approved incentive awards of

  up to $15,000 for individual plaintiff class representatives for providing information

  to class counsel, receiving and approving pleadings, assisting in discovery and

  participating in settlement discussions. See, In re CMS Energy ERISA Litig., No. 02-

  72834, 2006 WL 2109499, at *3 (E.D. Mich. June 27, 2006).           Larger incentive

  awards than those to individual plaintiffs have been approved for organizational class

  representatives because of the greater burden in the course of litigation by producing

  greater numbers of documents and participating in Rule 30(b)(6) depositions. See, In



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  re Vitamin C Antitrust Litig., No. 06-MD-1738, 2012 WL 5289514, at *11 (E.D. N.Y.

  Oct. 23, 2012).

        After reviewing the request for incentive awards and the Objections thereto, the

  Court finds that awards requested are reasonable. The three Union self-funded

  organizations produced thousands of documents during discovery. The organizations

  shared their knowledge of the industry with Class Counsel and assisted in drafting and

  responding to discovery requests. The organizations’ staff and agents spent time and

  resources during the litigation resulting in the settlement on behalf of the Class. The

  Shane Group was an initial filer of the lawsuit in October 2010. Its representatives

  worked with Class Counsel throughout the litigation locating and producing

  documents, responding to discovery requests and reviewing filings in the case. Based

  on these four groups’ participation in the litigation resulting in the settlement on

  behalf of the Class, the incentive awards requested for each are reasonable.

        As to the individual awards for Baynard and Noah, according to Class Counsel,

  they provided important and indispensable service to the Settlement Class. They

  searched their personal records multiple times to locate documents responsive to Blue

  Cross’ discovery requests and obtained documents in the custody of third parties.

  Both testified via depositions, which required them to travel to Detroit from northern

  Michigan. The Court finds that the requested incentive awards for Noah and Baynard


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  are reasonable in light of their participation during the discovery phase of the

  litigation. Their participation benefitted the Class.

        The individuals Veneberg and Steele filed their complaints in October 2010 and

  January 2011, respectively. They both participated in discovery by locating and

  producing documents. The Court finds that their participation in the litigation

  supports the requested incentive awards.

  V.    SANCTIONS

        Objector Christopher Andrews field a Motion for Sanctions against Class

  Counsel for their filings related to their requested fees and approval of the settlement.

  Class Counsel responds that Andrews has not provided any basis for sanctioning Class

  Counsel.    In turn, Class Counsel filed a Motion for Show Cause relating to

  sanctionable conduct by Andrews. Andrews responds that Class Counsel are the ones

  engaging in sanctionable conduct. Since the Fairness Hearing in this matter, Andrews

  has filed supplemental documents with the Court. Class Counsel has also filed

  supplemental documents with the Court.

        Rule 11 permits sanctions if “a reasonable inquiry discloses the pleading,

  motion, or paper is (1) not well grounded in fact, (2) not warranted by existing law or

  a good faith argument for the extension, modification or reversal of existing law, or

  (3) interposed for any improper purpose such as harassment or delay.” Merritt v. Int’l


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  Ass’n of Mach. and Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010). Rule 11

  sanctions are warranted if the attorney’s conduct was unreasonable under the

  circumstances. Andretti v. Borla Performance Indus., Inc., 426 F.3d 824, 833 (6th

  Cir. 2005). The grant of sanctions must be reviewed in the context of the litigation

  history of the action. Merritt, 613 F.3d at 627. The central purpose of Rule 11 is to

  deter baseless filings in the district court. Cooter & Gell v. Hartmarx Corp., 496 U.S.

  384, 393 (1990).

        As to Class Counsel’s actions relating to this case and the responses filed to

  Andrews’ submissions, the Court finds that their submissions have been well

  grounded in fact and the circumstances, made in good faith and were not filed for any

  improper purpose, harassment, or delay. Class Counsel’s filings have been in

  accordance with the rules and the Court’s orders regarding filings of documents

  related to the Class Action Settlement and Fairness Hearing.

        Regarding Andrews’ pro se submissions, the Court finds that many of the

  submissions are not warranted by the law and facts of the case, were not filed in good

  faith and were filed to harass Class Counsel. Class Counsel claims Andrews’

  demands for payment of a “ransom,” is extortion. Rule 11 requires a pro se plaintiff

  to sign any document filed with the court as certification that the document is not

  being submitted for an improper purpose and that the documents’ legal claims and


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  factual allegations are warranted. Fed. R. Civ. P. 11(c); Garrison v. Mich. Dep’t of

  Corr., 333 F. App’x 914, 920 (6th Cir. 2009). The court may impose an appropriate

  sanction on a party who violates the rule. Garrison, 333 F. App’x at 920. Sanctions

  imposed by the court require a finding of fraud or willful disobedience of a court

  order. Id. Here, although Andrews has submitted various documents to the Court, the

  Court finds he has not disobeyed any court order, nor has Class Counsel alleged

  Andrews has committed fraud.          Class Counsel only argues that Andrews’

  communications to Class Counsel amount to “criminal extortion” in that Andrews is

  attempting to interfere with the Court’s authority and proceedings by demanding that

  filed pleadings be withdrawn and that he be paid an undisclosed sum of money. The

  demands by Andrews are just that, demands which the Court need not consider.

        The Court is aware that other courts have noted that Andrews is known to be

  a “professional objector who has extorted additional fees from counsel in other cases,”

  but this Court will not at this time sanction his conduct of filing documents with the

  Court. See, In re Nutella Marketing and Sales Practices Litig., No. 11-cv-01086

  (D.N.J.)(7/9/12 Fairness Hearing Tr., Ex. C to Doc. No. 201). As to Class Counsel’s

  claim that Andrews has engaged in criminal extortion, Class Counsel is free to pursue

  that claim with the appropriate authorities.

  VI.   CONCLUSION


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        For the reasons set forth above, the Court finds that the Settlement and the Plan

  of Allocation is fair, reasonable and adequate to the interest of the Class Members.

        Accordingly,

        IT IS ORDERED that the Motion for Attorneys’ Fees, Reimbursement of

  Expenses and Payment of Incentive Awards to Class Representatives (Doc. No. 155)

  is GRANTED.

        IT IS FURTHER ORDERED that the Motions to Intervene for the Limited

  Purpose of Unsealing Records and Adjourning Fairness Hearing (Doc. Nos. 166, 183,

  185, 186, and 192) are DENIED.

        IT IS FURTHER ORDERED that the Motion for Final Approval of Settlement

  and Plan of Allocation (Doc. No. 169) is GRANTED.

        IT IS FURTHER ORDERED that the Motion to Strike Sur-Reply of Objector

  Christopher Andrews (Doc. No. 177) is DENIED.

        IT IS FURTHER ORDERED that the Motion for Sanctions filed by Christopher

  Andrews (Doc. No. 205) is DENIED.

        IT IS FURTHER ORDERED that Class Counsels’ Emergency Motion for

  Show Cause Order Relating to Sanctionable Conduct by Objector Christopher

  Andrews (Doc. No. 206) is DENIED.




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                                              s/Denise Page Hood
                                              DENISE PAGE HOOD
                                              United States District Judge
  DATED: March 31, 2015

  I hereby certify that a copy of the foregoing document was served upon counsel of
  record on March 31, 2015, by electronic and/or ordinary mail.

                                              s/LaShawn R. Saulsberry
                                              Case Manager




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                    Exhibit 8

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
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From: caaloa <caaloa@gmail.com>
Date: November 27, 2019 at 12:10:27 PM EST
To: "E. Powell Miller" <epm@millerlawpc.com>
Subject: Shane vs Blue Cross and Equifax


Dear Mr. Miller,
For saving the class $1.5 million and to resolve the Shane vs Blue Cross litigation is $400,000.00 until
further notice and that includes selling you my 1,400+ page template I use in filing the best objections
and appeals. This will prevent you from making material errors in future cases.
The Equifax objection will hit the docket on Monday, I happened to mention your firm's name in it, hope
you don't mind. I will generate publicity for the Equifax sellout, you will see what I mean when you read
the submission and coverage out state but no publicity in Michigan, it has already started last night. I
will create the same media coverage in MI when my Shane brief is filed when it will be sent to 200 radio,
TV and newspapers in addition the the national list. That brief will be better then the Equifax objection.
Allowing this case to drag on only makes it worse for everyone, not better. I will win either way, by slam
dunk.
Happy Thanksgiving,
Christopher Andrews
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                    Exhibit 9

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
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                                                                                                                                                                                                Objection
                                                                            Has a     Date       Fulfilled   Regulator          Attorneys          Total   Relief Per Class                     Basis
Last Name           First Name          City               State   Zip      Lawyer?   Rec'd      Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Stuart              Ludwig and Janice   Cary               NC       27511 N           8.1.19     Y                                   X                 X
Sutton              Edmund C.           Seattle            WA       98101 N           8.1.19     N.                                                   X
Case                Heather             Eugene             OR       97401 N           8.6.19     Y.                                                                X
May                 Joel Aaron          Vancouver          WA       98664 N           8.6.19     Y.                                                   X            X
Walthall            John                Scottsville        NY       14646 N           8.6.19     Y.                                                   X            X
Utter               Alexander           Hawthorne          CA       90250 N           8.7.19     Y                                                                 X
Rudo‐Hutt           Brian               Jersey City        NJ       07302 N           8.8.19     Y                                                                 X
Nitkin              Benjamin            Centennial         CO       80112 N           8.9.19     Y                                                                 X
Estes               Erin                Island Lake        IL       60042 N           8.9.19     Y                                                                 X
Kevin               Johnson             Lexington          MA       02421 N           8.9.19     Y                                                                 X
Talsania            Sonali              Miami              FL       33137 N           8.12.19    Y                                                                 X
Ritner              Robert P.           San Clemente       CA       92672 N           8.16.19    Y.                                                   X            X
Marshall            Qunay               Jacksonville       FL       32257 N           8.16.19    N                                                                 X
Patton              Deborah K.          LaVale             MD       21502 N           8.19.19    Y                                  X                              X
Coxhead             Helen A.            Clearwater         FL       33767 N           8.19.19    Y                                  X                              X
Kulathungam         Murali S.           Herndon            VA       20171 N           8.19.19    Y                                                    X            X
Speed               Nathan Charles      Lakeport           CA       95453 N           8.19.19    Y                                                    X
Crotts              Sarah J.            Greensboro         NC       27455 N           8.21.19    Y.                                                                X
Gilliland           Ronald L.           Alexandria         PA       16611 N           8.22.19    Y.                   X                               X            X
Hannum              David               Torrance           CA       90503             8.22.19    N                                                    X            X
Higgins             Hugh K.             Austin             TX       78759 N           8.23.19    Y.                                                                X
Stubbs              Donald Richard      Gambrills          MD       21054 N           8.29.19    Y                                                                 X
King                Chris               Las Vegas          NV       89112 N           9.3.19     Y                                            X                    X
Hyman               Joshua D.           Vancouver          WA       98661 N           9.3.19     Y                                                                 X
LeBlanc             Raymond             Aiea               HI       96701 N           9.3.19     Y                                                                 X
Huang               Shiyang             Topeka             KS       66614 N           9.3.19     Y                                  X                              X
Simon               David N.            Chicago            IL       60659 N           9.6.19     Y                                                                 X
Coleman             Edward A.           Springfield        NJ       07081 N           9.10.19    Y                                            X                    X
Gilbert             Daniel B.           Easthampton        MA       01027 N           9.12.19    Y                    X                       X                    X
Calcut              Devin Scott         Rathdrum           ID       83858 N           9.13.19    Y                                                    X            X
Kasle               Douglas             Capitola           CA       95010 N           9.16.19    Y                                                                 X
Mason               Cindy               Austin             TX       78736 N           9.16.19    Y                                  X                              X
Brown               David D.            Billerica          MA       01821 N           9.16.19    Y                                  X         X                    X                  X
Loeb                Roger Martin        Parker             CO       80134 N           9.17.19    Y                    X                                            X
Mitchell            Lauren              Portland           OR       97218 N           9.18.19    Y                    X
Benvenutti          Jamie               Lawrence           KS       66044 N           9.18.19    N.                   X                                                               X
Santiago            Deborah             Fernandina Beach   FL       32034 N           9.19.19    Y                                                                 X
Boothby             Madelaine           Seattle            WA       98118 N           9.19.19    N                                                                                    X
Zimberoff           Rafael              Seattle            WA       98118 N           9.19.19    N                                                                 X
Chang               Vivian              HoNlulu            HI       96815 N           9.19.19    Y                                                                 X



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                                                                                                                                                                                        Objection
                                                                   Has a     Date        Fulfilled   Regulator          Attorneys          Total   Relief Per Class                     Basis
Last Name           First Name    City               State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Neumann             Alex          Lithia Springs     GA       30122 N        9.20.19     Y                                                                 X
Dickey              Amy           St. Louis          MO       63123 N        9.20.19     Y                    X                       X                    X                  X
Chon                Andrew        Redondo Beach      CA       90278 N        9.20.19     Y                                                                 X
Bernstein           Anita         Brooklyn           NY       11230 N        9.20.19     Y                                                                 X
Segur               Anna          Boulder            CO       80301 N        9.20.19     Y                                            X                    X                  X
Hall                Catherine     Sunriver           OR       97707 N        9.20.19     Y                                                                 X
Justice             Charles C.    Easley             SC       29640 N        9.20.19     Y                                                                                    X
Peterson            Charles F.    Colorado Springs   CO       80903 N        9.20.19     Y                                                                 X                  X
Reed                Charles       Kansas City        MO       64106 N        9.20.19     Y                                                    X
Talero              Daniel        Boulder            CO       80305 N        9.20.19     Y                                                                 X
Terk                Daniel G.     Leominster         MA       01453 N        9.20.19     Y                                                                 X
Weintraub           David         Edison             NJ       08817 N        9.20.19     Y                                                                 X
Patterson           Dean          New York           NY       10009 N        9.20.19     Y                                            X       X            X
Hubbard             Deven         Las Vegas          NV       89141 N        9.20.19     Y                                                                 X
Bagnuto             Ellen M.      Broomfield         CO       80023 N        9.20.19     N                                                                 X
Comess              Keith A.      Portland           OR       97232 N        9.20.19     Y                                                                 X
DeRook              Fances A.     Portland           OR       97232 N        9.20.19     Y                                                                 X
Golnik              Gary          Newburyport        MA       01950 N        9.20.19     Y                    X             X                 X
Kushner             Gary B.       Kalamazoo          MI       49009 N        9.20.19     Y                                                                 X
Hall                Ivan S.       Sunriver           OR       97707 N        9.20.19     Y                                                                 X
Bridges             James R.      Everett            WA       98204 N        9.20.19     Y                    X                                            X                  X
Walters             Jeffrey       Atlanta            GA       30316 N        9.20.19     Y                    X                                            X
Cardador            Joe Manuel    Fairway            KS       66205 N        9.20.19     N                                                    X                               X
Balzar              John          Potomac            MD       20854 N        9.20.19     Y                                                    X
Fleischman          John          Cincinnati         OH       45208 N        9.20.19     Y                    X                                            X
Fleischman          Mary          Cincinnati         OH       45208 N        9.20.19     Y                    X                                            X
Hammer              Jonathan      Monroe             CT       06468 N        9.20.19     N                                                                 X
Goel                Karan         Seattle            WA       98121 N        9.20.19     N                                                                 X
ReyNlds             Kathleen      Camp Sherman       OR       97730 N        9.20.19     Y                                                                 X
Boyd                Laurel        Portland           OR       97206 N        9.20.19     Y                                                                 X
Hansen              Linda R.      Boulder            CO       80301 N        9.20.19     Y                    X                       X                    X
Rockcliff           Mara          Lancaster          PA       17603 N        9.20.19     Y                                                    X            X
Keats               Marilyn K.    Charlotte          NC       28216 N        9.20.19     Y                                                                 X
Barnett             Mary Leslie   Phoenix            AZ       85032 N        9.20.19     Y                                                    X            X
Pengra              Patricia R.   Pasadena           CA       91104 N        9.20.19     Y                                                                 X
Baggett             Patrick       Carrollton         TX       75006 N        9.20.19     N                                                                 X                  X
Schreiber           Paul          Brooklyn           NY       11217 N        9.20.19     Y                                  X                              X
Rooney              Peter W.      Washington         DC       20003 N        9.20.19     Y                    X
Naylor              Rachel        N. Layton          Utah     84040 N        9.20.19     Y                                                                 X
Hanis               Susan S.      Raleigh            NC       27612 N        9.20.19     Y                                                    X            X



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                                                                               Objections to In re Equifax, Inc. Settlement



                                                                                                                                                                                               Objection
                                                                          Has a     Date        Fulfilled   Regulator          Attorneys          Total   Relief Per Class                     Basis
Last Name           First Name        City                  State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Marcus              Theodore R.       Rancho Palos Verdes   CA       90275 N        9.20.19     Y                   X                                 X           X
Cushing             Thomas F.         Danville              CA       94526 N        9.20.19     Y                    X                                            X
Hagy                Timothy           Bristol               VA       24201 N        9.20.19     Y                                                                 X
Buckton             Todd              Glen Ellyn            IL       60137 N        9.20.19     Y                                                                 X
Benedict            Victoria M.       Atlanta               GA       30305 N        9.20.19     Y                    X                               X            X
Dimitrioski         Zlatko            Astoria               NY       11106 N        9.20.19     Y                                                                 X
Damewood            Michael           Littleton             CO       80127 N        9.20.19     Y                                                                 X
Judkins             John              Tualatin              OR       97062 N        9.20.19     Y                                                                 X
Judkins             Susan             Tualatin              OR       97062 N        9.20.19     Y                                                                 X
Alan                Sinclair          Santa Cruz            CA       95060 N        9.23.19     Y                                                    X            X
Manter              Alexander         Washington            DC       20005 N        9.23.19     Y                    X                               X            X
Zinser              Amy E.            New Canaan            CT       06840 N        9.23.19     Y                                                                 X
Zajac               Andrew            Lakewood              OH       44107 N        9.23.19     Y                    X                                            X
Hueter              Barbara           Lakewood              OH       44107 N        9.23.19     Y                    X                                            X
Horowitz            Arlene            Fort Lee              NJ       07024 N        9.23.19     Y                                                                 X                  X
Braid               Barbara L.        Laramie               WY       82070 N        9.23.19     Y                    X             X                              X
Korte               Barbara           Plymouth              MI       48170 N        9.23.19     Y                                                                 X                  X
Lynch               Barton            Arlington             VA       22202 N        9.23.19     Y                                                    X
Stasiowski          Beth Ann          Eldersburg            MD       02178 N        9.23.19     Y                    X                                            X                  X
Sheets              Billy             Newberg               OR       97132 N        9.23.19     Y                                  X                 X            X
Watson              Brian Michael     Kent                  WA       98042 N        9.23.19     Y                                                    X            X
Olsen‐Ecker         Britt             Baltimore             MD       21218 N        9.23.19     N                                            X                    X
Scarlett            Caleb Olin        Charleston            SC       29492 N        9.23.19     N                                                                 X
Engelsen            Candace           San Francisco         CA       94118 N        9.23.19     Y                                                                 X
SancimiN            Catherine         New York              NY       10014 N        9.23.19     Y                                                                 X                  X
Hoffmeyer           Charles C.        Grand Ledge           MI       48837 N        9.23.19     Y                                                    X            X
Moore               Charles           Arlington             VA       22201 N        9.23.19     Y                    X                               X            X
Luc                 Cheryl            West End              NC       27376 N        9.23.19     Y                                                    X            X
Wilson              Christiana Mara   Newport News          VA       23602 N        9.23.19     Y                                                    X            X
Gavlin              Christine         Western Springs       IL       60558 N        9.23.19     N                                                                 X
Anglin              Clarence J.       Metairie              LA       70002 N        9.23.19     N                                                                 X
Willis              Clare             San Francisco         CA       94114 N        9.23.19     Y                                                                 X
Willhelm            Heidi             Madison               WI       53704 N        9.23.19     Y                    X                       X                    X
Albrecht            David             West Hollywood        CA       90069 N        9.23.19     N                    X
Moncagatta          Claudia           Seattle               WA       98109 N        9.23.19     N                                                                 X                  X
Eisenstein          Corinne           Ocean Isle Beach      NC       28469 N        9.23.19     N                                                                 X
Boyd                Daniel            PlaN                  TX       75093 N        9.23.19     N                    X                                            X
Bratslavsky         David             San Juan              PR       00901 N        9.23.19     N                                                                                    X
Fulbright           David             Edwardsville          IL       62025 N        9.23.19     N                                                                                    X
Williams            David F.          Tulsa                 OK       74135 N        9.23.19     N                                                                 X



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                                                                                                                                                                                       Objection
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Last Name           First Name   City               State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Bartlett‐May        Donna        Spring Valley      CA       91978 N        9.23.19     Y.                                                    X
Bartlett‐May        Richard      Spring Valley      CA       91978 N        9.23.19     Y.                                                   X
Hay                 Donna        EnciN              CA       91436 N        9.23.19     Y                                                    X            X
Karo                Douglas      Durham             NH       03824 N        9.23.19     N                                  X                 X
Alexander           Eldridge     Ann Arbor          MI       48106 N        9.23.19     Y                                                                 X
Boden               Elizabeth    Riverside          IL       60546 N        9.23.19     Y                    X                                            X
Rodgers             Elizabeth    Boise              ID       83702 N        9.23.19     Y                                                                 X
Fredrickson         Esther       Albuquerque        NM       87105 N        9.23.19     Y                    X                                            X
DeLapp              Kenneth      Albuquerque        NM       87105 N        9.23.19     Y                    X                                            X
Goldfine            Evan         Larchmont          NY       10538 N        9.23.19     Y                                  X                              X
Martin              Faith        Kansas City        MO       64114 N        9.23.19     N                                                                 X
Spear               Gillian      Brooklyn           NY       11211 N        9.23.19     Y                                                                 X
Gurrola             Horacio      Oceanside          CA       92057 N        9.23.19     Y                                                                 X
Cheney              Jacqueline   Brooklyn           NY       11215 N        9.23.19     Y                    X                                            X
Door                Jacqueline   Crystal            MN       55428 N        9.23.19     N                    X                                            X                  X
Foster              James        Sioux Falls        SD       57104 N        9.23.19                                                                       X
Griffin             James        Milton             MA       02186 N        9.23.19     N                                                                 X                  X
Brown               Jeffrey      Yorba Linda        CA       92886 N        9.23.19     Y                    X                                            X
Jenkins             Jeffry A.    Wasilla            AK       99687 N        9.23.19     Y                                                    X            X
Ferri               Joseph J.    Long Valley        NJ       07853 N        9.23.19     Y                                                                 X
Swann               Judith       Ithaca             NY       14850 N        9.23.19     Y                                                                 X
Engel               Julie        Yuma               AZ       85365 N        9.23.19     Y                                                    X
Ferri               Karen T.     Long Valley        NJ       07853 N        9.23.19     Y                                                                 X
Peeler              Kate         Nrth Hills         CA       91343 N        9.23.19     Y                    X                                            X
Graham              Kevin        Sterling Heights   MI       48313 N        9.23.19     Y                    X                                            X
Murphy              Kevin        Clen Allen         VA       23059 N        9.23.19     Y                                                                 X
White               Kim          Los Angeles        CA       90042 N        9.23.19     Y                                                                 X
Isaacs              Larry        Asheville          NC       28804 N        9.23.19     N                                                                 X
Wall, Jr.           Leavell A.   Black Mountain     NC       28711 N        9.23.19     Y                                                                 X
Adams               Lee          Tallahassee        FL       32303 N        9.23.19     Y                    X             X                              X
Defliese            LeNre M.     Mercer Island      WA       98040 N        9.23.19     Y                                                                 X
Giles               Lewis        Dallas             TX       75208 N        9.23.19     Y                                                                 X
Isaacs              Linda        Asheville          NC       28804 N        9.23.19     N                                                                 X                  X
Moore               Linda        Desoto             TX       75115 N        9.23.19     Y                                                                 X
Spiegel             Lynda Rich   Forest Hills       NY       11375 N        9.23.19     Y                                                                 X
Mills‐Thysen        Mark         Sebastopol         CA       95472 N        9.23.19     Y                    X                                            X
Hutton              Mary         Kirkland           WA       98034 N        9.23.19     N                                                                 X
Wolff               Megan        Brooklyn           NY       11215 N        9.23.19     N                                                                 X
Walker              Melissa      Spartanburg        SC       29302 N        9.23.19     Y                    X                                            X
Hussain             Mohammed     Cherry Hill        NJ       08003 N        9.23.19     Y                                                                 X



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Last Name           First Name   City                   State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Przybylo            Nathan       Neenah                 WI       54956 N        9.23.19     Y                                                     X           X                   X
Carlberg            Paul         Aurora                 CO       80017 N        9.23.19     Y                                                    X
Hoyer               Paul         Philadelphia           PA       19103 N        9.23.19     N                                  X                              X
Bellin              Peter        Oxnard                 CA       93035 N        9.23.19     Y                                                                 X
Maureemootoo        Peter        Roseville              CA       95661 N        9.23.19     N                                                                 X
Lineberry           Schreiber    Franklin               KY       42134 N        9.23.19     N                                  X                              X
Grove, Jr.          Ralph F.     Nrfolk                 VA       23510 N        9.23.19     Y                                                                 X
Kirsch              Rebecca      Culver City            CA       90232 N        9.23.19     Y                    X                                            X
Zirker, IV          Robert H.    Bowling Green          OH       43402 N        9.23.19     Y                                                                 X
Mitchell            Roger        Carrboro               NC       27510 N        9.23.19     Y                                                                 X
Zamoyta             Ruth         Millburn               NJ       07041 N        9.23.19     Y                                                                 X
Calvert             Sam          St. Cloud              MN       56303 N        9.23.19     Y                                                                 X
Skillman Jr.        Richard      Vashon                 WA       98070 N        9.23.19     Y                                                                 X                  X
ZolN                Sherene      Vashon                 WA       98070 N        9.23.19     Y                                                                 X                  X
Devol               Steven       Los Angeles            CA       90013 N        9.23.19     Y                    X                                            X
Wasserman           Steven       Charlottesville        VA       22903 N        9.23.19     Y                    X                                            X
Odem                Steve        Lakeland               FL       33810 N        9.23.19     N                    X                                            X
Odem                Vicky        Lakeland               FL       33810 N        9.23.19     N                    X                                            X
Odem                Anna         Lakeland               FL       33810 N        9.23.19     N                    X                                            X
Odem                Amy          Lakeland               FL       33810 N        9.23.19     N                    X                                            X
Hamilton            Sybille      Wauwatosa              WI       53222 N        9.23.19     Y                                                                 X
Dowd                Tara M.      Bronx                  NY       10451 N        9.23.19     Y                                                                 X
Snell               Thomas M.    New York               NY       10021 N        9.23.19     Y                                                                 X
Boutin              Timothy      Chelmsford             MA       01824 N        9.23.19     Y                    X                               X
Brophy              Timothy      Jensen Beach           FL       34957 N        9.23.19     Y                                                                 X
Minter              Timothy J.   Fort George G. Meade   MD       20755 N        9.23.19     Y                                                                 X
Wagner              Tristan      Portland               OR       97227 N        9.23.19     N                                                    X
Reese               Vail         San Francisco          CA       94114 N        9.23.19     Y                                                                 X
Freeman             Varel D.     Hopkinton              NH       03229 N        9.23.19     Y                                                    X            X
Krapivin            Viktor       Stanford               CA       94305 N        9.23.19     Y                                                    X            X                  X
Bell                William      Signal Mountain        TN       37377 N        9.23.19     Y                                                                 X
Mitchell            William      South Orange           NJ       07079 N        9.23.19     Y                                                                 X
Robinson, Jr.       William F.   Englewood              CO       80111 N        9.23.19     Y                    X                                            X
Shonk               William      Pittsburgh             PA       15206 N        9.23.19     Y                    X                       X                    X
Liska               John         Austin                 TX       78704 N        9.23.19     N                                                                 X
Crowell, III        John R.      Tampa                  FL       33647 N        9.23.19     N                                                    X
Pena                Katherine    Coral Gables           FL       33134 N        9.23.19     Y                                                                 X
Miller              Nathan       Grants Pass            OR       97526 N        9.23.19     Y                                                                 X
Foster              Sallie       Philadelphia           PA       19143 N        9.23.19     Y                                                                 X
McConnell           Sari         Burlingame             CA       94010 N        9.23.19     Y                                                                 X



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Last Name           First Name    City               State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Sucov               Andrew        Cranston           RI       02905 N        9.24.19     Y                                                                 X
Douglas             Austin        Columbus           OH       43212 N        9.24.19     Y                                                    X
Peter               Brian         Chevy Chase        MD       20815 N        9.24.19     Y                                                    X
Ugwumba             Chidozie      Denver             CO       80204 N        9.24.19     Y                                                                 X
Katz                David         Portland           OR       97202 N        9.24.19     Y                    X                                            X
McCall              Dorothy       Charlottesville    VA       22903 N        9.24.19     Y                                                                 X
Kalies              Elizabeth     Chapel Hill        NC       27515 N        9.24.19     N                                                                 X
Carrow              James         Chicago            IL       60610 N        9.24.19     Y                                                                 X                  X
Tyvand              James         Sunriver           OR       97707 N        9.24.19     Y                                                                 X
Mansfield           Jill          Chesapeake         VA       23322 N        9.24.19     Y                                                                 X
Wong                Kenneth       Alhambra           CA       91803 N        9.24.19     Y                                                                 X
Schroeder           Leigh K.      Seattle            WA       98146 N        9.24.19     Y                    X                                            X
Turnquist           Linda         Davis              CA       95616 N        9.24.19     Y                                                                 X
Tarczy              Paul          Davis              CA       95616 N        9.24.19     Y                                                                 X
Rogers              Lisa          Mountain View      CA       94043 N        9.24.19     Y                    X                                            X
Rogers              William       Mountain View      CA       94043 N        9.24.19     Y                    X                                            X
McCall              Madison       Charlottesville    VA       22903 N        9.24.19     Y                                                                 X
Mansfield           Mark          Chesapeake         VA       23322 N        9.24.19     Y                    X                                            X
Kaplan              Nancy         Asbury Park        NJ       07712 N        9.24.19     Y                                                                 X
Mansfield           Neal L.       Chesapeake         VA       23322 N        9.24. 19    Y                                                                 X
Scrogham            Ronald        Irving             TX       07506 N        9.24.19     N                                                                 X
Cox                 Samuel        Signal Mountain    TN       37377 N        9.24.19     Y                                                                 X
Rogers              Stephen M.    Bloomfield         CT       06002 N        9.24.19     Y                                                                 X
Frank               Edward W.     Incline Village    NV       89451 N        9.24.19     Y                                                                 X
Bonney              William       Watertown          MA       02472 N        9.24.19     N                    X
Ware                Lewis         Montgomery         AL       36106 N        9.24.19     N                    X                                            X
Dixon III           Francis J.    Middle Grove       NY       12850 N        9.24.19     N                                                    X
Jacobson            Lawrence M.   Portland           OR       97219 N        9.25.19     N                                                                 X
Baumbusch           Millie        Atlanta            GA       30309 N        9.25.19     Y                                                                 X
Frank               Patrick       Venice             CA       90291 N        9.25.19     N                    X                               X            X                  X
Masie               Catherine     Saratoga Springs   NY       12866 N        9.26.19     Y                                                                 X
Horstmann           Cay           Walnut             CA       91789 N        9.26.19     Y                                                                 X
Huang               Daniel        New York           NY       10017 N        9.26.19     Y                                                                 X
Warihay             Doreen        Cape Coral         FL       33904 N        9.26.19     Y                                                                 X                  X
Bauer               Farrah        Escondido          CA       92027 N        9.26.19     Y                                                                 X
Kielian             Gregory       Erie               CO       80516 N        9.26.19     Y                                                                 X
Escajeda            Hilary G.     Denver             CO       80230 N        9.26.19     Y                    X                                            X
Meier               Jane E.       Bonita             CA       91902 N        9.26.19     Y                                                                 X
Bauer               Jeffrey A.    Escondido          CA       92027 N        9.26.19     Y                                                                 X
Boggan              Joel C.       Durham             NC       27705 N        9.26.19     Y                                                    X            X



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Kocak               Jordan        Minneapolis         MN         55418 N        9.26.19     Y                                                                 X
Donaldson           Krista        San Francisco       CA         94107 N        9.26.19     Y                                                                 X
McLaughlin III      Leo J.        Irvington           NY         10533 N        9.26.19     Y                                                                 X
Kirsch              Nah           Nw York             NY         10010 N        9.26.19     Y                                                                 X
Offenbach           Seth          Bronx               NY         10471 N        9.26.19     Y                                                                 X
Elliott             Stephen F.    Avery               CA         95224 N        9.26.19     N                                                                 X
Jackson             Theodore S.   Chicago             IL         60626 N        9.26.19     Y                    X                                            X
McCall              William A.    Phoenix             AZ         85020 N        9.26.19     Y                                                    X            X
Broughton           Deanne        Brush Prairie       WA         98606 N        9.26.19     N                                                    X
Carpenter           Becky         Kissimmee           FL         34758 N        9.27.19     Y                                                    X            X
Richmond            Bert O.       Athens              GA         30606 N        9.27.19     N                                                                 X
Richmond            Kay           Athens              GA         30606 N        9.27.19     N                                                                 X
Villarreal          Christian     Murrieta            CA         92562 N        9.27.19     Y                    X                                            X
Lindgren            Drew          Tacoma              WA         98402 N        9.27.19                                                          X
Jensen              Eric          Seattle             WA         98122 N        9.27.19     Y                    X                               X            X                  X
Robinson            Eric          Portland            OR         97239 N        9.27.19     Y                                                    X            X
Mannacio            Eugene R.     Nvato               CA         94949 N        9.27.19     Y                                  X         X       X            X                  X
Brainin             Gary          San Jose            CA         95117 N        9.27.19     Y                                                    X            X
Uselmann            Gregory       Hartland            WI         53029 N        9.27.19     Y                                                    X            X
Ginzberg            Steven        New York            NY         10023 N        9.27.19     N                                                    X            X
Manian              Susan         San Mateo           CA         94404 N        9.27.19     Y                    X                                            X
Last                Benjamin      Seattle             WA         98107 N        9.30.19     Y                                                    X            X
Rottman             Benjamin      Pittsburgh          PA         15201 N        9.30.19     Y                                                                 X
Slayton             Cheryl        Alexandria          VA         22305 N        9.30.19     N                                                                 X
Slayton             Thomas        Alexandria          VA         22305 N        9.30.19     N                                                                 X
Pena                Christian     Coral Gables        FL         33134 N        9.30.19     Y                                                                 X
Helmsworth          Christopher   Portland            OR         97223 N        9.30.19     Y                                                                 X                  X
Law                 David E.      San Diego           CA         92122 N        9.30.19     Y                                                                 X
Wimmer              Dean          Telford             PA         18969 N        9.30.19     N                                                                 X
Lewis               Deborah E.    Charlottesville     VA         22902 N        9.30.19     Y                    X                                            X                  X
Chabot              Douglas       Bozeman             MT         59715 N        9.30.19     Y                                                                 X                  X
Pomrehn             Gregory       Seattle             WA         98108 N        9.30.19     Y                                                                 X
Neal                Harrison      Springfield         VA         22153 N        9.30.19     Y                                                                 X
Weedon Jr.          Milton D.     Tyron               NC         28782 N        9.30.19     Y                                                                 X
Weedon              Jacquelyn     Tyron               NC         28782 N        9.30.19     Y                                                                 X
Aylsworth           Jason         Maricopa            AZ         85139 N        9.30.19     Y                                                                 X
Tapp                Jason E.      76530 Baden‐Baden   Germany         N         9.30.19     Y                                                                 X
Peterson            Jean          Middlebury          CT         06762 N        9.30.19     Y                    X                       X                    X
Peterson            Walter        Middlebury          CT         06762 N        9.30.19     Y                    X                       X                    X
Fischer             John G.       Mill Valley         CA         94941 N        9.30.19     Y                                                                 X



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Stevens             John          Taylor               MI       48180 N        9.30.19     Y                                                                 X
Theodore            Julia K.      Ocean City           NJ       08226 N        9.30.19     Y                                                                 X
Schroeder           Kathleen      Bend                 OR       97702 N        9.30.19     Y                    X                                            X
Oechslin            Kristin       Charlotte            NC       28205 N        9.30.19     Y                    X                               X            X
Peters              Margaret E.   Los Angeles          CA       90066 N        9.30.19     Y                    X                                            X
Fong                Nathan        Bel Air              MD       21015 N        9.30.19     Y                                                                 X
Brummel             Richard       Kansas City          MO       64113 N        9.30.19     Y                                                    X            X
Fischer             Steven        Evanston             IL       60202 N        9.30.19     Y                                                    X
Theodore            Steven C.     Ocean City           NJ       08226 N        9.30.19     Y                                                                 X
Bhat                Vijay         San Francisco        CA       94131 N        9.30.19     Y                                                    X            X
Szymanski           Witold        New York             NY       10019 N        9.30.19     Y                                  X                 X
BruN                George        Manchester           NH       03101 N        9.30.19     N                                                    X
Moscato, Ph.D.      Beth          Indianapolis         IN       46220 N        9.30.19     Y                                                    X
Lang                Ellen F.      Glendale             CO       80246 N        10.1.19     Y                    X                                            X
Levinson            Nah           Nrth Abington Twp.   PA       18414 N        10.1.19     Y                    X                               X
Nwyj                Paul          Wynnewood            PA       19096 N        10.1.19     Y                                                    X            X
Freeman             Sallie        Richmond             VA       23225 N        10.1.19     Y                                                                 X
Miller              David         Portland             OR       97206 N        10.2.19     Y                                                                 X
Miller              Sonja         Portland             OR       97206 N        10.2.19     Y                                                                 X
Williams            Lisa D.       Newport              OR       97365 N        10.2.19     Y                    X                                            X
Tisdale             Sallie        Portland             OR       97213 N        10.2.19     Y                    X                                            X
Harding‐Estes       Elizabeth     Vestavia Hills       AL       35216 N        10.2.19     N.                                                                X
Rak                 Brian         Piscataway           NJ       08854 N        10.3.19     Y                    X                                            X
Rohrbeck            Cynthia       Washington           DC       20008 N        10.3.19     Y                                                    X                               X
Goering             David K.      Spokane Valley       WA       99206 N        10.3.19     Y                                  X                 X            X
Peterson            Sonja L.      Spokane Valley       WA       99206 N        10.3.19     Y                                  X                 X            X
Tam, Esq.           Janice        San Francisco        CA       94110 N        10.3.19     Y                    X                               X            X
Kratovil            Jessica       Piscataway           NJ       08854 N        10.3.19     Y                    X                               X
Berry               Ken           San DIego            CA       92128 N        10.3.19     N                    X                       X                    X                  X
Heywood             Paul          Boston               MA       02136 N        10.3.19     Y                                                                 X
Bobb                Stuart        Loveland             CO       80538 N        10.3.19     Y                                  X                 X            X
Nrris               Carol P.      Glade Valley         NC       28627 N        10.4.19     Y                                                                 X
Van Akkeren         James P.      Sheboygan            WI       53081 N        10.4.19     Y                                                                 X
Szum                John W.       Dayton               OH       45433 N        10.4.19     Y                                                    X            X
Lederman            Vicki         Summit               NJ       07901 N        10.4.19     Y                                  X                 X            X
McCormick           Barbara A.    Montclair            NJ       07043 N        10.7.19     Y                                                                 X
Hisamune            Chris         Santa Monica         CA       90403 N        10.7.19     Y                                                    X            X
Biehl               Christie      St. Augustine        FL       32084 N        10.7.19     Y                                                    X
Gedacht             Daniel C.     DPO, AP              Korea    96209 N        10.7.19     Y                                                                 X
Bony                David         Overland Park        KS       66204 Y        10.7.19     Y                                                    X            X



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Morris              James        San Mateo              CA       94402 N        10.7.19     Y                                            X        X           X
Biehl               Jeffrey      St. Augustine          FL       32084 N        10.7.19     Y                                                    X
McCormick           Kevin        Montclair              NJ       07043 N        10.7.19     Y                                                                 X
Nguyen              Ly           San Francisco          CA       94117 N        10.7.19     Y                    X                               X            X
LaBelle             Marcella     Manchester             CN       06040 N        10.7.19     Y                    X                               X            X
McLane              Margaret     Belleville             NJ       07109 N        10.7.19     Y                    X                                            X
Bauer               Michael      San Jose               CA       95134 N        10.7.19     Y                                                                 X
Domaratz            Michael A.   Fairport               NY       14450 N        10.7.19     Y                    X                                            X
Wise                Rachel       Nrth Wales             PA       19454 N        10.7.19     Y                                                                 X                  X
Farrow              Rik          Sedona                 AZ       86336 N        10.7.19     Y                                                                 X
Williamson          Ronald D.    Endwell                NY       13760 N        10.7.19     Y                                  X                 X            X
Klotz               Steven S.    Hollywood              FL       33020 N        10.7.19     Y                    X                               X            X                  X
Einstein            Eric         New York               NY       10003 N        10.8.19     Y                    X                                            X
Benton              James C.     Falls Church           VA       22046 N        10.8.19     Y                    X             X                 X            X                  X
Ogden               Simon        New York               NY       10010 N        10.8.19     Y                                                                 X
Fryberger           Grace        Tucson                 AZ       85716 N        10.10.19    N.                                 X                              X                  X
Franken             Barbara      Montgomery             TX       77316 N        10.11.19    Y                                                                 X
Kukuk               Bradley      Alexandria             VA       22312 N        10.11.19    Y                                                                 X                  X
Franken             Govardus     Alexandria             VA       22312 N        10.11.19    Y                                                                 X
Wehner              Karen A.     Sarasota               FL       34236 N        10.11.19    Y                                                                 X
Sanchez de Boado    Alexi        Hyattsville            MD       20782 N        10.15.19    Y                                                    X            X
Seshadri            Amita        San Francisco          CA       94117 N        10.15.19    Y                    X                                            X
Peck                Deana S.     Phoenix                AZ       85016 N        10.15.19    Y                                                                 X
Love                Gary         Seattle                WA       98115 N        10.15.19    Y                                                    X
Smith               Jack L.      Marana                 AZ       85658 N        10.15.19    Y                                                                 X
Burns               James M.     Roopville              GA       30170 N        10.15.19    Y                                                                 X
Felderman           Reed         Omaha                  NE       68124 N        10.15.19    Y                                                                 X
Krasny, M.D.        Robert M.    Santa Monica           CA       90402 N        10.15.19    Y                                                                 X
Benedict            Sarah        Princeton              NJ       08544 N        10.15.19    Y                                                    X            X
Johnson             Victoria     Somerville             MA       02143 N        10.15.19    Y
Smit                Christine    Bowie                  MD       20720 N        10.17.19    N                    X                                            X
James               Alan M.      Lititz                 PA       17543 N        10.18.19    N.                   X                                            X                  X
Fulmore, Jr.        Booker       Harrisburg             PA       17111 N        10.18.19    N.                                           X                                       X
Haskell             David G.     Boulder                CO       80304 N        10.18.19    Y                    X                               X            X
Korn                Ian          Brooklyn               NY       11213 N        10.18.19    Y                                                                 X
Sturges             James C.     Somerville, MA 02144   MA       02144 N        10.21.19    Y                    X             X                              X
Potter              Joey         Windsor Heights        IA       50324 N        10.21.19    Y                                                                 X
Piper               Michael H.   Marblehead             MA       01945 N        10.21.19    Y                                                                 X
Doyle               Nra          Studio City            CA       91604 N        10.21.19    Y                    X                                            X
Berg                Amy          Providence             RI       02906 N        10.22.19    Y                    X                                            X                  X



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Last Name           First Name    City            State   Zip   Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Britton             Emma          Dayton          OH       45433 N        10.22.19    Y                                                                 X
Judge               J. Peter      Williston       VT       05495 N        10.22.19    Y                                                                 X
Meidinger           Paul          Lodi            CA       95241 N        10.22.19    Y                    X                                            X                  X
Ramirez‐Coleman     Rosa          Lodi            CA       95242 N        10.22.19    Y                    X                                            X                  X
Gamboro             Jill          Glendale        CA       91202 N        10.23.19    Y                                                    X            X
Fulton              Nathan        Cambridge       MA       02141 N        10.24.19    N                                                    X            X
Beisel              Monica        San Angelo      TX       76901 N        10.24.19    Y                                                                 X
Fields              Alison        Washington      DC       20008 N        10.24.19    N                    X                                            X
Tucker              Ezra L.       Portland        OR       97239 N        10.25.19    Y                                                    X            X
Wittman             David M.      Davis           CA       95616 N        10.28.19    Y                                                    X
Yip                 Filip         New York        NY       10024 N        10.28.19    Y                    X                               X
Mindling            James         Weston          CT       06883 N        10.28.19    Y                                                    X            X
Dolence             Jennifer      Centennial      CO       80122 N        10.28.19    Y                                                    X            X
Falcone             Kate          Weston          CT       06883 N        10.28.19    Y                                                    X            X
Ernst               Leslie        San Francisco   CA       94109 N        10.28.19    Y                                                    X            X
Lloyd               Lester        Duxbury         MA       02332 N        10.28.19    Y                    X                                            X
Cherepko            Michael       Brooklyn        NY       11211 N        10.28.19    Y
Dolence             Robert        Centennial      CO       80122 N        10.28.19    Y                                                    X            X
Filippelli          Roberto       Largo           FL       33770 N        10.28.19    Y                                  X                              X
Laudato             Matthew       Dulles          VA       20189 N        10.30.19    Y                                                    X            X
Hart                Jennifer      Chicago         IL       60615 N        10.31.19    Y                                                    X            X                  X
Witt                Brian         Berkeley        CA       94703 N        11.2.19     Y                    X                               X            X
Wisler              Dale J.       Atkinson        NH       03811 N        11.4.19     Y                                                                 X
Capron              Lori M.       Chandler        AZ       85248 N        11.4.19     N                                                                 X
Thomas              Randall S.    Nashville       TN       37203 N        11.4.19     Y                    X             X                                                 X
Capron              Ronald D.     Chandler        AZ       85248 N        11.4.19     N                                                                 X
Kurtz               Susan         Conesus         NY       14435 N        11.4.19     Y                    X                               X
Holbrook            Terry         Conesus         NY       14435 N        11.4.19     Y                    X                               X
Vaughan             Anne          Berwick         ME       03901 N        11.4.19     N
Binder              Brendon       Saginaw         MI       48603 N        11.5.19     Y                                                    X
Hanneke             Mandi Jo      Amherst         MA       01002 N        11.7.19     Y                    X                               X            X
Davis               Ryan T.       New York        NY       10040 N        11.7.19     Y                    X                               X            X
Vore                Spencer       Longmont        CO       80501 N        11.7.19     Y                                                    X            X
Namovic             John J.       Sanibel         FL       33957 N        11.8.19     Y                                                                 X
Namovic             Jonathan W.   Sanibel         FL       33957 N        11.8.19     Y                                                                 X
Namovic             Leanna M.     Sanibel         FL       33957 N        11.8.19     Y                                                                 X
Barbera             Sharon        Scottsdale      AZ       85260 N        11.8.19     Y                                                    X            X
ReyNso              Benjamin      San Diego       CA       92109 N        11.12.19    N                                                    X            X
Tuttle              Trinity       San Diego       CA       92109 N        11.12.19    N                                                    X            X
Levin               Joshua        Brooklyn        NY       11238 N        11.12.19    Y                    X                                            X                  X



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MariN               Michael       New York           NY       10013 N        11.12.19    Y                   X                                             X
Basconi             Pamela W.     Versailles         KY       40383 N        11.12.19    Y                                                    X            X                  X
Schumacher          Richard       Richardson         TX       75083 N        11.12.19    Y                                                    X
Tittman             Carol         Danbury            CT       06811 N        11.12.19    Y                                                                 X
Boehm               Deborah       Richfield          MN       55323 N        11.15.19    N                                                                 X
Cardoza             Justin        ReN                NV       89523 N        11.15.19    Y                    X                               X            X
Brown               Michael L.    Galena             OH       43021 N        11.15.19    Y                                                                 X
Cantrell            Michael       Athens             GA       30606 N        11.15.19    Y                                                    X            X                  X
Filseth             Paula         Los Gatos          CA       95033 N        11.15.19    Y                    X             X                 X            X                  X
Helfand             Steven        Pembroke Pines     FL       33027 N        11.18.19    Y                                  X         X
Shorf               Clifford      The Colony         TX       75056 N        11.18.19    Y                                                                 X
Cochran             George W.     Streetsboro        OH       44241 N        11.18.19    Y                                  X                              X                  X
Nrth                Matthew C.    Hampton            VA       23669 N        11.18.19    Y                                                    X            X
Richland            Shea R.       Prescott           AZ       86303 N        11.18.19    Y                                                                 X                  X
Davis               John W.       Tampa              FL       33607 N        11.19.19    Y                                  X                                                 X
Attig               David         Savoy              IL       61874 N        11.19.19    Y                    X                                            X
Watkins             David R.      Salt Lake City     UT       84117 Y        11.19.19    Y                                  X                                                 X
Banks               Gary          Morrisville        VT       05661 N        11.19.19    N                    X                       X                    X
Banks               Nancy         Morrisville        VT       05661 N        11.19.19    N                    X                       X                    X
Frank               Theodore      Washinton          DC       20006 Y        11.19.19    Y                                  X                                                 X
Holyoak             Melissa       Washinton          DC       20006 Y        11.19.19    Y                                  X                                                 X
Kline               Nrma L.       Meadville          PA       16335 N        11.19.19    Y                                            X       X            X                  X
West                Mikell        Corpus Christi     TX       78413 Y        11.19.19    Y                                  X         X                    X                  X
Srikanth            Kannan        Columbus           OH       43202 N        11.20.19    Y                                                    X            X
Lowell              Austin T.     West Lafayette     IN       47906 N        11.21.19    Y                                                                 X                  X
Wolfe               Charles A.    PlaN               TX       75075 N        11.21.19    Y                                                                 X
Komen               Daniel        San Francisco      CA       94117 N        11.21.19    Y                    X                                            X
Semsak              Daniel A.     Bellingham         WA       98229 N        11.21.19    Y                                                                 X
Struse              Heidi         Albuquerque        NM       87016 N        11.21.19    Y                                                                 X
Myers               John F.       Clarkston          GA       30021 N        11.21.19    Y                    X                                            X                  X
Loo                 Jonathan D.   Germantwon         MD       20874 N        11.21.19    Y                    X                       X                    X
Boone               Stephen       Long Beach         NJ       07740 N        11.21.19    Y                                                                 X
Schomburg           Susan         Chicago            IL       60601 N        11.21.19    Y                    X                               X            X
Shaffner            Thomas        Highlands          NC       28741 N        11.21.19    Y                    X                       X                    X
Kaneko              Tomoe         Malden             MA       02148 N        11.21.19    Y                                                    X            X
Deschaux            Zachary       Malden             MA       02148 N        11.21.19    Y                                                    X            X
Fidler              Zackory       Commercial Point   OH       43116 N        11.21.19    Y                                                                 X
Lang II             Charles       Chicago            IL       60619 N        11.22.19    N                                                                 X
Andrews             Christopher   Livonia            MI       48153 N        11.22.19    N                    X             X         X       X            X                  X
Lewis               Christopher   Weston             CT       06883 N        11.22.19    Y                                                    X



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Grenier              John         Naperville         IL          60564 N        11.22.19    N                                                     X
Lu                   Kathleen     Berkeley           CA          94703 N        11.22.19    Y                                                                 X
Brough               Sandra       Greensboro         MD          21639 N        11.22.19    Y                                                                 X
Befort               Arlinda      Oakland            CA          94611 N        11.22.19    Y                                            X                    X
Scheffler            Troy         Merrifield         MN          56465 N        11.25.19    Y                                  X         X       X            X                  X
Anecito              Scott        Chandler           AZ          85248 N        11.25.19    N                                                                 X
Sarnie               Christian    Brighton           MA          02135 N        11.25.19    N                                            X                    X                  X
Walton               Jeffrey      Pasadena           MD          21122 N        11.25.19    N                                                                 X                  X
Webster              Kimberly     New Paltz          NY          12561 N        11.25.19    Y                                  X                                                 X
Searles              Queen        Burbank            CA          91510 N        11.25.19    N                                                                 X                  X
Goswami              Subrata      Milpitas           CA          95035 N        11.26.19    Y                                                    X                               X
Sprowles             Mary         Fair Oaks          CA      ?        N         11.22.19    N                                                                 X
O'Neil               David        Garner             NC      ?        N         11.22.19    N                                                    X
Farrell              Theresa      Highland           CA      ?        N         11.22.19    N                                                    X            X
Trogdon‐Livingston   Loretta      Gastonia           NC      ?        N         11.22.19    N                                                                 X
Koehn                Beth         Milwaukee          WI      ?        N         11.22.19    N                                                                 X
Martin               Daniel       San Antonio        TX      ?        N         11.22.19    N                                                                 X
Gurney               Michael      Tustin             CA      ?        N         11.22.19    N                                                                 X
Bendiksen            Lauren       Allen              TX      ?        N         11.22.19    N                                                                 X
Shapiro              Ralph F.     ?                  ?       ?        N         11.22.19    N                                                                 X
Walton               Deane        Nrownsville        TN      ?        N         11.22.19    N                                                                 X
Hasley‐Eanes         Kourtney     Graham             TX          76450 N        11.22.19    N                                                                 X
Baumbach             Robert       Surprise           AZ          85374 N        11.22.19    N                                                                 X
Lindemann            Jennifer     West Fargo         ND               N         11.22.19    N                                                                 X
Ashley               Wendy        Newburgh           IN          47630 N        11.22.19    N                                                                 X                  X
Hartley              David        Gig Harbor         WA          98335 N        11.22.19    N                                                    X
Clifton              Latesha R.   Chicago            IL          60640 N        11.22.19    N                                                                 X
Cordwell             Robert       Menlo Park         CA          94025 N        11.22.19    N                                                                 X
Friend               Brenda       Jacksonville       MI          49201 N        11.22.19    N                                                                                                   X
Feeney               Patrick      Chicago            IL          60657 N        11.22.19    N                                                    X
Smith                Melissa      Sugar Hill         GA          30518 N        11.22.19    N                                                    X
Fowler               Gloria       South Holland      IL      ?        N         11.22.19    N                                                                                                   X
Krogman              Sandra       ?                  ?       ?        N         11.22.19    N                                                                                    X              X
Hill                 Sarah        Boynton Beach      FL          33436 N        11.22.19    N                                                                                                   X
Maynard              Rickey       Clinton Township   MI      ?        N         11.22.19    N                                                                 X                  X              X
Jenson               Ashley       Wescosville        PA          18106 N        11.22.19    N                    X                                            X
Hill                 Ashley       Archer             FL          32618 N        11.22.19    N                                                    X            X                                 X
Hauk                 Randall      Seattle            WA      ?        N         11.22.19    N                                                    X                                              X
Hagey                Mary Jo      Gladwin            MI      ?        N         11.22.19    N                                                    X
Casello              Jon          Vail               AZ      ?        N         11.22.19    N                                                    X



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Saltzman            Zachary      New York         NY          10023 N        11.22.19    N                                                                                     X              X
Rhyne               Brenda       Big Spring       TX      ?        N         11.22.19    N                                                                 X                  X              X
Thompson            Valorie      Church Hill      TN          37642 N        11.22.19    N                                                    X            X
Cunneen             Jeanna       Villa Park       IL      ?        N         11.22.19    N                                                                                                   X
Scroggins           JoAnna       Borger           TX          79007 N        11.22.19    N                                                                 X
JovaNvic            Dejan        Brooklyn         NY          11217 N        11.22.19    N                                                                                    X              X
WIlson              Matthew      Bandy            VA      ?        N         11.22.19    N                                                    X            X
Mitchell            Linda`       Valparaiso       IN      ?        N         11.22.19    N                                                                 X
Gilliam             Joanna       Kinsman          OH      ?        N         11.22.19    N                                                                 X
Golden              Kara         Wyandotte        MI          48192 N        11.22.19    N                                                                 X
ChagNn              Armand       Orlando          FL      ?        N         11.22.19    N                                                                                                   X
Compton             Cheryl       Trenton          OH          45067 N        11.22.19    N                    X                                            X
Carney              Roxanne      Sebastian        FL          32958 N        11.22.19    N                                                                 X
Coulter             Crystal      Clay             WV          25043 N        11.22.19    N                                                                 X
Martin              Jeremy       Joplin           MO          64801 N        11.22.19    N                                                                                                   X
Carla               Irmen        Springfield      MO          65804 N        11.22.19    N                                                                                                   X
Marquardt           Jonathan     Miami Lakes      FL      ?        N         11.22.19    N                                                    X            X
Diaz                Pedro        Lompoc           CA          93436 N        11.22.19    N                                                    X            X
Spicher             Kristina     Port Orchard     WA          98367 N        11.22.19    N                                                                 X
Hsu                 Chao Hsin    Frisco           TX          75033 N        11.22.19    N                                                                                                   X
Bouchard            Dina         Johnston         RI      ?        N         11.22.19    N                    X
Chambers            Rachael      Dyer             IN          46311 N        11.22.19    N                                                                 X                  X              X
DeSmit              Erin         Watauga          TX      ?        N         11.22.19    N                    X                                            X
Wendt               Alan         Tucson           AZ          85712 N        11.22.19    N                                                                 X
Meegan              Rebecca      Markham          IL          60428 N        11.22.19    N                                                                 X
ZeNNs               Leonidas     Orleans          VT          05860 N        11.22.19    N                                                                                    X              X
Casey               Kathy        Siloam Springs   AR      ?        N         11.22.19    N                                                                 X
Truesdell           Lydia        Niagra Falls     NY          14304 N        11.22.19    N                    X                               X            X
Wilcoxon            Bruce        Gilbert          AZ          85295 N        11.22.19    N                                                    X            X
Li                  Rosa         Durham           NC      ?        N         11.22.19    N                                                    X
Hardy               Carissa      Dayton           OH          45439 N        11.22.19    N                                                                 X
Bischop             Lorna        Yuba City        CA      ?        N         11.22.19    N                                                    X
Smith               Yvonne       Fremont          OH          43420 N        11.22.19    N                                                    X
Ciccaglione         Adele        Kings Park       NY      ?        N         11.22.19    N                                                    X
Dunaway             Daniel       Fond du lac      WI          54935 N        11.22.19    N                                                    X            X
Mamone              James        Bridgeton        NJ      ?        N         11.22.19    N                                                                 X
Richardson          Marcus       Mobile           AL          36613 N        11.22.19    N                    X                                            X
Stephens            Lynda        Charlotte        NC          28270 N        11.22.19    N                                                    X            X
Worden              Robert       Clearwater       FL          33763 N        11.22.19    N                                                    X
Clayton             Laurence     Littleton        MA          01460 N        11.22.19    N                    X                                            X                  X



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Hawker              Jordan         Hayward         CA          94541 N        11.22.19    N                                                     X           X                   X
Aaron               Matthew        Kensington      MD      ?        N         11.22.19    N                    X                                            X                  X
Smith               Donald         Philadelphia    PA          19136 N        11.22.19    N                                                                 X
Hobbs               Jared          St. Charles     IL      ?        N         11.22.19    N                                                                 X
Zielinski           Vincent        Oroville        CA          95966 N        11.22.19    N                                  X                 X            X
Apjok               Scott          Troutville      VA          24175 N        11.22.19    N                                                    X            X
Vannett             Elizabeth      Helotes         TX      ?        N         11.22.19    N                                                                                    X              X
Bobko               Joseph         ?               ?       ?        N         11.22.19    N                                                                 X
Tuttle              Lori           Hillsboro       NH          03244 N        11.22.19    N                                                    X                               X
Ketring             Heather        Victorville     CA          92394 N        11.22.19    N                                                    X            X
Walsh               Cassey         Branford        CT          06405 N        11.22.19    N                                                                 X
Ort                 Tina           Deltona         FL          32725 N        11.22.19    N                                                                 X
Bayne               Dustin         Lancaster       CA      ?        N         11.22.19    N                                                                 X                  X
Trobliger           Robert         Fords           NJ      ?        N         11.22.19    N                                                                 X
Wagner              Shaun          Arlington       TX          76010 N        11.22.19    N                                                    X
Gockley             Lovella        La Grande       OR      ?        N         11.22.19    N                                                                                                   X
Sheehan             Christine      Joliet          IL          60435 N        11.22.19    N                                                                                                   X
Buche               Ronald         Valparaiso      IN          46385 N        11.22.19    N                                                                 X
Meyer               Amanda         Shawnee         KS      ?        N         11.22.19    N                                                                 X
Compton             Avery          Tucson          AZ      ?        N         11.22.19    N                                                    X
Arnwine             Brandon        Kodak           TN      ?        N         11.22.19    N                                                                 X
Stoecker            Andrew         Encinitas       CA          92024 N        11.22.19    N                                                                 X
Dover               Kenneth        Hot Springs     AR          71901 N        11.22.19    N                                                                                    X              X
Beavers             James          Cockeysville    MD          21030 N        11.22.19    N                                                                 X                  X
Jean‐Baptiste       Annjeannette   Brooklyn        NY          11213 N        11.22.19    N                                                    X            X
Douglas             Phillip        Waddell         AZ          85355 N        11.22.19    N                                                    X            X                  X
Cobb                Debra          Ellenwood       GA      ?        N         11.22.19    N                                                    X                               X
Maese               Santiago       South Jordan    UT      ?        N         11.22.19    N                                  X                 X            X
Gordon              Karen          San Mateo       CA          94401 N        11.22.19    N                                                                 X                  X
Monahan             Sara           Cave Creek      AZ      ?        N         11.22.19    N                                                                 X
Peterson            Robert         ?               ?       ?        N         11.22.19    N                                                                 X
Sypal               Christine      Lincoln         NE          68510 N        11.22.19    N                                                                 X
Talley              Curtis         Mesquite        NV      ?        N         11.22.19    N                                                                 X
Jacobus             Juliann        Phoenix         AZ          85019 N        11.22.19    N                                                                                                   X
Falk                Melissa        Webster         TX          77598 N        11.22.19    N                                                                 X
Turner              George         Rutherfordton   NC      ?        N         11.22.19    N                                                    X
Scheriff            John           Babylon         NY          11704 N        11.22.19    N                    X
Navarro             Christina      Highland        NY          12528 N        11.22.19    N                                                                 X
Beko                Sharon         Naples          FL          34120 N        11.22.19    N                                                                 X
Whitlock            Kevin          Interlachen     FL          32148 N        11.22.19    N                                                                 X



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Schnabel            Bret         Sparta          MI      ?        N         11.22.19    N                                                                                     X              X
Rebeta              Michael      Cleveland       OH      ?        N         11.22.19    N                                                                                                   X
Brust               Stephen      Snellville      GA      ?        N         11.22.19    N                                                                                    X              X
Hamilton            Jason        McKinney        TX      ?        N         11.22.19    N                                                                                    X              X
Lindsey             Wesley       Tulsa           OK      ?        N         11.22.19    N                                                                 X
Martin              Patrice      Baldwinville    MA          01436 N        11.22.19    N                                                                 X
Reid                Matthew P.   New York        NY          10024 N        11.22.19    N                                                                 X                  X
Young               Melissa      Jacksonville    FL          32210 N        11.22.19    N                                                                 X
Walker              Breset       New York        NY      ?        N         11.22.19    N                                                                 X
Jones               Eric         Elysburg        PA          17824 N        11.22.19    N                                                    X                               X
Amador              Raymundo     Edinburg        TX          78542 N        11.22.19    N                                                                                    X              X
Hoffman             Fred         Granite City    IL          62040 N        11.22.19    N                                                                 X
Whiteman            Candace      Halfmoon        NY          12065 N        11.22.19    N                    X                                            X
Ussery              Gary         Wellford        SC      ?        N         11.22.19    N                                                                 X
Hughes              Paula        Lombard         IL      ?        N         11.22.19    N                                                                                                   X
Carrow              Paulette     Lancaster       CA          93535 N        11.22.19    N                                                                 X
Passeri             Joseph       Worcester       MA          01606 N        11.22.19    N                                                                 X                  X
Martin              Jeremy       Euless          TX          76040 N        11.22.19    N                                                                 X
Mason               Julia        Fairfax         VA          22030 N        11.22.19    N                                                                 X
Edmands             James        Hudson          MA          01749 N        11.22.19    N                                                    X                               X
Linscheid           Matthew      Vancouver       WA          98665 N        11.22.19    N                                                                 X                  X
Wolfe               John         Seattle         WA          99122 N        11.22.19    N                                                                 X                  X
Wilcoxson           Jane         Woodward        OK      ?        N         11.22.19    N                                                                 X
Sullivan            Sean         Arlington       VA          22204 N        11.22.19    N                                                    X
Uhl                 Jenna        Rochester       NY          14622 N        11.22.19    N                                                    X
HaY                 Cara         Rock Hill       SC          29732 N        11.22.19    N                                                    X
Garey               Deanna       Tomball         TX      ?        N         11.22.19    N                                                                                                   X
Hatfield            Randall      Hope            AR          71801 N        11.22.19    N                                                                                                   X
Starr               Danielle     Houston         TX          77079 N        11.22.19    N                                                                 X                  X
Waits               Kattina      Dublin          TX          76446 N        11.22.19    N                                                    X
Roth                Margaret     Havertown       PA          19083 N        11.22.19    N                    X                               X
Wilson              Elaine       Manassas        VA      ?        N         11.22.19    N                    X                                            X
Neyman              Yelena       Richmond Hts.   OH          44143 N        11.22.19    N                                                                                                   X
Stonebarger         Gilbert      Henderson       NV      ?        N         11.22.19    N                                                                 X
Collier             Clarence     Spartanburg     SC          29301 N        11.22.19    N                                                    X
Barnes              Angela       Huntsville      AL          35802 N        11.22.19    N                                                    X
DeWitt              Holly        Olympia         WA          98501 N        11.22.19    N                                                    X            X
Starr               Stephen      Ambler          PA      ?        N         11.22.19    N                                                                                    X              X
Slater              Caleb Olin   Davenport       FL      ?        N         11.22.19    N                                                                                                   X
Snell               Rachel       Billings        MT          59102 N        11.22.19    N                                                                                                   X



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Last Name           First Name   City               State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Orlando             Dominic      Lisle              IL      ?        N         11.22.19    N                                                     X                               X
Mitchell            Richard      Bay Saint Louis    MS          39520 N        11.22.19    N                                  X                              X
Eveland             Clark        Fairfield          OH          45014 N        11.22.19    N                                                                                    X              X
Hemphill            Morgan       Tualatin           OR          97062 N        11.22.19    N                                                    X
Hofhenke            Casey        Willows            CA          95988 N        11.22.19    N                                                                                                   X
Ramey               Melissa      Lexington          GA      ?        N         11.22.19    N                                                    X
Sides               Tracy        Dallas             TX          75214 N        11.22.19    N                                                    X                               X
Woodson             Steve        Nrth Kansas City   MO      ?        N         11.22.19    N                    X
Patton              Josh         Birmingham         AL          35242 N        11.22.19    N                                                                 X
Goodman             Jeremy       NE Shoreline       WA          98155 N        11.22.19    N                                                                 X
Margelony           Leah         Manchester         CT          06042 N        11.22.19    N                                                                 X
Davis IV            Alvin        Gainesville        FL          32641 N        11.22.19    N                                                    X
Dirnbach            Mitchell     Fullerton          CA          92835 N        11.22.19    N                                                                 X
Allen               Darnell      Coeur d alene      ID          83814 N        11.22.19    N                                                    X
Cid                 Yvette       Jersey City        NJ          07305 N        11.22.19    N                                                                                                   X
Zapata              Richard      Corpus Christi     TX          78415 N        11.22.19    N                                                                 X                  X
Yeast               Emily        Clarksville        TN          37042 N        11.22.19    N                                                    X            X                  X
Henion              Nancy        Augusta            ME      ?        N         11.22.19    N                                                                 X
Sanders             Dawn         Carmichael         CA          95608 N        11.22.19    N                                                                 X
Molenda             J. Scott     Buffalo            NY          14214 N        11.22.19    N                                                    X
Barnes              Joel         Colchester         VT      ?        N         11.22.19    N                                                    X
Plumb               Peter        Puyall             WA          98375 N        11.22.19    N                                                                                                   X
Pevey               William      Pembroke           GA          31321 N        11.22.19    N                                                                 X
Cheskie             Peter        Oshkosh            WI          54904 N        11.22.19    N                                                    X
Marshall            Robert       Ortonville         MI      ?        N         11.22.19    N                                                                 X                  X
Yetter              Nancy        Jersey Village     TX      ?        N         11.22.19    N                                                                 X
Tomlinson           Linda        Wellsboro          PA          16901 N        11.22.19    N                                                                 X
Anderson            Michelle     Orchards           WA          99027 N        11.22.19    N                                  X                              X
Cunningham          Rachel       El Centro          CA      ?        N         11.22.19    N                                                                 X
Stoner              Allison      Fort Lauderdale    FL          33308 N        11.22.19    N                    X                                            X
Firestone           Dylan        Avon Lake          OH          44012 N        11.22.19    N                                                                                                   X
Womble              Franklin     Cincinnati         OH      ?        N         11.22.19    N                                                    X            X
Keri                RiteNur      Strasburg          VA      ?        N         11.22.19    N                                                                 X                  X
Jenkins             Terry        Sunrise Beach      MO          65079 N        11.22.19    N                                                                 X
Cicki               Sanders      Hudson             FL          34667 N        11.22.19    N                                                    X
Scales              Stacy        Napa               CA      ?        N         11.22.19    N                                                                 X
Minick              Robert       Hamilton           OH          45013 N        11.22.19    N                                                    X
Bateman             Ricky        Wausau             WI          54401 N        11.22.19    N                                                    X
Arrants             Andrew       Port Orchard       WA      ?        N         11.22.19    N                                                    X            X
Dollhopf            Jeffrey      ?                  ?       ?        N         11.22.19    N                                                                                                   X



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Praden              Michele      Mobile           AL          36609 N        11.22.19    N                                                                                     X              X
Anderson            Patricia     Princeton        NC          02756 N        11.22.19    N                                                                 X                  X
Long                Terrence     Chicago          IL      ?        N         11.22.19    N                                                                 X
Franklin            Alexander    Lincoln          CA          95648 N        11.22.19    N                                                                 X
Goodnight           Belinda      Jackson          GA          30233 N        11.22.19    N                                                                                    X              X
Bretholtz           Michael      New Haven        CT          06511 N        11.22.19    N                                  X                 X            X
Holloway            Doris        Shreveport       LA          71106 N        11.22.19    N                                                                                                   X
Barnett             David C.     Chicago          IL          60640 N        11.22.19    N                                                    X            X
Mims                Ronda        Riverside        CA          92503 N        11.22.19    N                                                    X
MacDonald           Nicholas     Quincy           MA          02169 N        11.22.19    N                                                                 X                  X
Huettig             Steven       Hazelton         ID          83335 N        11.22.19    N                                                    X
Wright              Jonathan     Nashville        TN      ?        N         11.22.19    N                                                    X
Dixon               Clarence     Fort Worth       TX      ?        N         11.22.19    N                                                                 X
Saxton              April        Broken Arrow     OK          74012 N        11.22.19    N                    X                                            X
Quinn               Alison       Tallahassee      FL          32303 N        11.22.19    N                                                                 X
Reskiewicz          Sue          ?                ?       ?        N         11.22.19    N                    X
Smith               Mary         Baxter Springs   KS          06671 N        11.22.19    N                                                                                                   X
Hutchinson          Cullen       Haymarket        VA          20169 N        11.22.19    N                                                                 X
Wiegand             Amy          White Plains     NY          10606 N        11.22.19    N                    X                                            X
Gardner             Anthony      Spring Hill      FL          34606 N        11.22.19    N                                                                 X
Smith               Jacqueline   ?                ?       ?        N         11.22.19    N                                                                                                   X
Nickerson           Desirea      Katy             TX          77449 N        11.22.19    N                                                                                                   X
Starling            Mike         Johnston City    IL          62951 N        11.22.19    N                                                                                    X              X
Strobl‐Ban          Heidi        Southfield       MI          48033 N        11.22.19    N                                                                                                   X
Fish                Clarissa     ?                ?       ?        N         11.22.19    N                                                                 X
Chamberlain         Ruth         Etters           PA          17319 N        11.22.19    N                                                    X
Thomas              John         Mineola          ?           11501 N        11.22.19    N                                                    X
Salsman             Carolyn      Hot Springs      AR          71913 N        11.22.19    N                                                                                    X              X
James               Donald       Lafayette        CA          94549 N        11.22.19    N                                                    X            X
Fink                Richard      Andover          MA      ?        N         11.22.19    N                                                    X            X
Mulins              Steven       Richardson       TX      ?        N         11.22.19    N                                                                 X
Hinzman             Joseph       Petersburg       TN          37144 N        11.22.19    N                                                                 X
Smith               Amy          Sebring          FL          33870 N        11.22.19    N                    X                                            X
Ward                Ryan         Broken Bow       NE      ?        N         11.22.19    N                                                                 X
Permar              Jeffrey      Reidsville       NC          27320 N        11.22.19    N                                                    X            X
Marx                John         Smithtown        NY      ?        N         11.22.19    N                                                                                                   X
Zyph‐Hursh          Katherine    Prosser          WA          99350 N        11.22.19    N                                                                                                   X
Stone               Roger        Peoria           IL      ?        N         11.22.19    N                                                    X
Ledbetter           Richard      ?                ?       ?        N         11.22.19    N                                                                                    X              X
Morton              Corwin       Rulo             NE      ?        N         11.22.19    N                                                                 X



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Johnston            Jennifer     Jacksonville     FL      ?        N         11.22.19    N                                                     X
Dominguez           Oscar        Miami            FL      ?        N         11.22.19    N                                                                                    X              X
Holden              Mark         ?                ?       ?        N         11.22.19    N                                                                 X
Hicks               Aletha       Dallas           TX      ?        N         11.22.19    N                                                    X
Ginn                Marie        Foley            AL      ?        N         11.22.19    N                                                                                                   X
Hawkins             Ellen        Warwick          RI          02893 N        11.22.19    N                                                    X            X
Lewis               Frederick    ?                ?       ?        N         11.22.19    N                                                                 X
Flinchbaugh         Tom          Myrtle Beach     SC          29579 N        11.22.19    N                                                                 X
Colville            Zalfen       Independence     MO          64054 N        11.22.19    N                                                                 X
Branch              Amy          Tarentum         PA      ?        N         11.22.19    N                                                                 X
Gray                Walter       Berkeley         CA      ?        N         11.22.19    N                                                                 X
Gilbert             Cindy        Indianapolis     IN          46268 N        11.22.19    N                                                                 X                  X
Endicott            Laura        ?                ?       ?        N         11.22.19    N                                                                                                   X
Steele              Michael      Redding          CA      ?        N         11.22.19    N                                                    X            X                  X
Thompson            Zach         Denver           CO          80222 N        11.22.19    N                                                    X                               X
Namoski             Christine    Brunswick        OH          44212 N        11.22.19    N                                                                                                   X
Hearlihy            David        Maineville       OH          45039 N        11.22.19    N                                                    X            X
Fox                 William      LebaNn           TN      ?        N         11.22.19    N                                                    X                               X
Gonzales            Savanna      San Antonio      TX          78253 N        11.22.19    N                                                                                                   X
Gokey               Lynda        Superior         WI      ?        N         11.22.19    N                                                                 X
Moore               Mary         Palm Bay         FL          32905 N        11.22.19    N                                                                                                   X
Reque               Peter        San Francisco    CA      ?        N         11.22.19    N                                                                 X
Sardinha            Carol        Ansonia          CT      ?        N         11.22.19    N                                                    X            X
Newby               Robert       Jersey City      NJ          07304 N        11.22.19    N                                                                 X
Thomas              Sheena       Des Moines       IA      ?        N         11.22.19    N                                  X                              X
Bell                Michael      Goodyear         AZ          85338 N        11.22.19    N                    X                                            X
Onkst               Claudia      Santa Clarita    CA          91351 N        11.22.19    N                                                                 X
Lowden              Brandon      New York         NY          10034 N        11.22.19    N                                                    X
Unick               Lee          Lynden           WA          98264 N        11.22.19    N                                                                 X
Tenant              Kristin      West Allis       WI          53227 N        11.22.19    N                                                                                                   X
Bennett             Kenneth      Gordonsville     VA          22942 N        11.22.19    N                                                                 X
Crouch              Julianne     Southhaven       MA          38671 N        11.22.19    N                                                                 X
Lee                 Kenneth      Hyde Park        MA          02136 N        11.22.19    N                                                                 X
Paslay              Judy         Malakoff         TX          75148 N        11.22.19    N                                                    X
Neuman              Alex         East Windsor     NJ      ?        N         11.22.19    N                                                                 X
Mongiat             James        Stone Mountain   GA      ?        N         11.22.19    N                                                                 X
Rogers              Carrie       Mount Laurel     NJ          08054 N        11.22.19    N                                                                 X
Allred              Loretta      Shores           MI          48081 N        11.22.19    N                                                                 X
Thomas              Tuesday      Los Angeles      CA          90016 N        11.22.19    N                                                                 X
Daley               Steven       Tempe            AZ          85282 N        11.22.19    N                                                                 X



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Turner              David        Tallahassee        FL          32310 N        11.22.19    N                                   X                             X
Smith               Nathaniel    Brooklyn           NY          11222 N        11.22.19    N                                                                                    X              X
Jordan              Lisa         Sterling           VA          20164 N        11.22.19    N                                                    X            X
Cheever             Melissa      Chehalis           WA          98532 N        11.22.19    N                                                                                    X
Macabata            Ryan         FPO                AE          09834 N        11.22.19    N                                                                                    X              X
Allman              Stacy        Rapid City         SD          57702 N        11.22.19    N                                                                 X
O'Hara              Catherine    Nrth Tonawanda     NY      ?        N         11.22.19    N                                                                                    X              X
Carney              Kristi       Warrenville        SC          29851 N        11.22.19    N                                                                 X
Preston             Debra        Orlando            FL      ?        N         11.22.19    N                                                                                                   X
Weimann             RC           Mims               FL      ?        N         11.22.19    N                                                                 X
Delgado             Yenia        Chicago            IL          60609 N        11.22.19    N                                                                                    X              X
Costa               Yvonne       Halifax            MA          02338 N        11.22.19    N                                                    X
Ramirez             Michael      ?                  ?       ?        N         11.22.19    N                                                                                    X              X
Lowe                James        Crestwood          KY          40014 N        11.22.19    N                                                                 X
Garrant             Michelle     Plattsburgh        NY          12901 N        11.22.19    N                    X
Wysocki             John         Farmington Hills   MI          48335 N        11.22.19    N                    X                                            X                  X
Lisk                Bernard      Seneca Falls       NY          13148 N        11.22.19    N                                                                                    X              X
Taylor              Karen        Fort Worth         TX      ?        N         11.22.19    N                                                                 X
Moore               Mark         Seneca             SC          29672 N        11.22.19    N                                                                                    X              X
Sallis              Randal       LebaNn             TN          37087 N        11.22.19    N                                                                                                   X
Shunk               Kathleen     Dayton             OH          45419 N        11.22.19    N                                                    X            X
Gillin              Kathleen     Berwyn             IL          60402 N        11.22.19    N                                                                 X
Ludolph             Mark         Rockford           IL      ?        N         11.22.19    N                                                                 X
Toler               Lisa         Pomona             MO          65789 N        11.22.19    N                                                    X            X                  X
Richards            Melissa      Dayton             OH          45415 N        11.22.19    N                                                                 X
Brinkherhoff        Susan        Taylors            SC          29687 N        11.22.19    N                                                                                    X              X
MoreN               Eric         ?                  ?       ?        N         11.22.19    N                                                                 X
Rusher              Mitchell     Boca Raton         FL          33487 N        11.22.19    N                                                    X
Murch               Deborah      Nrth Chelmsford    MA      ?        N         11.22.19    N                                                                                                   X
Hernandez           Yvonne       Las Vegas          NV      ?        N         11.22.19    N                                                                 X                  X
Sokol               Matthew      MagNlia            TX      ?        N         11.22.19    N                    X                                            X
Reznichek           Patricia     Manitowoc          WI          54220 N        11.22.19    N                                                                 X
Laneruot            Lawrence     Ashtabula          OH          44005 N        11.22.19    N                                                    X            X                  X
Jones               Jack         Anderson           IN          46016 N        11.22.19    N                                                    X                               X
Marks               Marcia       Santa Clarita      CA          91351 N        11.22.19    N                                                                 X
Lanier              Dawn         Monroe             MI      ?        N         11.22.19    N                                                                                                   X
Vanet               Judi         ?                  ?       ?        N         11.22.19    N                                                                 X
Luebke              Angela       Blythe             CA          92225 N        11.22.19    N                    X                                            X                  X
Scribner            John         Sacramento         CA      ?        N         11.22.19    N                                  X                              X
Johnson             Kara         Mishawaka          IN          46544 N        11.22.19    N                                                                                    X              X



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Last Name           First Name   City              State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Trimborn            Georg        Skokie            IL      ?        N         11.22.19    N                   X                                             X
Malone              Evelyn       East Liverpool    OH      ?        N         11.22.19    N                                                                 X                  X
Downing             Chris        Louisberg         NB          27549 N        11.22.19    N                                                                 X                  X
Grieper             Robert       Plantation        FL          33324 N        11.22.19    N                                                    X
Schwab              Judyann      Forest            IL      ?        N         11.22.19    N                                                                 X                  X
Floyd               Karen        Blacklick         OH      ?        N         11.22.19    N                                                                 X
Fritschi            Susan        Mishawaka         IN      ?        N         11.22.19    N                                                    X
Miller              Matthew      Cullman           AL      ?        N         11.22.19    N                                                                 X
Adams               Elizabeth    Americus          GA      ?        N         11.22.19    N                                                                 X
Faircloth           Michelle     Clayton           NC          27520 N        11.22.19    N                    X                                            X
Day                 Elaine       DeFuniak          FL          32433 N        11.22.19    N                                                                 X
Corona              Yvette       ?                 ?       ?        N         11.22.19    N                                                                                                   X
Narayan             Akshay       Cambridge         MA          02139 N        11.22.19    N                                                    X            X
Hagen               Kelly        Vero Beach        FL      ?        N         11.22.19    N                                                                                                   X
Overton             Thomas       Seattle           WA          98103 N        11.22.19    N                                                    X
Mullane             Jonathan     Cambridge         MA      ?        N         11.22.19    N                                                    X
Viverito            Jaimie       Boynton Beach     FL          33436 N        11.22.19    N                                                                 X
Ramos               Edith        Chicago           IL          60644 N        11.22.19    N                                                                                    X              X
Rimar               Gary         Arlington         VA          22204 N        11.22.19    N                                                                 X
Lori                Payne        Mount Juliet      TN          37122 N        11.22.19    N                                                                 X                  X
Mandros             Matthew      South Jordan      UT          84009 N        11.22.19    N                                                    X
Critelli            Glenn        Myrtle Beach      SC      ?        N         11.22.19    N                                                                 X
GeNvese             Kelly        Monessen          PA          15062 N        11.22.19    N                                                                 X
Bialecki            Valentine    Holyoke           MA          01040 N        11.22.19    N                                                                 X
Wright              Danita       ?                 ?       ?        N         11.22.19    N                    X                                            X
Spalding            Mary         Louisville        KY          40217 N        11.22.19    N                                                    X
Kohler              Charles      Traverse City     MI      ?        N         11.22.19    N                                                                 X                  X
Crumbley            Deborah      Columbus          SC          29212 N        11.22.19    N                                                                 X
Gralak              Lynnette     Nrth Platte       NE          69101 N        11.22.19    N                                                                                                   X
Morgan              Dennis       Greensboro        NC          27405 N        11.22.19    N                                                    X
Erdman              Brett        ?                 ?       ?        N         11.22.19    N                                                                 X                  X
Wier                Jennifer     College Station   TX          77845 N        11.22.19    N                                                    X
Foster              Stephen      ?                 ?       ?        N         11.22.19    N                                                                                                   X
Johnson             Larry        Burtrum           MN      ?        N         11.22.19    N                                                                 X
Ramos               Rosa         Chicago IL        IL          60609 N        11.22.19    N                                                                                    X              X
Newhart             Erica        Arlington         TX          76012 N        11.22.19    N                                                                                    X              X
Adams               Nicole       Lexington         KY          40517 N        11.22.19    N                                                    X
Alvarez             Maria        FresN             CA          93722 N        11.22.19    N                                                    X            X
LaMonica            Ronald       Ashford           CT          06278 N        11.22.19    N                                                                                    X              X
Murphy              John         Sparks            NV          89434 N        11.22.19    N                                                                 X



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Adams               Tina          Girard             PA          16417 N        11.22.19    N                                                                 X                   X
Twitchell           Nathan        Morristown         TN      ?        N         11.22.19    N                                                    X
Wade‐Evans          Todd          Belleville         IL          62220 N        11.22.19    N                                                                 X
Schroeder           Jennifer      Blue Mound         IL          62513 N        11.22.19    N                                                                 X
Israel              Adam          New York           NY          10024 N        11.22.19    N                                                    X
Beauvais            Michelle      Somerset           WI      ?        N         11.22.19    N                                                                 X
Matiut              Samuel        Denver             NC          28037 N        11.22.19    N                                                    X
Hawkins             Thomas        Arlington          TX          76006 N        11.22.19    N                                                                 X                  X
Bermijo             Paul A.       Phoenix            AZ          85027 N        11.22.19    N                                                    X
Craddock            Curtis        Springfield        VA          22150 N        11.22.19    N                                                    X            X
Kates               Lori          ?                  ?       ?        N         11.22.19    N                                                                 X
Brooks              Jeffrey       Fort Mill          SC      ?        N         11.22.19    N                                                                 X
Zorrilla            Edward        Artesia            CA      ?        N         11.22.19    N                                                                 X
Reed                Christopher   Berkeley           CA          94703 N        11.22.19    N                                                                 X          X
Reichel             Nastassia     Austin             TX          78748 N        11.22.19    N                                                    X
Harper              Annette       St. Joseph         MO          64504 N        11.22.19    N                                                                                                   X
Smith               Shalene       Pahrump            NV          89048 N        11.22.19    N                                                                 X
Markle              Ronald        ?                  ?       ?        N         11.22.19    N                                                                                    X              X
Kilker              Dan           Luzerne            PA          18709 N        11.22.19    N                                                                 X
Anderson            Kimberly      Morton             IL          61550 N        11.22.19    N                                                                 X
Bonillas            Phillip       Imperial           CA          92251 N        11.22.19    N                                                                 X
White               Connie        Bessemer City      NC      ?        N         11.22.19    N                                                                 X
Griffith            Jonathan      Sacramento         CA      ?        N         11.22.19    N                                                    X
Zadworski           Monica        Citrus Heights     CA          95621 N        11.22.19    N                                                    X
Downey              Jacob         Warrenton          VA          20186 N        11.22.19    N                                                                                                   X
Schrage             David         Anderson           SC      ?        N         11.22.19    N                                                                                                   X
Cascio              Raymond       Babylon            NY          11704 N        11.22.19    N                                                                                                   X
Baize               Barbara       ?                  ?       ?        N         11.22.19    N                                                                 X
Craven              Michael       ReN                NV      ?        N         11.22.19    N                                                                 X
Underwood           Guillermina   England            AR          72046 N        11.22.19    N                                                                 X                  X
Myers               Joan          Long Beach         CA          90802 N        11.22.19    N                                                                 X                  X
Salonis             Jonathan      Toms River         NJ          07008 N        11.22.19    N                    X                                            X
Johnson             Robin         Burtrum            MN      ?        N         11.22.19    N                                                    X                               X
Brundage            Adam          ?                  ?       ?        N         11.22.19    N                                                    X
Bjugan              Julie         Pine Island        MN      ?        N         11.22.19    N                                                                                                   X
Vonck               Marlice       ?                  ?       ?        N         11.22.19    N                                                                 X
Dambrosio           Anthony       Melrose            MA      ?        N         11.22.19    N                                                                 X
Reiff               Linda         Kingston Springs   TN      ?        N         11.22.19    N                                                                                                   X
Wight               Peter         West Haven         CT      ?        N         11.22.19    N                    X                                            X
Florio‐August       Alyssa        Belleville         NJ          07109 N        11.22.19    N                                                                                                   X



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Last Name           First Name   City            State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Frazier             Tracy        Bellefontaine   OH          43311 N        11.22.19    N                                                                 X
Collier             Robert       Caddo           OK          74729 N        11.22.19    N                                                    X
Smith               Ethan        Waterloo        NY      ?        N         11.22.19    N                                                                 X
Bordenkircher       Paul         Las Vegas       NV          89135 N        11.22.19    N                                                    X            X
Willms              Steven       Anniston        AL          36201 N        11.22.19    N                                                    X
Johnson             Marjorie     Rock Hill       SC      ?        N         11.22.19    N                                                                 X
Allen               Kaitlyn      Millers Falls   MA      ?        N         11.22.19    N                                                                 X
Bermijo             Jane C.      Pheonix         AZ          85027 N        11.22.19    N                                                    X
Brown               Benjamin     Medical Lake    WA          99022 N        11.22.19    N                                                    X
Mills               John         Emerson         NJ      ?        N         11.22.19    N                                                    X
Trinka              Bryce        Weston          CT          06883 N        11.22.19    N                                                                 X
Eisenach            Jared        Fort Collins    CO          80524 N        11.22.19    N                                                                                                   X
Thomas              James        Kingsport       TN          37660 N        11.22.19    N                                                                 X
Phillis             DeAun        Witchita        KS          67208 N        11.22.19    N                    X                               X            X                  X
Meyer               Alan         Riverside       CA      ?        N         11.22.19    N                                                    X
Rios                Dawn         Riverbank       CA          95367 N        11.22.19    N                                                                                    X              X
LaTendresse         Jason        Horicon         WI      ?        N         11.22.19    N                                                    X
Vance               Robin        San Leandro     CA          94578 N        11.22.19    N                                                    X            X
ValdoviNs           Marco        Oxnard          CA          93036 N        11.22.19    N                                                                                                   X
Whitfield           Gregory      ?               ?       ?        N         11.22.19    N                                                                 X                  X
Hawks               Karen        Grand Prairie   TX          75052 N        11.22.19    N                                                    X
Keheley             Timothy      Rialto          CA          92376 N        11.22.19    N                                                    X
Kleiner             Brendon      Valley Stream   NY      ?        N         11.22.19    N                                                    X                               X
Aguilar             Jaime        Chesterton      IN          46304 N        11.22.19    N                                                    X                               X
Garren              Jordan       Hickory         NC      ?        N         11.22.19    N                                                    X
Vaughan             Robin        Braidwood       IL      ?        N         11.22.19    N                                                                                                   X
Mcnickles           Geoffrey     Sanford         ME          04073 N        11.22.19    N                                                                                                   X
Kaether             Jason        Burleson        TX          76028 N        11.22.19    N                                                    X            X
Milsted             David        Logan           OH      ?        N         11.22.19    N                                                                                                   X
Eaton               Rosalyn      Sacramento      CA          95833 N        11.22.19    N                                                                                    X              X
Thompson            Brandi       Waynesboro      VA          22980 N        11.22.19    N                                                                                                   X
Jones               Makeshia     Nacogdoches     TX          75961 N        11.22.19    N                                                                 X
McLain              Brian        ?               ?       ?        N         11.22.19    N                                                                 X                  X
Strickland          Ursula       Ozark           AL          36360 N        11.22.19    N                                                                                                   X
Durling             Darlene      Park City       IL          60085 N        11.22.19    N                                                    X
Brown               Fred M.      Milton          WV          25541 N        11.22.19    N                                                                 X
Stasek              Dawn         ?               ?       ?        N         11.22.19    N                                                    X
Rhyne               Hugh         Big Spring      TX      ?        N         11.22.19    N                                                    X            X
Post                Richard      Fort Wayne      IN          46835 N        11.22.19    N                    X                                            X
Treadwell           Fedrick      SNw Camp        NC          27349 N        11.22.19    N                                                                 X



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Last Name           First Name   City             State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Calahan             Michael      San Jose         CA          95125 N        11.22.19    N                                                     X
Coe                 Cherie       Escanaba         MI          49829 N        11.22.19    N                                                    X
Curcio              Meghan       Valrico          FL          33596 N        11.22.19    N                                                    X
Cates               Cheryl       Vassar           MI          49868 N        11.22.19    N                                                                 X
Ziolkowski          Anthony      Manville         RI          02838 N        11.22.19    N                                                                                    X              X
Morton              Henry        New York         NY      ?        N         11.22.19    N                                                                 X                  X
Hilger              Paul         Lincoln          NE          68516 N        11.22.19    N                                                    X
Deacon              Daniel       El Paso          TX          79935 N        11.22.19    N                                                                 X
Hankins             Janie        Granbury         TX          76048 N        11.22.19    N                                                                 X                  X
Butler              Crystal      ?                RI          02893 N        11.22.19    N                                                    X                               X
Foraker             Jane C.      Monroe           MI          48161 N        11.22.19    N                                                                 X
Amic                Kimberly     Pittsburgh       PA          15205 N        11.22.19    N                                                    X
Sheridan            Shaun        Benton           AR          72015 N        11.22.19    N                                                    X            X                  X
Carithers           Ernest       Oceanside        CA      ?        N         11.22.19    N                                                                                                   X
Allen               Rosa         Zachary          LA          70791 N        11.22.19    N                                                    X
Dennett             Stanley      Killeen          TX          76543 N        11.22.19    N                                                    X
Rusher              Niesha       Columbus         MO          39702 N        11.22.19    N                                                                 X
Brendon             Charles      Las Vegas        NV          89113 N        11.22.19    N                                                                 X
Glover              William      Beaumont         TX          77726 N        11.22.19    N                                                                 X
McGarry             Finbar       Colchester       VT          05446 N        11.22.19    N                                                                 X
Lindsay             Heather      San Antonio      TX          78247 N        11.22.19    N                                                                 X
Redmon‐Franklin     Kaitlyn      Rocklin          CA          95677 N        11.22.19    N                    X                                            X
Harris              Theresa      Cicero           NY      ?        N         11.22.19    N                                                                                                   X
Chandler            Arren        Austin           TX          78751 N        11.22.19    N                                  X                              X
Mikolaitis          Mike         Wilkes‐Barre     PA          18706 N        11.22.19    N                                                                                    X              X
Jackson             Cheryl       ?                ?       ?        N         11.22.19    N                                                                                                   X
Jacobs              Nicole       Clairton         PA          15025 N        11.22.19    N                                                                                                   X
Goldberg            Todd         El Cajon         CA      ?        N         11.22.19    N                                                                 X                  X
Colwell             John Wayne   Deltona          FL          32725 N        11.22.19    N                                                    X
Ferguson            Michael      Canyon           TX          79015 N        11.22.19    N                                                                                                   X
Pilon               Richard      Bartlett         TN      ?        N         11.22.19    N                                                    X
Beauchampl          Jay          Edmond           OK          73012 N        11.22.19    N                                                    X
Schlene             Eric         West Lafayette   IN      ?        N         11.22.19    N                                                    X            X
Specht              Laurance     Brooklyn         NY          11218 N        11.22.19    N                                                    X
Gibson              Mary         San Antonio      TX      ?        N         11.22.19    N                                                                 X
Biedinger           Robert       Cross Roads      TX      ?        N         11.22.19    N                                                                 X
Baldwin             Alan         Denver           CO          80202 N        11.22.19    N                                                                 X
Jordan              Brooke       Flushing         MI      ?        N         11.22.19    N                                                                 X
Sirer               Emin         Ithaca           NY          14853 N        11.22.19    N                                                    X            X
Zawieruszynski      Darlene      St. Lucie        FL      ?        N         11.22.19    N                                                                 X



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Last Name           First Name   City             State    Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Dingler             Jimmy        WiNna            TX           75792 N        11.22.19    N                                                                                                    X
Snyder              Jordan       Jackson          MI           49203 N        11.22.19    N                                                    X                               X
Fletcher            Chris        LebaNn           OR           97355 N        11.22.19    N                                                    X                               X
Ward                Susan        Jefferson        MD           21755 N        11.22.19    N                                                    X
Black               Kenneth      San Francisco    CA       ?        N         11.22.19    N                                                                 X                  X
Pilipenko           Oleg         Solon            OH           44139 N        11.22.19    N                                                                                                   X
Martin              Carolyn      Mabelvale        AR           72103 N        11.22.19    N                                                                 X                  X
King                Marandell    ?                ?        ?        N         11.22.19    N                                                                 X
Stark               Pamela       Kansas City      KS           66112 N        11.22.19    N                                                    X            X                  X
Pan                 Arthur       ?                ?        ?        N         11.22.19    N                                                                 X
Spiker              Andrew       West Lafayette   IN       ?        N         11.22.19    N                                                                                    X              X
Comery              Sean         Columbia         TN           38401 N        11.22.19    N                                                                                                   X
House               Kimberly     ?                ?        ?        N         11.22.19    N                                                                 X
Owens               James        Virginia Beach   VA       ?        N         11.22.19    N                                                                                    X              X
Patten              Julie        Chiloquin        OR       ?        N         11.22.19    N                                                                 X
Fugate              Angel        Hammond          IN       ?        N         11.22.19    N                                                                 X
Abdullah            Nafeesah     Chicago          IL           60661 N        11.22.19    N                                                    X
Sorrell             Karen        Falmouth         KY       ?        N         11.22.19    N                                                                                    X              X
Copans              Kathleen     Lynn             MA       ?        N         11.22.19    N                                                                 X
Wakeford            Cynthia      Highland         MI           48356 N        11.22.19    N                                                    X                               X
Ex                  Francine     Kfar Sava        Israel   ?        N         11.22.19    N                                                                 X
DePalma             Peter        Citrus Heights   CA           95610 N        11.22.19    N                                                                                    X              X
Payton              Louis        Fort McCoy       FL       ?        N         11.22.19    N                                                                 X
Wink                Graham       ?                ?        ?        N         11.22.19    N                                                                 X
Krupnik             Daniel       Chicago          IL       ?        N         11.22.19    N                                                                 X
Martyn              Terri        Oglesby          IL           61348 N        11.22.19    N                                                                 X                  X
Hamm                Rick         Ludlow           KY       ?        N         11.22.19    N                                                    X
Holtrop             James        Hudsonville      MI           49426 N        11.22.19    N                    X                               X            X
Milligan            Maria        Perrysburg       OH           43551 N        11.22.19    N                                                    X
Rafael              Gunta        HaNver Park      IL       ?        N         11.22.19    N                                                    X                               X
Carmer              Tami         Kent             OH       ?        N         11.22.19    N                                                                                                   X
Nadler              Benjamin     Modiin           Israel   ?        N         11.22.19    N                                                                 X
Lockwood            Steven       Owosso           MI       ?        N         11.22.19    N                                                                 X
Moran               Dow          Jersey City      NJ           07310 N        11.22.19    N                                                    X            X
Greenwood           Steven       Cypress          TX           77433 N        11.22.19    N                                                                 X
Walker              Cipeo        ?                ?        ?        N         11.22.19    N                                                                 X                  X
Myers               Sheila       Hermitage        PA           16146 N        11.22.19    N                                                    X
Ford                Mary         Huntsville       AL       ?        N         11.22.19    N                                                                 X
Kneen               Jason        Portage          MI       ?        N         11.22.19    N                                                                 X
Wilcox              Samantha     ?                ?        ?        N         11.22.19    N                                                                 X



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Last Name           First Name   City               State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Gearlds             Eagle        Tompkinsville      KY          42167 N        11.22.19    N                                                                                     X              X
Schilke             Erik         Middletown         CT      ?        N         11.22.19    N                                                    X
Cook                Leslie       Riverside          CA          92509 N        11.22.19    N                                                                                                   X
Luongo              Eric         Lackawanna         NY          14218 N        11.22.19    N                                                    X
Staudacher          Sandy        Ocala              FL          34473 N        11.22.19    N                                                                 X
Dumoulin            Donald       Carmel             IN      ?        N         11.22.19    N                                                                 X                  X
King                Lynn         Richton Park       IL      ?        N         11.22.19    N                                                                 X                  X
MeriN               Diana        Metuchen           NJ      ?        N         11.22.19    N                                                    X
Sandberg            Angela       Melbourne          FL      ?        N         11.22.19    N                                                                                                   X
Lipari              Barbara      Costa Mesa         CA          92627 N        11.22.19    N                                                                                                   X
Grabowski           Rebecca      Davison            MI          48423 N        11.22.19    N                                                    X            X                  X
Tyer                Rhea         Cordova            TN          38016 N        11.22.19    N                                                    X            X                  X
Furry               Lester       Ft. Myers          FL          33913 N        11.22.19    N                                                    X                               X
Anderson            Jesse        Fort Worth         TX          76108 N        11.22.19    N                                                                 X
Kubasiak            Benjamin     Pittsburgh         PA          15220 N        11.22.19    N                                                                                    X              X
Dana                Jacqueline   Princeton          LA          71067 N        11.22.19    N                                                                 X
Allen               Colleen      Hartland           WI          53029 N        11.22.19    N                                                                 X                  X
Yantz               Matthew      Revere             MA          02151 N        11.22.19    N                                                                                                   X
Jordan              Patricia     Roselle            IL          60172 N        11.22.19    N                                                    X
Kemraj              SueAnn       Oakland            FL          34787 N        11.22.19    N                                                                                    X              X
Mandolfo            Samuel       Ralston            NE      ?        N         11.22.19    N                                                    X
Bohne               Steven       Spring Arbor       MI      ?        N         11.22.19    N                                                                 X
Joseph              Mary         Bradenton          FL          34207 N        11.22.19    N                                                                                                   X
Holder              Stephen      Cleveland          TN          37323 N        11.22.19    N                                                                 X                  X
Bendiksen           Matthew      Allen              TX      ?        N         11.22.19    N                                                    X
Laguna              Justin       Queen Creek        AZ          85140 N        11.22.19    N                                                    X
Ward                Tameka       Oak Park           MI          48237 N        11.22.19    N                    X                                            X
Mobley              Renee        Humble             TX      ?        N         11.22.19    N                                                                                    X              X
Piper               Derek        Greenwood          IN          46142 N        11.22.19    N                    X                               X            X
Dibble              Kathlyn      Round Lake         IL          60073 N        11.22.19    N                                                                 X
Storey              Sharon       Saint Helens       OR          97051 N        11.22.19    N                                                    X
Prasad              Krishna      Flower Mound       TX          75022 N        11.22.19    N                                                                 X                  X
Price               Lonny        West Terre Haute   IN          47885 N        11.22.19    N                                                                 X
Rager               Cathy        Elkton             KY          42220 N        11.22.19    N                                                    X                               X
Bradford            Sharon       Lafayette          LA          70508 N        11.22.19    N                                                    X            X
Brightwell          Anita        Rogers             AR      ?        N         11.22.19    N                                                    X
Dozer               Kirk         Chilicothe         OH          45601 N        11.22.19    N                                                                                                   X
Nickolls            Robin        Vero Beach         FL      ?        N         11.22.19    N                                                                 X
Davis               Karen        Newman             GA          30265 N        11.22.19    N                                                                 X
Longway             Tracey       Bridgeport         CT      ?        N         11.22.19    N                                                                 X                  X



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Last Name           First Name   City            State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Barber              Kathy        Jonesboro       AR          72401 N        11.22.19    N                                                                                     X              X
Jones               Heather      Stockton        MO          65785 N        11.22.19    N                                                    X            X
Douglas             John         Saugus          CA          91350 N        11.22.19    N                                                                 X                  X
Ryan                Ann          Doral           FL      ?        N         11.22.19    N                                                                 X
Phelps              Jennifer     Des Moines      IA          50311 N        11.22.19    N                                                    X
Khan                Sheeraz      Bolingbrook     IL          60490 N        11.22.19    N                                                                 X
Lewis               Pamela       ?               ?       ?        N         11.22.19    N                    X                                            X                  X
Barnes              James        Cypress         TX      ?        N         11.22.19    N                                                                 X                  X
Bendler             Marc         Algonquin       IL          60102 N        11.22.19    N                                                    X
van der Kam         Herald       Collegeville    PA      ?        N         11.22.19    N                                                                 X
Ballard             Stephanie    Lexington       KY          40509 N        11.22.19    N                                                                 X
Olivo               Amy          Surprise        AZ          85378 N        11.22.19    N                                                                                    X              X
Hartman             Mark         El Cajon        CA          92020 N        11.22.19    N                                                                 X
Bartholomew‐King    Julia        Brooklyn        NY          11201 N        11.22.19    N                                                    X
Amon                Richard      Riverdale       GA      ?        N         11.22.19    N                    X                               X            X
Weigel              Jonathan     Spanaway        WA      ?        N         11.22.19    N                                                    X            X
Felt                Greg         Phoenix         AZ      ?        N         11.22.19    N                                                    X            X
Hayden              Kellie       Newburg         MD          20664 N        11.22.19    N                                                    X
Harris              Ramona       Mineola         TX      ?        N         11.22.19    N                                                                 X                  X
Moore               Paul         Hinsdale        MT          59241 N        11.22.19    N                                                    X                               X
O'Mara              Virginia     Weymouth        MA          02188 N        11.22.19    N                                                    X
Michael             Tauraso      Bothell         WA      ?        N         11.22.19    N                                                    X
Liu                 Su           Los Angeles     CA          90064 N        11.22.19    N                                                    X
Matson              Carolyn      Springfield     IL      ?        N         11.22.19    N                                                                                    X              X
DeSmit              Forrest      Watauga         TX      ?        N         11.22.19    N                    X                                            X
Morris              Felicia      St. George      UT          84771 N        11.22.19    N                    X                               X
Sharpe              Ashaki       Walnut Grove    MS          39189 N        11.22.19    N                                                                                                   X
Hernandez           Nicki        Aberdeen        WA          98520 N        11.22.19    N                                                                                    X              X
Trice               Nrlene       Weeki Wachee    FL          34614 N        11.22.19    N                                                    X
Ragatz              Nancy        Fenton          MI          48430 N        11.22.19    N                                                                                                   X
Crouch              Emily        Portsmouth      NH          03801 N        11.22.19    N                                                                 X
Casad               Mike         Chatham         IL          62629 N        11.22.19    N                                                                                    X              X
O'Brien             Arthur       Kansas City     MO      ?        N         11.22.19    N                                                                 X
Gibbeny             Shelley      Hudson          IN          46747 N        11.22.19    N                    X                                            X
Locke               Leslie       San Antonio     TX          78244 N        11.22.19    N                                                                                                   X
Stansbury           Wade         Clenwood City   WI          54013 N        11.22.19    N                                                    X            X
Lewis               Donna        Seffner         FL          33584 N        11.22.19    N                    X                                            X
Brust               Charles      Rochester       MN      ?        N         11.22.19    N                                                                                                   X
Steele              Emily        Columbia        MD          21044 N        11.22.19    N                                                                 X
Smith               Darell       Eugene          OR          97405 N        11.22.19    N                                                    X            X                  X



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Last Name           First Name   City                 State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Pfahl               Raymond      Cleveland            OH          44144 N        11.22.19    N                                                                                                    X
Looney              Jennifer     Bristol              TN      ?        N         11.22.19    N                                                                 X
Akeley              Lee          Ocala                FL          34473 N        11.22.19    N                                                                                                   X
Dolan               Susan        Montgomery Village   MD          20886 N        11.22.19    N                                                                                                   X
Farole              Michael      Corona               CA      ?        N         11.22.19    N                                                    X
Tesch               Lori         Ortonville           MI      ?        N         11.22.19    N                                                                 X
Roberson            Cyndi        Victoria             TX      ?        N         11.22.19    N                                                                                    X              X
Kuver               Daphne       Tacoma               WA          98422 N        11.22.19    N                                                                 X
Gaskins             Joy          New Bern             NC          28562 N        11.22.19    N                                                                 X
Chidester           Anthony      San Antonio          TX      ?        N         11.22.19    N                                                                 X
Palmer              Tania        Prior Lake           MN      ?        N         11.22.19    N                                                    X
Baker               Tammie       Edwardsville         IL      ?        N         11.22.19    N                                                                 X
Lutz                Katherine    Old Bridge           NJ          08857 N        11.22.19    N                                                                 X
Mariani             Christine    Bedford              MA      ?        N         11.22.19    N                    X
Small               Ann          Humble               TX          77346 N        11.22.19    N                                                    X
Conn                Heather      Whitmore Lake        MI      ?        N         11.22.19    N                                                    X
Chen                Mimi         Alhambra             CA          91801 N        11.22.19    N                                                                 X
Parker              Cheryl       Semmes               AL          36575 N        11.22.19    N                                                                 X
Rogers              Toli         ?                    ?       ?        N         11.22.19    N                                                                 X                  X
ViggiaN             David        Roswell              GA      ?        N         11.22.19    N                                                    X
TiscareN            Vanessa      Whittier             CA          90603 N        11.22.19    N                                                                 X
Silander            Olli         Virginia Beach       VA      ?        N         11.22.19    N                                                    X
Smat                Robert       Wauwatosa            WI          53226 N        11.22.19    N                                                                 X                  X
Crawford            Kristen      Cassville            MO      ?        N         11.22.19    N                                                    X            X
Caliza‐Whitehead    Rose Marie   Waianae              HI          96792 N        11.22.19    N                                                                 X                  X
Davis               Barbara      Fremont              MI          49412 N        11.22.19    N                                                                 X                  X
Dolson              Laura        Ann Arbor            MI          48103 N        11.22.19    N                                                    X
Anderson            Roy          Horn Lake            MS          38638 N        11.22.19    N                                                    X
Gaffney             Lilia        Jacksonville         FL          32244 N        11.22.19    N                                                    X            X
Moorehead           Stacey       Rochester            NY          14616 N        11.22.19    N                    X                                            X
McKenzie            William      Leesburg             FL      ?        N         11.22.19    N                                                                                                   X
Nsek                Carl         Denver               CO      ?        N         11.22.19    N                                                                 X
Craycraft           Philip       ?                    ?       ?        N         11.22.19    N                                                                 X
Fisher              Barbara      San Juan CapistraN   CA          92675 N        11.22.19    N                                                                                                   X
Yu                  Dennis       San Francisco        CA      ?        N         11.22.19    N                                                    X                               X
Brass               Barbara      Roseville            CA      ?        N         11.22.19    N                                                                 X
Neyens              Sara         Rock Island          IL      ?        N         11.22.19    N                                                                                                   X
Keel                Teresa       Garnerville          NY          10923 N        11.22.19    N                                                                 X
Benavides           Olivia       Lakewood             CA      ?        N         11.22.19    N                                                    X
Williams            Mary         Indianapolis         IN      ?        N         11.22.19    N                                                    X



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Last Name           First Name   City           State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Johns               Megan        Sioux Falls    SD          57107 N        11.22.19    N                                                                 X
Jensen              Charlene     Sacramento     CA          95691 N        11.22.19    N                                                                 X
Gagne               Thomas       Pittsburgh     PA          15221 N        11.22.19    N                                                                 X
Epstein             Zedd         Oakland        CA      ?        N         11.22.19    N                                                    X            X
Ramirez             Nadine       ChiN           CA      ?        N         11.22.19    N                                                                 X
Bill                Thomas       ?              ?       ?        N         11.22.19    N                                                                                                   X
Bowie               Carol        Houston        TX          77014 N        11.22.19    N                    X                                            X
Dake                Cory         St. Anna       TX          75409 N        11.22.19    N                                                    X                               X
SussiN              Donita       Tobyhanna      PA          18466 N        11.22.19    N                    X                                            X                  X
Gardner             Shanna       Keysville      GA          30816 N        11.22.19    N                                  X                              X
Engley Moore        Evelyn       ?              ?       ?        N         11.22.19    N                                                                 X
Andriotis           Sunilda      Elmhurst       NY          11370 N        11.22.19    N                                                                 X
Marx                Victoria     Flint          MI      ?        N         11.22.19    N                                                                 X
Tan                 Phaik        Shakopee       MN          55379 N        11.22.19    N                                                    X                               X
Morales             Melissa      Orange         CA          92867 N        11.22.19    N                                                    X
Wallis              Elizabeth    Tucscon        AZ          85718 N        11.22.19    N                                                    X
Chaney              Katesha      Athens         GA          30605 N        11.22.19    N                                                                 X
Zabawar             Nicholas     Warwick        RI          02888 N        11.22.19    N                                                    X
Irwin               Eric         Oakhurst       CA          93644 N        11.22.19    N                                                                                    X              X
Schneider           Jonathan     Oxnard         CA          93036 N        11.22.19    N                                                    X
Jenkins             Demetrice    New Orleans    LA          70114 N        11.22.19    N                                                                 X                  X
Green               Wendy        Star           NC          27356 N        11.22.19    N                                                                 X
Munson              Morgan       Baton Rouge    LA          70806 N        11.22.19    N                                                    X
Genardo             Nicki        Ocala          FL          34470 N        11.22.19    N                                                                                    X              X
Boller              Brett        Friend         NE          68359 N        11.22.19    N                                                                 X                  X
Cress               Bryan        Plainfield     IN          46167 N        11.22.19    N                                                                 X
FrancoFra           Alessandra   Brooklyn       NY          11230 N        11.22.19    N                                                    X
Raines              Bethanie     Lodi           WI          53555 N        11.22.19    N                                                    X                               X
Kiehl               David        Bel Aired      IS          67226 N        11.22.19    N                                                    X                               X
Horridge            Sherrill     Gibson City    IL      ?        N         11.22.19    N                                                                 X
Dawe                Tricia       Charlotte      FL          33952 N        11.22.19    N                                                    X                               X
Cavette             Carol        Spokane        WA          99208 N        11.22.19    N                                                    X
Sibley              Patricia     Reardan        WA      ?        N         11.22.19    N                                                                 X                  X
Luchetti            Joseph       Bethlehem      CT          06751 N        11.22.19    N                                                    X
Sheridan            James        Agawam         MA          01001 N        11.22.19    N                                                                 X                  X
Clark               Bradon       San Antonio    TX          78210 N        11.22.19    N                                                                 X                  X
Suderski            Jennifer     Hammond        IN          46324 N        11.22.19    N                                                    X                               X
Wells               Matt         Clayton        NC          27527 N        11.22.19    N                                                                 X
White               Amy          Parlin         NJ          08859 N        11.22.19    N                                                    X            X                  X
Waldorf             Frank        Hazlet         NJ      ?        N         11.22.19    N                                                                                                   X



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Last Name           First Name   City               State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Dobrowolski         Chris        ?                  ?       ?        N         11.22.19    N                                                                 X
Hurst               Robert       Covington          LA          70433 N        11.22.19    N                                                    X                               X
Williams            Jesse        Ammon              ID      ?        N         11.22.19    N                                                                 X
Kuklin              Stephen      Mountain City      TN      ?        N         11.22.19    N                                                    X            X
Schlagle            Michael      Point Pleasant     NJ      ?        N         11.22.19    N                                                                 X
Clardy              William      Lewisburg          KY          42256 N        11.22.19    N                                                    X                               X
Leveque             Roland       Des Moines         IA      ?        N         11.22.19    N                                                    X
Clark               Melinda      Lorain             OH      ?        N         11.22.19    N                                                    X                               X
Armstrong           Michael      Riverside          CA      ?        N         11.22.19    N                                                    X
Melby               Allan        Roaring River      NC          28069 N        11.22.19    N                                                    X
Akin                Laronda      Benton             IL          62812 N        11.22.19    N                                                                 X
Fresh               Lisa         Portland           OR      ?        N         11.22.19    N                                                    X
Collins             Charles      Medford            NJ      ?        N         11.22.19    N                                                    X
McAllister          Ira          Austin             TX          78724 N        11.22.19    N                                                    X            X                  X
Braun               Brendan      Franklin           TN      ?        N         11.22.19    N                                                                 X
Wussick             Nita         Washington         PA          15301 N        11.22.19    N                                                    X            X
Peterson            Ron          West Jordan        UT      ?        N         11.22.19    N                                                                 X                  X
Copeland            Kimberly     Hamburg            PA          19526 N        11.22.19    N                                                                                                   X
Hammond             Ike          Columbia           SC      ?        N         11.22.19    N                                                                 X
Clark Jr.           Walter L     Youngstown         OH          44515 N        11.22.19    N                                                                 X
Higgins             Katherine    Shoreview          MN          55126 N        11.22.19    N                                                    X            X
Maldonado           Kerry        Conway             SC          29527 N        11.22.19    N                                                                 X                  X
Stack               Steven       Mount Pleasant     SC      ?        N         11.22.19    N                                                                                                   X
Hames               Virginia     Pinson             AL          35126 N        11.22.19    N                                                    X            X
McLeod              Karen        Irmo               SC          29063 N        11.22.19    N                                                                 X
Hiatt               Timothy      Denton             TX          76205 N        11.22.19    N                                                                 X                  X
Anderson            Mary         Summerville        SC      ?        N         11.22.19    N                                                    X                               X
Armstrong           Dennis       ?                  ?       ?        N         11.22.19    N                                                                                                   X
Scripps             Kerry        Newaygo            MI          49337 N        11.22.19    N                                                                 X
Lemoi               Brandi       Coventry           RI          02816 N        11.22.19    N                                                    X                               X
Douglas             Kim          Nrth Terre Haute   IN      ?        N         11.22.19    N                                                                 X
Bernath             Michelle     Mukilteo           WA          98275 N        11.22.19    N                                                                 X
Hurford             Peter        Chicago            IL      ?        N         11.22.19    N                                                    X
Borkoskie           Debra        Lawrenceville      GA          30046 N        11.22.19    N                                                    X            X
Baker               Jeff         Nrthbrook          IL          60062 N        11.22.19    N                                                    X
Ramage              Shelley      Nebraska City      NE      ?        N         11.22.19    N                                                                                                   X
Weaver              Nicholas     Napa               CA      ?        N         11.22.19    N                                                                 X
Lewis               Kimberly     Nrfolk             VA          23503 N        11.22.19    N                                                                 X                  X
Weinstein‐Raun      Benjamin     Berkeley           CA      ?        N         11.22.19    N                                                    X
Corison             Bianca       Redding            CA          96003 N        11.22.19    N                                                    X



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Last Name           First Name   City            State   Zip      Lawyer?    Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Elston              Terry        Lindenwold      NJ          08021 N         11.22.19    N                                                                                                    X
Trainer             Amanda       Marlinton       WV      ?        N          11.22.19    N                                                                 X
Summers             Ivy          Mountain City   TN      ?        N          11.22.19    N                                                    X
Llewellyn           Shanna       Long Beach      CA          90803 N         11.22.19    N                                                                                    X              X
Thibodeaux          Jeffery      Lake Charles    LA          70601 N         11.22.19    N                                                                 X
Ewing               Jamie        Independence    MO          64056 N         11.22.19    N                                                    X
Glazier             Frederick    Houston         TX          77095 N         11.22.19    N                                                    X
Sapiro              David        King George     VA      ?        N          11.22.19    N                                                                 X
McGregor            Ann          ?               ?       ?        N          11.22.19    N                                                                                                   X
Hebert              Mary         Dallas          TX      ?        N          11.22.19    N                                                                                                   X
Morales             Rosendo      Laveen          AZ          85339 N         11.22.19    N                                                                 X
Koble               Benjamin     York            PA          17404 N         11.22.19    N                                                                 X
Acone               Angela       Taylors         SC          29687 N         11.22.19    N                                                                                                   X
Sparling            Andrew       Sunnyside       NY          11104 N         11.22.19    N                                                                                    X              X
Wann                Kristi       Broken Arrow    OK          74014 N         11.22.19    N                                                                                                   X
Czapiewski          Randall      Lacrosse        WI          54603 WI        11.22.19    N                                                                 X                  X
Kiser               David        Fort Myers      FL          33919 N         11.22.19    N                                                                 X
ReY                 Michael      San Leandro     CA      ?        N          11.22.19    N                                                    X
Williams            Rhonda       Atwater         CA          95301 N         11.22.19    N                                                                 X                  X
Anecito             Scott        Chandler        AZ          85248 N         11.22.19    N                                                                 X
Bartkowiak          Barbara      ?               ?       ?        N          11.22.19    N                                                                 X
McNeely             Alacyn       Carver          MA          02330 N         11.22.19    N                                                                                                   X
Kozloff             Susan        Highland Park   IL          60035 N         11.22.19    N                                                                                    X              X
Klisuric            Thomas       Castle Rock     WA      ?        N          11.22.19    N                                                                                                   X
Lynch               Jacob        Phoenix         AZ      ?        N          11.22.19    N                                                    X
Wendt               Cheryl       Rochester       NY          14606 N         11.22.19    N                                                                 X
Fisher              Connie       Lakewood        CO          80214 N         11.22.19    N                                                                                    X              X
Grubaugh            Tonia        Thorsby         AL          35171 N         11.22.19    N                                                                                    X              X
Morrison            Robert       Marietta        GA      ?        N          11.22.19    N                                                                 X                  X
Davis               Denise       Manchester      MI          48158 N         11.22.19    N                                                                 X
Anholt              Eric         Portland        OR          97202 N         11.22.19    N                                                                 X                  X
Burns               Katrina      Baton Rouge     LA      ?        N          11.22.19    N                                                    X
Russ                Elizabeth    Cincinnati      OH          45226 N         11.22.19    N                                                                 X
Leach               Eric         Saco            ME          04072 N         11.22.19    N                                                                 X
Davenport           ShanNn       Mineola         TX          75773 N         11.22.19    N                                                                 X
Kaufman             Tracy        Naugatuck       CT      ?        N          11.22.19    N                                                                 X
Green               Karen        Omaha           NE          68164 N         11.22.19    N                                                                 X
Eckerson            Janet        Middletown      NY          10940 N         11.22.19    N                                                                                    X              X
McDoNugh            Matthew      Franklin        MA      ?        N          11.22.19    N                                                                 X
Parr                Nancy        Cypress         TX          77429 N         11.22.19    N                                                                 X



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Last Name           First Name   City            State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Pomerantz           James        Westport        IN      ?        N         11.22.19    N                                                     X
Smith               Robert       Ada             MN          56510 N        11.22.19    N                                                                 X
Rickard             Peter        Rochester       MA          02770 N        11.22.19    N                                                                 X
Feury               Todd         Lewisburg       WV          24901 N        11.22.19    N                                                                 X                  X
Hutchins            Barry        Leland          NC          28451 N        11.22.19    N                                                                 X
Burr                Lisa         Nrthfield       VT          05663 N        11.22.19    N                                                    X
Thomas              Gretchen     Bloomington     MN          55420 N        11.22.19    N                                                                                                   X
Jobman              Clara        Nrth Platte     NE      ?        N         11.22.19    N                                                                 X                  X
Walton              Laurel       Staten Island   NY          10301 N        11.22.19    N                                                                 X
Held                BJ           Madison         WI          53704 N        11.22.19    N                                                                 X
Jeffries            Dina         Lowell          AR          72745 N        11.22.19    N                                                                 X
Dundee              Caroline     Fort Collins    CO      ?        N         11.22.19    N                                                    X
Collins             Jill         Vero Beach      FL      ?        N         11.22.19    N                                                                 X
Fox                 Timothy      Lacey           WA      ?        N         11.22.19    N                                                                 X                  X
Budny               Kaitlyn      Milwaukee       WI          53228 N        11.22.19    N                                                                 X
Albinda             Stephen      Pheonix         AZ          85044 N        11.22.19    N                                                                 X
Jaloszynski         Michael      Manistee        MI          49660 N        11.22.19    N                                                    X
Dundee              Peter        Fort Collins    CO      ?        N         11.22.19    N                                                    X            X
Reed                Larry        Downey          CA      ?        N         11.22.19    N                                                    X
Keith               Vickie       Huntsville      AL          35806 N        11.22.19    N                                                                                                   X
Dardick             Sarah        San Francisco   CA          94116 N        11.22.19    N                                                                 X
Martin              Ronald       Olney           IL          62450 N        11.22.19    N                                                                                                   X
Hiatt               Karen        Denton          TX          76205 N        11.22.19    N                                                                 X                  X
Clare               Christine    San Pedro       CA      ?        N         11.22.19    N                                                    X
Bornt               Rhonda       Athens          TN      ?        N         11.22.19    N                                                                 X
Lonis               Kimberly     Akron           OH          44312 N        11.22.19    N                                                                 X
Lynch               Mark         Flat Rock       NC      ?        N         11.22.19    N                                                                 X
Williams            Clathyn      Tacoma          WA          98404 N        11.22.19    N                                                                                                   X
Tharp               Tawnya       Wampum          PA          16157 N        11.22.19    N                                                                 X
Singer              Debra        Anderson        IN      ?        N         11.22.19    N                                                                 X
Smokowicz           Leslie       Martinsburg     WV          25404 N        11.22.19    N                                                    X
Majewski            Marc         Downers Grove   IL      ?        N         11.22.19    N                                                    X            X
Payne               Donnie       Clarkston       MI          48348 N        11.22.19    N                                                                 X
Dolan               Michael      Plainfield      IN      ?        N         11.22.19    N                                                                 X
Eden                William      San Francisco   CA      ?        N         11.22.19    N                                                    X            X
Humphrey            James        Cleveland       TN          37312 N        11.22.19    N                                                    X
Vecchio             Vincent      Hammonton       NJ          08037 N        11.22.19    N                                                                 X
Parker              Patrick      ?               ?           43228 N        11.22.19    N                                                    X
Rehg                Todd         St. Louis       MO      ?        N         11.22.19    N                                                                 X
McClain             Deborah      ?               ?       ?        N         11.22.19    N                                                                 X



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Last Name           First Name   City                State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Seidenspinner       Jeff         Berlin              MD          21811 N        11.22.19    N                                                                 X
Tucker              Michele      Sun City            CA          92586 N        11.22.19    N                                                                 X
Bahnfleth           Doreen       Hudson              FL          34667 N        11.22.19    N                                                                 X
Bailey              Elaine       Barto               PA          19504 N        11.22.19    N                                                                 X
Hunt                Michelle     Baltimore           MD      ?        N         11.22.19    N                                                                                    X              X
Ahmed               Priom        Brooklyn            NY      ?        N         11.22.19    N                                                                 X
Green               Robert       Elmira              NY          14904 N        11.22.19    N                                                                                                   X
Bax                 Nicolas      Bethesda            MD      ?        N         11.22.19    N                                                                 X
Holden              Lynne        Wellsburg           WV          26070 N        11.22.19    N                                                                 X
Greene              Andrew       Philadelphia        PA          19137 N        11.22.19    N                                                    X
Maranville          Daniel       Fairfield           CT          06825 N        11.22.19    N                                                                 X                  X
Van Hooser          Judy         Lewisville          TX      ?        N         11.22.19    N                                                                 X
Bowe                Sean         Westminster         CO          80023 N        11.22.19    N                                                    X
Valverde            Jonathan     Roy                 WA          98580 N        11.22.19    N                                                    X
Nichols             Kelly        ReN                 NV          89511 N        11.22.19    N                                                                 X
Langehaug           Mary         Maddock             ND          58348 N        11.22.19    N                                                                                                   X
Crabtree            Beverly      Whitley City        KY          42653 N        11.22.19    N                                                                 X                  X
Heidt               Hannah       Waterville          ME          04901 N        11.22.19    N                                                                 X
Holloway            Matthew      Riverside           NJ          08075 N        11.22.19    N                                                                                                   X
Berg                Jessie       Huron               SD          57350 N        11.22.19    N                    X                               X            X
Cribari             Anastasia    Gunnison            CO          81230 N        11.22.19    N                                                                 X
Cseko Jr.           Joe          Patterson           KY          12563 N        11.22.19    N                                                                 X
Chipp               Stephen      Weidman             MI      ?        N         11.22.19    N                                  X                 X            X
Bruce               Paula        Lake in the Hills   IL          60156 N        11.22.19    N                                                                 X
Bever               Mark         Peoria              AZ          85382 N        11.22.19    N                    X                                            X
Burke               Kim          ?                   ?       ?        N         11.22.19    N                                                    X            X
Goebel              James W.     Davenport           IA          52803 N        11.22.19    N                                                                 X
Lewis               Jennifer     Jacksonville        FL          32258 N        11.22.19    N                                                                 X
Glover              Karen        Pleasant Grove      AL          35127 N        11.22.19    N                                                                 X
Padjen              Sheryl       Salt Lake City      UT          84121 N        11.22.19    N                                                    X            X
Harris              David        New Albany          IN          47150 N        11.22.19    N                                                                 X
Steele              Amy          ?                   ?       ?        N         11.22.19    N                                                                 X
Walker              Richard      Sparks              NV      ?        N         11.22.19    N                                                                 X                  X
Jakucki             Joseph       Mesa                AZ      ?        N         11.22.19    N                    X                               X            X
Plontus             Janet        Royal Oak           MI      ?        N         11.22.19    N                                                                 X                  X
Parker              Tamara       Derby               KS          67037 N        11.22.19    N                                                    X
Scott               Jens         Keller              TX      ?        N         11.22.19    N                                                                                                   X
Moore               Wendy        TerraceLecanto      FL          34461 N        11.22.19    N                                                    X
Alford              Michele      Calimesa            CA          92320 N        11.22.19    N                                                    X
Alam                Mohammad     Brooklyn            NY          11232 N        11.22.19    N                                                    X



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Last Name           First Name   City              State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Arslan              Engrin       Sparks            NV      ?        N         11.22.19    N                                                                 X
Roberts             James        Marietta          GA          30064 N        11.22.19    N                                                    X            X
Perotti             Gloria       Ontario           NY          14519 N        11.22.19    N                                                    X            X
Jackson             Kelly        Washington        DC          20017 N        11.22.19    N                                                                 X
Villanueva          Haydee       Bronx             NY          10456 N        11.22.19    N                                                                 X
Salts               Amy          Buford            GA          30519 N        11.22.19    N                                                    X
Raymond             Jeffrey      Millbury          MA      ?        N         11.22.19    N                                  X                              X
Criswell            Christian    Philadelphia      PA          19127 N        11.22.19    N                                                    X
Hermanson           Kiley        West Fargo        ND          58078 N        11.22.19    N                                                                 X                                 X
Emmons              Gloria       Kalamazoo         MI      ?        N         11.22.19    N                                                                                                   X
Roberts             Rose Ann     High Falls        NY      ?        N         11.22.19    N                                                                 X
Hutchins            Joyce        Leland            NC          28451 N        11.22.19    N                                                                 X
Ferland             Katrina      Granite Bay       CA      ?        N         11.22.19    N                                                                 X
Jawa                Raj          Dorchester        MA      ?        N         11.22.19    N                                                    X
Hsu                 Israel       Bellerose         NY      ?        N         11.22.19    N                                                                 X
Hatfield            Ted          Greenfield        IN          46140 N        11.22.19    N                    X                                            X
Schatz              Michael      Nrth Wales        PA          19454 N        11.22.19    N                                                    X
Eilbacher           Maryann      Fort Pierce       FL      ?        N         11.22.19    N                                                                 X                  X
Bogenrieder         Christine    Statham           GA      ?        N         11.22.19    N                                                                 X
McMillan            Roy          Curtis Bay        MD      ?        N         11.22.19    N                                                                 X
MacInnis            Kennedy      Oakland           CA          94610 N        11.22.19    N                                  X                              X
Simmons             Candace      Smyma             TN          37167 N        11.22.19    N                                                    X            X
Farley              Sarah        Lexington         KY      ?        N         11.22.19    N                                                                 X
ConNr               Margaret     Tifton            GA      ?        N         11.22.19    N                                                    X
Wagner              Lauren       Spring Grove      IL          60081 N        11.22.19    N                                                                 X
Keltesch            Jodi         Mukwonago         WI          53149 N        11.22.19    N                                                                 X
Vaughn              Matthew      Austin            TX          78751 N        11.22.19    N                                                                 X
Gould               Tiffany      Grafton           OH          44044 N        11.22.19    N                                                                 X
Rasmussen           Craig        Vashon            WA          98070 N        11.22.19    N                                                    X
Porta               Megan        York              PA          17406 N        11.22.19    N                                                    X
Fragala             Mike         Springfield       VA      ?        N         11.22.19    N                                                                                                   X
Carey               Jennifer     Miami             FL      ?        N         11.22.19    N                                                    X
Harrison            Belinda      Heidelberg        MS      ?        N         11.22.19    N                                                                                                   X
Aylor               Pamela       Sun City Center   FL          33573 N        11.22.19    N                                                    X
Hoolwerf            Dan          Dallas            TX          75227 N        11.22.19    N                                                                 X
Seaton              Calvin       Chesterfield      VA          23235 N        11.22.19    N                                                                 X
Kloc                Michael      Macon             GA      ?        N         11.22.19    N                                                                 X
Price               Donna        Spring            TX      ?        N         11.22.19    N                                                                 X
Giaimo              David        Canton            GA          30115 N        11.22.19    N                                                    X
DeJesus             Michael      Sicklerville      NJ          08081 N        11.22.19    N                                                                                                   X



Current 12.5.2019                                                                                                                                                                                    33
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                                                                         Objections to In re Equifax, Inc. Settlement



                                                                                                                                                                                         Objection
                                                                    Has a     Date        Fulfilled   Regulator          Attorneys          Total   Relief Per Class                     Basis
Last Name           First Name   City              State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Krieger             Elazar       Meadows           NY          11365 N        11.22.19    N                                                                 X
Pierce              Colin        Philadelphia      PA      ?        N         11.22.19    N                                                                 X
Jewell              Charles      Ripley            WV          25271 N        11.22.19    N                                                    X
Joyce               Benny        Raleigh           NC          27613 N        11.22.19    N                                                                 X
Woodward            Susan        Canton            GA          30114 N        11.22.19    N                                  X                              X
Culwell             Mary         Silverhill        AL          36576 N        11.22.19    N                                                                 X                  X
Rahenkamp           Daniel       Tampa             FL      ?        N         11.22.19    N                                                                                                   X
Kurtz               Janet        New Port Richey   FL      ?        N         11.22.19    N                                                                                    X              X
Carpenter           James        Owingsville       KY      ?        N         11.22.19    N                                                                                                   X
Green               ShanNn       BYville           OH          43723 N        11.22.19    N                                                                 X
White               Denise       Suwanee           GA          30024 N        11.22.19    N                                                                 X
Eschrich            Kristin      Grayslake         IL          60030 N        11.22.19    N                                                    X            X
Mattice             Thomas       Modesto           CA          95350 N        11.22.19    N                                                                                                   X
Chandler            Michael      Nrthfield         ME      ?        N         11.22.19    N                                                                 X
Marshall            Elizabeth    Oklahoma City     OK      ?        N         11.22.19    N                                                    X            X
Quick               Mary         Chapel Hill       NC      ?        N         11.22.19    N                                                                 X                  X
Poskey              Judith       Zionsville        IN          46077 N        11.22.19    N                                                                                                   X
Tanner              Rema         Nashville         TN      ?        N         11.22.19    N                                                    X
Keaster             Gary         Miami             FL      ?        N         11.22.19    N                                                                 X
Jefferson           Deloris      Ellenwood         GA      ?        N         11.22.19    N                                                                 X
McLoughlin          Kethryn      Peculiar          MO      ?        N         11.22.19    N                                                    X
Fernandez           David        Richmond          VA          23223 N        11.22.19    N                                                                 X
Cherry              Patricia     Donalsonville     GA          39845 N        11.22.19    N                                                                 X
Dye                 Philip       Rainbow City      AL          35906 N        11.22.19    N                                                                 X
Owens               Denny        San Pablo         CA          94806 N        11.22.19    N                                                                                                   X
DiGiovani           Mary         Orlando           FL          32839 N        11.22.19    N                                                                 X
Clem                Tami         Hutchinson        KS          67502 N        11.22.19    N                                  X                 X            X
Scott               Lawrence     Belchertown       MA               N         11.22.19    N                                                    X
Geist               Johannes     Alexandria        VA          22304 N        11.22.19    N                                                                 X
Vogel               Kathleen     Irvine            CA          92603 N        11.22.19    N                                                                 X
Rocheleau           Jessica      ?                 ?       ?        N         11.22.19    N                                                    X
Keith               Diana        Rockford          IL      ?        N         11.22.19    N                                                    X
Fontana             Domenic      King of Prussia   PA      ?        N         11.22.19    N                                                                 X
Stocks              Tina         Durant            OK          74701 N        11.22.19    N                                                    X
Chaney              Kevin        Olathe            KS      ?        N         11.22.19    N                                                                 X
Walker              Sheryl       Carbondale        IL          62901 N        11.22.19    N                                                                 X
Francis             Rob          PalN              TX          75075 N        12.2.19     N                                                                 X
Francis             Lori         PalN              TX          75075 N        12.2.19     N                                                                 X
Dimbach             Mitchell     Fullerton         CA          92835 N        11.22.19    N                                                                 X
Feller              Robert       Millville         NJ      ?        N         11.22.19    N                                                                 X



Current 12.5.2019                                                                                                                                                                                    34
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                                                                      Objections to In re Equifax, Inc. Settlement



                                                                                                                                                                                      Objection
                                                                 Has a     Date        Fulfilled   Regulator          Attorneys          Total   Relief Per Class                     Basis
Last Name           First Name   City           State   Zip      Lawyer?   Rec'd       Criteria?   Representations?   Fees?     Ntice?   Relief? Members?           Claims Process?   Unclear
Forsyth             John P.      ReN            NV          89509 N        11.22.19    N                                                                                                    X
Foutch              Pam          Springfield    IL      ?        N         11.22.19    N                                                                 X
Irmen               Carla        Springfield    MO          65804 N        11.22.19    N                                                                                                   X
Johnson             Kevin        Lexington      MA          02421 N        08.09.19    Y                                                                 X
Kinslow             Travis       Tigard         OR          97224 N        11.22.19    N                                                                 X
Levy                James        Ridgefield     CT          06877 N        11.22.19    N                                                                 X
Payne               Lori         Mount Juliet   TN          37122 N        11.22.19    N                                                                 X
RiteNur             Keri         Strasburg      VA      ?        N         11.22.19    N                                                                 X                  X
Sanders             Cicki        Hudson         FL          34867 N        11.22.19    N                                                                 X
Sinclair            Alan         Sanata Cruz    CA          95060 N        09.23.19    Y                                                    X            X
Swan                Jack         Henderson      NJ          89074 N        11.22.19    N                                                                 X
Tauraso             Michael      Bethel         WA      ?        N         11.22.19    N                                                    X




Current 12.5.2019                                                                                                                                                                                 35
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                   Exhibit 10

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
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           TIME SUMMARY FOR INCEPTION TO SEPTEMBER 30, 2019                         SUPPLEMENT THROUGH NOVEMBER 30, 2019

                      Firm                      Total by Firm   Total by Firm                             Total by Firm   Total by Firm
                                                   Hours          Lodestar        Hours     Lodestar         Hours          Lodestar
            Court Appointed Leadership
Barnes Law Group, LLC                                3,164.10     $1,807,848.50    205.50   $122,655.00        3,369.60    $1,930,503.50
Cohen Milstein Sellers & Toll, PLLC                  1,444.50       $980,137.00      3.90     $2,514.00        1,448.40      $982,651.00
DiCello Levitt Gutzler                               4,275.80     $3,004,355.00    265.30   $171,222.50        4,541.10    $3,175,577.50
Doffermyre Shields Canfield & Knowles, LLC           2,873.60     $2,873,600.00    284.10   $284,100.00        3,157.70    $3,157,700.00
Doss Firm, LLC                                       1,141.80       $720,030.00      0.00         $0.00        1,141.80      $720,030.00
Evangelista Worley LLC                                 608.80       $372,600.00      2.40     $1,642.50          611.20      $374,242.50
Gibbs Law Group LLP                                  2,305.10     $1,282,741.50     28.00    $19,381.00        2,333.10    $1,302,122.50
Griffin & Strong P.C.                                  221.70        $92,965.00      0.00         $0.00          221.70       $92,965.00
Hausfeld LLP                                         2,274.60     $1,286,259.00     16.80    $10,039.00        2,291.40    $1,296,298.00
Milberg Tadler Phillips Grossman LLP                 1,661.30     $1,158,597.50      0.00         $0.00        1,661.30    $1,158,597.50
Tadler Law LLP                                          14.20        $11,530.00      0.90       $732.50           15.10       $12,262.50
Morgan & Morgan Complex Litigation Group             1,604.60     $1,230,361.30     24.30    $14,741.40        1,628.90    $1,245,102.70
Murphy, Falcon & Murphy                                839.80       $544,064.50      9.30     $8,194.50          849.10      $552,259.00
Stueve Siegel Hanson LLP                             6,444.20     $4,592,801.00    527.70   $372,045.50        6,971.90    $4,964,846.50
             Other Consumer Counsel
Ahdoot & Wolfson                                        19.70        $10,697.50      0.00        $0.00            19.70      $10,697.50
Alexander Schack                                        26.60         $9,830.00      0.00        $0.00            26.60       $9,830.00
Barrack, Rodos & Bacine                                  3.00         $2,310.00      0.00        $0.00             3.00       $2,310.00
Berger & Montague P.C.                                  53.70        $35,289.50      0.00        $0.00            53.70      $35,289.50
Blood, Hurst & O'Reardon LLP                            73.80        $39,031.00      0.00        $0.00            73.80      $39,031.00
Buether Joe & Carpenter, LLC                             5.40         $2,767.50      0.00        $0.00             5.40       $2,767.50
Christensen Young & Associates                          18.20        $10,920.00      0.00        $0.00            18.20      $10,920.00
Colson Hicks Eidson                                      7.30         $4,560.00      0.00        $0.00             7.30       $4,560.00
Consumer Justice Center                                 19.90         $8,955.00      0.00        $0.00            19.90       $8,955.00
David A. Bain, LLC                                      23.60        $12,036.00      0.00        $0.00            23.60      $12,036.00
Dorros Law                                               4.20         $2,520.00      0.00        $0.00             4.20       $2,520.00
Eggnatz Pascucci                                        13.70         $7,192.50      0.00        $0.00            13.70       $7,192.50
Emerson Firm, PLLC                                       8.90         $7,075.50      0.00        $0.00             8.90       $7,075.50
Emerson Scott LLP                                       44.90        $35,695.50      0.00        $0.00            44.90      $35,695.50
Federman & Sherwood                                     60.40        $51,040.00      0.60      $510.00            61.00      $51,550.00
Fink Bressack                                           23.60        $15,056.00      0.00        $0.00            23.60      $15,056.00
Finkelstein & Thompson                                  29.90        $21,965.00      0.00        $0.00            29.90      $21,965.00
Fleming Law Firm, PLLC                                  20.90        $10,697.50      0.40      $220.00            21.30      $10,917.50
Geragos & Geragos, APC                                  96.10        $61,665.00      0.00        $0.00            96.10      $61,665.00
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            TIME SUMMARY FOR INCEPTION TO SEPTEMBER 30, 2019                          SUPPLEMENT THROUGH NOVEMBER 30, 2019

                       Firm                       Total by Firm   Total by Firm                             Total by Firm   Total by Firm
                                                     Hours          Lodestar        Hours     Lodestar         Hours          Lodestar
Goldman Scarlato & Penny, P.C.                           67.70        $48,407.50       0.00         $0.00          67.70        $48,407.50
Grabar Law Office                                        22.60        $17,515.00       0.00         $0.00          22.60        $17,515.00
Green & Noblin P.C.                                       4.20         $1,424.00       0.00         $0.00            4.20        $1,424.00
Gustafson Gluek PLLC                                    159.40        $93,295.00       0.00         $0.00         159.40        $93,295.00
Hannon Law Firm, LLC                                    120.40        $22,084.00       0.00         $0.00         120.40        $22,084.00
Harris Lowry Manton                                       9.50         $3,325.00       0.00         $0.00            9.50        $3,325.00
Hellmuth & Johnson                                       22.70        $18,704.50       0.00         $0.00          22.70        $18,704.50
Kantrowitz, Goldhamer & Graifman, P.C.                   22.10        $18,785.00       0.00         $0.00          22.10        $18,785.00
Keller Rohrback                                          95.80        $44,721.50       2.00       $650.00          97.80        $45,371.50
Levi & Korsinsky, LLP                                    24.70        $19,786.00       0.80       $668.00          25.50        $20,454.00
Daniel Mirarchi, Esq.                                     4.00         $2,340.00       0.00         $0.00            4.00        $2,340.00
Mastando & Artrip, LLC                                   21.10         $9,495.00       0.00         $0.00          21.10         $9,495.00
NastLaw LLC                                              29.20        $21,112.00       0.00         $0.00          29.20        $21,112.00
O'Brien Law Firm                                         10.10         $6,565.00       0.00         $0.00          10.10         $6,565.00
Quinn, Connor, Weaver, Davies & Rouco                     7.40         $4,215.00       0.00         $0.00            7.40        $4,215.00
Robbins Arroyo                                           17.50         $7,952.50       0.00         $0.00          17.50         $7,952.50
Saltz, Mongeluzzi, Barrett & Bendesky, P.C.              13.50         $7,222.50       0.00         $0.00          13.50         $7,222.50
Sanford Heisler Sharp, LLP                              519.80       $106,274.00       0.00         $0.00         519.80       $106,274.00
Saveri & Saveri, Inc.                                     7.00         $3,640.00       0.00         $0.00            7.00        $3,640.00
Scott Cole & Associates, APC                             11.00         $6,350.50      41.20    $20,538.00          52.20        $26,761.50
Spector Roseman & Kodroff, PC                            14.80         $9,339.00       0.00         $0.00          14.80         $9,339.00
Stein Mitchell Beato & Missner LLP                           -             $0.00     153.90    $58,067.50         153.90        $58,067.50
Stritmatter Kessler Whelan Koehler Moore                158.00        $63,030.00       0.00         $0.00         158.00        $63,030.00
Stull, Stull & Brody                                     55.70        $52,137.50      14.30    $12,999.50          70.00        $65,137.00
The Giatras Law Firm, PLLC                                   -             $0.00      19.20     $5,040.00          19.20         $5,040.00
The Miller Law Firm                                     108.50        $52,911.00       0.00         $0.00         108.50        $52,911.00
Webb, Klase & Lemond, LLC                                28.10        $15,092.50       0.00         $0.00          28.10        $15,092.50
Wilentz, Goldman & Spitzer, P.A.                         22.70        $18,727.50       0.00         $0.00          22.70        $18,727.50
Withers Bergman LLP                                       6.50         $4,712.50       0.00         $0.00            6.50        $4,712.50

TOTAL FOR LEADERSHIP                                  28,874.10    $19,957,890.30   1368.20 $1,007,267.90       30,242.30 $20,965,158.20
TOTAL FOR NON-LEADERSHIP                               2,137.80     $1,028,467.50    232.40    $98,693.00       2,370.20   $1,127,033.50
TOTAL ALL FIRMS                                      31,011.90     $20,986,357.80   1600.60 $1,105,960.90      32,612.50 $22,092,191.70
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                   Exhibit 11

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
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  EXPENSE SUMMARY FOR INCEPTION TO SEPTEMBER 30, 2019                         SUPPLEMENT THROUGH NOVEMBER 30, 2019

                   Category                          Total                              Category                   Total

Federal Express, Local Courier, Postage                 $6,701.47   Federal Express, Local Courier, Postage           $436.67
Hotels                                                 $90,474.21   Hotels                                           $1,857.45
Meals                                                  $29,879.40   Meals                                               $91.98
Air Travel                                            $129,988.63   Air Travel                                       $4,951.32
Discovery Costs                                        $25,102.06   Discovery Costs                                  $1,184.55
Pacer, Electronic Research                            $167,808.19   Pacer, Electronic Research                      $27,208.54
Experts                                               $466,408.16   Experts                                              $0.00
Court Fees                                             $52,900.66   Court Fees                                        $400.00
Process Service                                         $9,058.30   Process Service                                      $0.00
Hearing Transcripts                                     $6,812.85   Hearing Transcripts                                  $0.00
Ground Transportation (Mileage, Rental Car,                         Ground Transportation (Mileage, Rental Car,
Parking, Taxi, Rideshare)                              $28,647.23   Parking, Taxi, Rideshare)                        $1,011.14
Miscellaneous                                         $104,493.55   Miscellaneous                                    $3,128.55
Mediation Services                                    $129,758.75   Mediation Services                               $1,732.50

TOTAL                                               $1,248,033.46   TOTAL                                           $42,002.70

                                                                    CUMULATIVE TOTAL                              $1,290,036.16
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                   Exhibit 12

In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)




Class Counsel’s Omnibus Declaration In Support Of Plaintiffs’
  Motion for Final Approval of Settlement and Response to
                    Various Objections
                                                                              Case 1:17-md-02800-TWT
                                                                                Case  3:18-cv-05982-WHADocument 900-1
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                                                                          4
                                                                          5
                                                                          6                                IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10    STEPHEN ADKINS, an individual and
                                                                         11    Michigan resident, on behalf of himself and all
United States District Court




                                                                               others similarly situated,                                      No. C 18-05982-WHA
                                                                         12
                               For the Northern District of California




                                                                                              Plaintiff,
                                                                         13      v.
                                                                         14                                                                    ORDER ON MOTION FOR
                                                                               FACEBOOK, INC.,                                                 CLASS CERTIFICATION
                                                                         15                                                                    AND MOTIONS TO STRIKE
                                                                                              Defendant.
                                                                         16                                                    /

                                                                         17                                           INTRODUCTION
                                                                         18           This is a putative class action by plaintiff Stephen Adkins against defendant Facebook,
                                                                         19    Inc. Plaintiff asserts a claim for negligence based on Facebook’s alleged faulty security
                                                                         20    practices in collecting and storing plaintiff’s information. These faulty practices allegedly
                                                                         21    allowed hackers to break into Facebook’s platform and pilfer the personal information of 29
                                                                         22    million Facebook users worldwide, including more than four million users in the United States.
                                                                         23    The operative complaint seeks relief in the form of a credit monitoring service for the victims,
                                                                         24    in addition to compensatory, statutory, and punitive damages. The operative complaint also
                                                                         25    seeks declaratory relief (Amd. Compl. at 48) (Dkt. No. 193).
                                                                         26           A prior order walked through the coding vulnerability which allowed the data breach
                                                                         27    (Dkt. No. 153). In brief, when three features on Facebook’s platform interacted, “access
                                                                         28    tokens” became visible. Similar to a password, access tokens permitted users to enter their
                                                                               account. Once these access tokens became visible, those accounts became vulnerable to entry
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                                                                          1    by strangers. In this way, the hackers entered 300,000 accounts in September 2018 (Bream
                                                                          2    Decl. ¶¶ 11–17; Amd. Compl. ¶¶ 95–97, 100) (Dkt. Nos. 97; 193)
                                                                          3           The hackers ran two separate search queries from within these 300,000 accounts. The
                                                                          4    first yielded the names and telephone numbers and/or e-mail addresses of fifteen million users
                                                                          5    worldwide (2.7 million in the United States). The second yielded more sensitive information on
                                                                          6    fourteen million users worldwide (1.2 million in the United States). The information taken
                                                                          7    from this second group included names, telephone numbers, e-mail addresses, gender, date of
                                                                          8    birth, and, to the extent the fields were populated, workplace, education, relationship status,
                                                                          9    religious views, hometown, self-reported current city, and website. Within this second group,
                                                                         10    the hackers also obtained the user’s locale and language, the type of device used by the user to
                                                                         11    access Facebook, the last ten places the user was “tagged” in or “checked into” on Facebook,
United States District Court




                                                                         12    the people or pages on Facebook followed by the user, and the user’s fifteen most recent
                               For the Northern District of California




                                                                         13    searches using the Facebook search bar. The original 300,000 users who had their accounts
                                                                         14    entered into also had the same information taken as this second group (Bream Decl. ¶¶ 10–12,
                                                                         15    18–19).
                                                                         16           In February 2019, five named plaintiffs filed a consolidated complaint which averred ten
                                                                         17    claims. An order consolidated eleven putative class action lawsuits filed in this district which
                                                                         18    arose from this data breach. Following Rule 12 practice, in August 2019, only one named
                                                                         19    plaintiff, Stephen Adkins, and two claims remained (Dkt. Nos. 76, 78, 96, 108, 113, 115, 153).
                                                                         20           Plaintiff now seeks to certify a class of all Facebook users whose personal information
                                                                         21    became part of the September 2018 data breach. Plaintiff seeks certification under Rule
                                                                         22    23(b)(2), Rule 23(b)(3), and Rule 23(c)(4). More specifically, plaintiff seeks injunctive relief
                                                                         23    for a worldwide class under Rule 23(b)(2), namely plaintiff seeks certain changes to Facebook’s
                                                                         24    security practices to ensure no further harm comes to its users. Plaintiff seeks damages on
                                                                         25    behalf of a nationwide class under Rule 23(b)(3), related to the diminished value of personal
                                                                         26    information and for Facebook to provide cash for future credit monitoring. Finally, plaintiff
                                                                         27    seeks certification of a nationwide class under Rule 23(c)(4) for those who seek additional
                                                                         28


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                                                                              Case 1:17-md-02800-TWT
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                                                                          1    individual damages resulting from the time spent devoted to the data breach, and who incurred
                                                                          2    other individual injuries (Dkt. Nos. 193 at 47, 48; 198 at 1).
                                                                          3            In opposing the class certification motion, Facebook concentrates most of its fire on the
                                                                          4    Rule 23(b)(3) damages class. Primarily, Facebook opposes on the ground that individual issues
                                                                          5    would predominate. Facebook also moved to strike two of plaintiff’s expert declarations (Dkt.
                                                                          6    Nos. 213–15). This order follows oral argument.
                                                                          7                                                ANALYSIS
                                                                          8            This order first holds that plaintiff Stephen Adkins has sufficiently established Article
                                                                          9    III standing because of a substantial risk of identity theft and also because he has lost time due
                                                                         10    to the breach. Next, this order holds that Identity Theft Expert James Van Dyke’s expert
                                                                         11    opinion must be excluded because his methodology is unreliable. CPA Ian Ratner’s expert
United States District Court




                                                                         12    opinion, however, will be allowed. Finally, this order will certify an injunctive class under Rule
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                                                                         13    23(b)(2). The details now follow.
                                                                         14            1.      ARTICLE III STANDING.
                                                                         15            A prior order dated June 21, 2019, held that plaintiff Adkins had sufficiently established
                                                                         16    standing (Dkt. No. 153 at 12). Then, as now, the only contentious element concerned the
                                                                         17    injury-in-fact requirement. Then, as now, plaintiff Adkins sufficiently established injury due to
                                                                         18    a substantial risk of future identity theft and also due to a continuing loss of time, all to follow.
                                                                         19                    A.      Substantial Risk of Identity Theft.
                                                                         20            No social security or credit-card numbers were taken in this hack. The hackers took
                                                                         21    plaintiff’s name, date of birth, phone number, gender, and hometown, among other information
                                                                         22    (Dkt. No. 193 ¶ 102). Plaintiff, however, cannot change his date of birth or hometown and
                                                                         23    would not be expected to change his gender merely on account of a data breach. This
                                                                         24    information will abide, sensitive, long-term. This sensitivity, combined with the fact that the
                                                                         25    information was not merely taken, but specifically targeted for theft, continues to confer a basis
                                                                         26    for standing at this stage.
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                                                                          1           Facebook complains that plaintiff has so far suffered only three phishing e-mails, all of
                                                                          2    which went directly to his junk folder. But his identity remains at peril, theft-wise. That is
                                                                          3    enough.
                                                                          4           A finding of a substantial risk of identity theft does not depend on concrete examples
                                                                          5    that the stolen information has already been misused. In Krottner v. Starbucks Corporation,
                                                                          6    “Starbucks sent a letter to . . . affected employees alerting them to the theft and stating that
                                                                          7    Starbucks had no indication that the private information ha[d] been misused.” 628 F.3d 1139,
                                                                          8    1140–41 (9th Cir. 2010) (internal quotation marks and citation omitted). Nevertheless, a
                                                                          9    credible threat of real and immediate harm had been sufficiently alleged there because the
                                                                         10    information: (i) had been sensitive and (ii) had been stolen. Id. at 1143. Plaintiff’s risk of
                                                                         11    identity theft stems from the sensitivity of the information taken combined with its theft.
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                                                                         12           The information taken in Krottner — name, address, social security number — included
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                                                                         13    information sufficiently similar to the information taken here. A social security number, though
                                                                         14    even worse to lose, is like one’s date of birth, prior history, and gender. They remain with the
                                                                         15    victim forever, thereby “g[i]v[ing] hackers the means to commit fraud or identity theft.” In re
                                                                         16    Zappos.com, Inc., 888 F.3d 1020, 1027–29 (9th Cir. 2018), cert. denied sub nom., Zappos.com
                                                                         17    v. Stevens, 139 S. Ct. 1373 (2019). Information such as this will never go bad, and so, hackers
                                                                         18    can warehouse this stolen data for years before using it. The substantial risk remains.
                                                                         19           It is true that in Zappos, our court of appeals mentioned there were concrete examples of
                                                                         20    identity theft and specific instances of hacked accounts in that data breach, whereas in this case
                                                                         21    there are none. 888 F.3d at 1027–28. But Zappos also recognized that “[a] person whose
                                                                         22    [personal information] has been obtained and compromised may not see the full extent of
                                                                         23    identity theft or identity fraud for years. And it may take some time for the victim to become
                                                                         24    aware of the theft.” Id. at 1028–29 (internal quotations omitted). Nothing in Zappos suggests
                                                                         25    that the absence of evidence of misuse kills standing. At this stage, information loss can be
                                                                         26    deemed sensitive without the victim being yet drained of identity.
                                                                         27           According to Facebook, a social security number on its own can cause identity theft,
                                                                         28    whereas the information taken in this data breach does not have that power. Yet, one of


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                                                                          1    Facebook’s employees noted during the breach that “a lot of [the breached] info is used for
                                                                          2    identification on ‘Forgot Password’ flows” and having this information “leak is almost as bad as
                                                                          3    leaking the passwords themselves” (Dkt. No. 234-11 at 2). Even Facebook’s own expert
                                                                          4    recognized outside this litigation that “investigators find that a cellphone number is often even
                                                                          5    more useful than a [s]ocial [s]ecurity number because it is tied to so many databases and is
                                                                          6    connected to a device you almost always have with you” (Dkt. No. 231-2 at 2). The risk of
                                                                          7    identity theft is imminent, without a multi-link chain of inferences, even though no social
                                                                          8    security number was taken.
                                                                          9           The injury-in-fact requirement “helps to ensure that the plaintiff has a personal stake in
                                                                         10    the outcome of the controversy.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)
                                                                         11    (internal quotation marks and citation omitted). The information taken in this breach
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                                                                         12    persuasively assures that plaintiff has such a stake. Plaintiff has established harm for Article III
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                                                                         13    standing.
                                                                         14                   B.      Loss of Time.
                                                                         15           In the alternative, the prior order dated June 21, 2019, found that plaintiff Adkins had
                                                                         16    established Article III standing due to the harm of his loss of time. Plaintiff’s expert now
                                                                         17    calculates that plaintiff spent 1.8 hours responding to this breach (Ratner Decl. ¶ 36; Sch. 21)
                                                                         18    (Dkt. No. 197-31). Specifically, plaintiff Adkins testified he spent roughly sixty minutes
                                                                         19    researching the data breach, three minutes changing his password, and 45 minutes monitoring
                                                                         20    his accounts (ibid., citing Adkins Dep. at 204, 243, 244, 422–424). Plaintiff’s expert calculates
                                                                         21    the total opportunity-cost of these damages as between $32.50 and $36.30 (Ratner Decl. ¶ 36;
                                                                         22    Sch. 1).
                                                                         23           At first blush, this amount of time might appear too small. A small injury, however, can
                                                                         24    still establish standing. As noted in the context of administrative standing by the United States
                                                                         25    Supreme Court in United States v. Students Challenging Regulatory Agency Procedures
                                                                         26    (SCRAP), 412 U.S. 669, 689 n.14 (1973) (citing, Kenneth C. Davis, Standing: Taxpayers and
                                                                         27    Others, 35 U. Chi. L. Rev. 601, 613 (1968)):
                                                                         28                    “Injury in fact” reflects the statutory requirement that a
                                                                                               person be “adversely affected” or “aggrieved,” and it serves

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                                                                          1                    to distinguish a person with a direct stake in the outcome of
                                                                                               a litigation — even though small — from a person with a
                                                                          2                    mere interest in the problem. We have allowed important
                                                                                               interests to be vindicated by plaintiffs with no more at stake
                                                                          3                    in the outcome of an action than a fraction of a vote, see
                                                                                               Baker v. Carr, 369 U.S. 186; a $5 fine and costs, see
                                                                          4                    McGowan v. Maryland, 366 U.S. 420; and a $1.50 poll tax,
                                                                                               Harper v. Virginia Bd. of Elections, 383 U.S. 663. . . . As
                                                                          5                    Professor Davis has put it: “The basic idea that comes out
                                                                                               in numerous cases is that an identifiable trifle is enough for
                                                                          6                    standing to fight out a question of principle; the trifle is the
                                                                                               basis for standing and the principle supplies the
                                                                          7                    motivation.”
                                                                          8    Three United States courts of appeals have relied on this decision to hold that a mere trifle also
                                                                          9    suffices under Article III. LaFleur v. Whitman, 300 F.3d 256, 270 (2d Cir. 2002); Sierra Club,
                                                                         10    Lone Star Chapter v. Cedar Point Oil Co., Inc., 73 F.3d 546, 557 (5th Cir. 1996); Doe v. County
                                                                         11    of Montgomery, Ill., 41 F.3d 1156, 1159–60 (7th Cir. 1994). The time lost by plaintiff
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                                                                         12    establishes a harm for standing purposes.
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                                                                         13            2.      FACEBOOK’S MOTIONS TO STRIKE EXPERT TESTIMONY.
                                                                         14            This order now turns to Facebook’s two Daubert motions to strike expert testimony.
                                                                         15    Facebook moves to strike all of the various submissions of two of plaintiff’s experts. These
                                                                         16    experts are: (i) Identity Theft Expert James Van Dyke and (ii) CPA Ian Ratner.
                                                                         17                    A.     Identity Theft Expert James Van Dyke.
                                                                         18            This order finds that Expert Van Dyke did not base his testimony in sufficient facts or
                                                                         19    data. Nor is his testimony the product of reliable principles and methods. And even accepting
                                                                         20    the principles and methods he used, Van Dyke did not reliably apply these methods to the facts
                                                                         21    of this case.
                                                                         22            Expert Van Dyke’s 29-page opinion testimony boils down to two conclusions. First,
                                                                         23    every data breach, no matter the information taken, enhances the risk of identity theft in some
                                                                         24    way. Second, every class member should receive uniform credit monitoring, notwithstanding
                                                                         25    the specific information taken in the breach (Van Dyke Decl. ¶¶ 3, 6) (Dkt. No. 197-32).
                                                                         26            Van Dyke cherry-picked his own prior expert opinions. He recycled a conclusion from
                                                                         27    a different case. He removed references to a critical premise that does not apply here. More
                                                                         28    specifically, in Van Dyke’s report from the Anthem data breach case, Van Dyke highlighted the


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                                                                          1    importance of social security numbers to identity theft:
                                                                          2                     More damaging forms of misuse often result from criminals
                                                                                                amassing more elements of any one consumer’s data —
                                                                          3                     akin to assembling all pieces of a puzzle, with the social
                                                                                                security number being a key foundational element. As an
                                                                          4                     example . . . .
                                                                          5    In re Anthem, Inc. Data Breach Litig., No. 15-MD-02617-LHK, 2017 WL 3730912 (N.D. Cal.
                                                                          6    Mar. 21, 2017) (Dkt. No. 744-24 ¶ 19) (emphasis added).
                                                                          7            In the report here, Van Dyke cut and pasted the same exact language except he omitted
                                                                          8    any reference to Social Security numbers being “key” to the risk of identity theft described
                                                                          9    (Van Dyke Decl. ¶ 3.n.):
                                                                         10                     More damaging forms of misuse often result from criminals
                                                                                                amassing more elements of any one consumer’s data — akin
                                                                         11                     to assembling all pieces of a puzzle. As an example . . . .
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                                                                         12            Plaintiff argues Van Dyke simply took care to omit a fact that did not apply to this case,
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                                                                         13    namely the part about social security numbers. This misses the point. The point is that the
                                                                         14    social security numbers ranked as “key” — until this case, where they weren’t stolen, so the
                                                                         15    “key” element got removed. This inconsistency means Van Dyke says whatever is convenient
                                                                         16    to the case at hand.
                                                                         17            In addition, Van Dyke’s opinions and declarations were riddled with error. His report
                                                                         18    referred to the theft of maiden names. Maiden names were not taken in the instant breach. He
                                                                         19    later admitted this inclusion “was a mistake.” He also posited that internet protocol addresses
                                                                         20    were stolen in the attack and spun a hypothetical that depended on a person knowing “the
                                                                         21    names of family members.” He further spent much of his report homing in on the theft of
                                                                         22    mailing addresses. Yet, to repeat, none of this information was taken in the breach. Moreover,
                                                                         23    in a separate paragraph in his declaration, he referred to how “victims now suffer reduced value
                                                                         24    of personal information.” This, too, he later walked back, conceding that this paragraph should
                                                                         25    never have been included. Van Dyke also wrote that he was “retained by [p]laintiffs’ counsel in
                                                                         26    March of 2018” in this case. But this data breach occurred in September 2018. That sequence
                                                                         27    seems impossible (Van Dyke Decl. ¶¶ 2.a., 3.o, 4.b., 5.d., 5.h., 5.l., 6.p., 6.q., 7.f., 8.a.; Reply
                                                                         28    Decl. ¶¶ 2.b.ii., 2.g., 2.i.) (Dkt. Nos. 197-32; 231-4).


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                                                                          1           In a reply declaration, Van Dyke cited to a “beta” “proprietary algorithm” that he
                                                                          2    claimed generated a “risk level” of 6 out of 10 for the Facebook breach (Reply Decl. ¶ 2.h.).
                                                                          3    Facebook deposed him. Inexplicably, it then came to light that he also generated this rating by
                                                                          4    including information that had not been compromised in the breach (users’ home addresses,
                                                                          5    internet protocol addresses, account login credentials, and account numbers for the phone lines
                                                                          6    compromised by the breach). When the correct information was input instead, the risk level fell
                                                                          7    to a 1.2 for Group 1 users and a 1.8 for Group 2 users (Blunschi Decl. ¶¶ 10–11; Exh. 25; Van
                                                                          8    Dyke II Dep. at 465:18–467:9). According to Van Dyke’s own website, less than a two out of
                                                                          9    ten risk level describes a breach that does not warrant consumer action of any kind (Dkt. No.
                                                                         10    248-6). This result squarely conflicts with his expert opinion.
                                                                         11           In response to all this, counsel primarily argue that Van Dyke’s testimony rested on “his
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                                                                         12    knowledge and experience in the field [of consumer identity fraud]” (Opp. Br. at 9) (Dkt. No.
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                                                                         13    233). This order presumes Van Dyke is an expert. Yet his report is too flawed. Even a good
                                                                         14    expert can do a bad job.
                                                                         15           The vast majority of the testimony submitted by Van Dyke was boilerplate from other
                                                                         16    cases. It could have been written about any data breach, and lacked sufficient analysis. It
                                                                         17    contained too many errors to be relied upon. For the foregoing reasons, Facebook’s motion to
                                                                         18    strike Van Dyke’s Report is GRANTED.
                                                                         19                   B.     CPA Ian Ratner.
                                                                         20           Facebook also challenges the admissibility of CPA Ratner’s expert testimony as to his
                                                                         21    damages analysis. First, Facebook argues that he ignores foundational problems in calculating
                                                                         22    the diminished value of personal information. Second, Facebook argues that his time and risk
                                                                         23    based damages are hypothetical and unreliable. This order disagrees.
                                                                         24           “Shaky but admissible evidence is to be attacked by cross examination, contrary
                                                                         25    evidence, and attention to the burden of proof, not exclusion.” Primiano v. Cook, 598 F.3d 558,
                                                                         26    564 (9th Cir. 2010). As to Facebook’s first argument, CPA Ratner attempted to show, through
                                                                         27    economic models, that access to personal information in-and-of-itself has market value, and that
                                                                         28    the hackers taking the personal information freely from Facebook is a value lost to the class


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                                                                          1    members (Ratner Decl. ¶¶ 45, 46). He also showed that companies are willing to pay money
                                                                          2    (such as through targeted advertising) for access to someone’s personal information. In
                                                                          3    addition, he pointed out that Facebook’s role in the data breach deprived plaintiff and the class
                                                                          4    members from being able to control access to their personal information and monetize it if they
                                                                          5    so chose. This calculation is admissible.
                                                                          6              Turning to Facebook’s second argument, CPA Ratner attempted to calculate class-wide
                                                                          7    damages for class members’ risk and stress from the breach, time spent dealing with the
                                                                          8    consequences of it, and the risk of identity theft. Facebook argues that these are mere averages
                                                                          9    and don’t address the characteristics of each class member. “Normally, failure to include
                                                                         10    variables will affect the analysis’ probativeness, not its admissibility.” Hemmings v. Tidyman’s
                                                                         11    Inc., 285 F.3d 1174, 1188 (9th Cir. 2002) (quotations omitted). This too must be attacked by
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                                                                         12    cross examination. The motion to strike CPA Ratner’s expert opinion is DENIED.
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                                                                         13              3.     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION.
                                                                         14              Plaintiff moves to certify a damages class under Rule 23(b)(3), an “issues” class under
                                                                         15    Rule 23(c)(4), and an injunctive-only class under Rule 23(b)(2). Facebook trains most of its
                                                                         16    fire on the Rule 23(b)(3) class. This order therefore begins there.
                                                                         17                     A.      Rule 23(b)(3).
                                                                         18              Before certification, the district court “must conduct a ‘rigorous analysis’ to determine
                                                                         19    whether the party seeking certification has met the prerequisites of Rule 23.” Zinser v. Accufix
                                                                         20    Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001) (quoting Valentino v. Carter-Wallace,
                                                                         21    Inc., 97 F.3d 1227, 1233 (9th Cir. 1996)). As part of this inquiry, the district court has an
                                                                         22    obligation to ensure “that a class representative must be part of the class and possess the same
                                                                         23    interest and suffer the same injury as the class members.” Gen. Tel. Co. of Sw. v. Falcon, 457
                                                                         24    U.S. 147, 156 (1982) (internal quotation marks and citations omitted). This sometimes involves
                                                                         25    delving into the merits to resolve factual disputes to the extent necessary to determine whether
                                                                         26    the Rule 23 elements have been met. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350–52
                                                                         27    (2011).
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                                                                          1            Plaintiff Stephen Adkins seeks to represent a nationwide class of Facebook users who
                                                                          2    had information taken in the data breach. The Terms of Service provide that California law
                                                                          3    governs both the terms “and any claim, without regard to conflict of law provisions” (Dkt. No.
                                                                          4    98-1 § 4.4). Thus, California law applies even as to tort claims, and a nationwide class will not
                                                                          5    become bogged down in the differences among state laws of negligence. In that connection,
                                                                          6    plaintiff Adkins, on behalf of the class, seeks to recover on two theories of damages under
                                                                          7    California law: (i) the cost of a credit monitoring service and (ii) the diminished value of the
                                                                          8    personal information taken in the breach. This order holds that neither harm presents a
                                                                          9    cognizable injury, and so the damages class cannot be certified.
                                                                         10                              i.   Credit Monitoring.
                                                                         11            Under his first theory of liability, plaintiff Adkins seeks the cost of credit monitoring on
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                                                                         12    behalf of the class. Plaintiff’s expert CPA opines that credit monitoring will be appropriate to
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                                                                         13    redress the class’s “increased risk, stress, nuisance, inconvenience, and annoyance of identity
                                                                         14    theft” (Ratner Decl. ¶ 32). Significantly, plaintiff Adkins has never paid any money as a result
                                                                         15    of this data breach. Had he paid for credit monitoring, for example, he could prevail on this
                                                                         16    claim. But he has never purchased any credit monitoring service. Plaintiff Adkins’s theory of
                                                                         17    liability instead relies on the aforementioned injuries, like his present stress and the increased
                                                                         18    risk of identity theft.
                                                                         19            While plaintiff Adkins has standing to sue based on his increased risk of future identity
                                                                         20    theft, in California, this risk alone does not rise to the level of appreciable harm to assert a
                                                                         21    negligence claim. California has long held that “[i]t is fundamental that a negligent act is not
                                                                         22    actionable unless it results in injury to another.” Fields v. Napa Milling Co., 164 Cal. App. 2d
                                                                         23    442, 447 (1958). California also holds that “[n]ominal damages, to vindicate a technical right,
                                                                         24    cannot be recovered in a negligence action, where no actual loss has occurred.” Id. at 448. In
                                                                         25    addition, in a different context, the California Supreme Court has indicated that the mere threat
                                                                         26    of future harm is insufficient. See Jordache Enters., Inc. v. Brobeck, Phleger & Harrison, 18
                                                                         27    Cal. 4th 739, 743 (1998).
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                                                                          1           No binding decision has ever decided whether or not future harms from a data breach
                                                                          2    can anchor a claim for negligence. In California, such an exception would follow from an
                                                                          3    already recognized exception to the present harm requirement, namely the cost of future
                                                                          4    medical monitoring due to an exposure to toxic chemicals. Potter v. Firestone Tire & Rubber
                                                                          5    Co., 6 Cal. 4th 965, 1009 (1993). The weight of persuasive decisions militates against
                                                                          6    extending this exception to cases like ours.
                                                                          7           In a non-precedential decision, our court of appeals applied Arizona law to reject
                                                                          8    extending medical monitoring to credit monitoring in a data breach when the plaintiff did not
                                                                          9    present any actual evidence of identity theft. Stollenwerk v. Tri–West Health Care All., 254 F.
                                                                         10    App’x 664, 665–67 (9th Cir. 2007). In Ruiz v. Gap, Inc., Judge Samuel Conti relied on
                                                                         11    Stollenwerk to reject that the medical monitoring exception would apply to credit monitoring
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                                                                         12    under California law. Judge Conti opined that medical monitoring was a personal injury
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                                                                         13    permitted to protect public health, but “[t]here is no such public health interest at stake in lost-
                                                                         14    data cases.” 622 F. Supp. 2d 908, 914–15 (N.D. Cal. 2009), aff’d, 380 F. App’x 689 (9th Cir.
                                                                         15    2010). Judge Conti’s decision was upheld on appeal on other grounds.
                                                                         16           Since these decisions, Judge Gary Klausner and Judge Richard Seeborg have extended
                                                                         17    the medical monitoring exception to credit monitoring. Corona v. Sony Pictures Entm't, Inc.,
                                                                         18    No. 14-CV-09600 RGK (Ex), 2015 WL 3916744, at *5 (C.D. Cal. June 15, 2015) (Judge Gary
                                                                         19    Klausner); Castillo v. Seagate Tech., LLC, No. 16-cv-01958-RS, 2016 WL 9280242, at *4
                                                                         20    (N.D. Cal. Sept. 14, 2016) (Judge Richard Seeborg). The undersigned judge would be inclined
                                                                         21    to follow these decisions and hold credit monitoring available to data breach victims.
                                                                         22           Yet, even these decisions cannot help plaintiff Adkins here. Specifically, Judge
                                                                         23    Klausner permitted “costs already incurred, including costs associated with credit monitoring,”
                                                                         24    and specifically dismissed the negligence theory of an increased risk of future harm. Corona,
                                                                         25    2015 WL 3916744, at *4–5 (emphasis added). Judge Richard Seeborg also held that “[t]hose
                                                                         26    who have incurred such out-of-pocket expenses have pleaded cognizable injuries, whereas those
                                                                         27    who claim only that they may incur expenses in the future have not.” Castillo, 2016 WL
                                                                         28    9280242, at *4.


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                                                                          1            This dividing line is further supported by another non-precedential decision by our court
                                                                          2    of appeals. In Krottner v. Starbucks, Corporation, our court of appeals applied Washington law
                                                                          3    to dismiss a data breach claim for negligence because there was only the risk of future identity
                                                                          4    theft. 406 F. App’x 129, 131 (9th Cir. 2010). Because the claim for negligence could not
                                                                          5    proceed merely on such risk, our court of appeals expressly did not reach the issue of whether
                                                                          6    credit monitoring would be appropriate. Id. at 131–32. One district judge relied on this
                                                                          7    decision to dismiss a California negligence claim in the context of a data breach. See In re Sony
                                                                          8    Gaming Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942, 963 n.17 (S.D.
                                                                          9    Cal. 2012) (Judge Anthony Battaglia) (California and Washington law not “materially
                                                                         10    different”).
                                                                         11            So too here. Plaintiff Adkins has incurred zero out-of-pocket expenses as a result of this
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                                                                         12    breach. The time he spent reacting to this data breach may be recoverable as damages in its
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                                                                         13    own right, but has no relationship to the remedy of future credit monitoring. To the contrary, he
                                                                         14    already has a slim version of free credit monitoring through his credit card company, and, since
                                                                         15    the data breach, he has rejected an offer from Equifax for more credit monitoring services
                                                                         16    (Adkins II Dep. at 549:8–551:14, 618:3–17, 620:24–625:18, 239:17–22) (Dkt. No. 220-8).
                                                                         17            On the evidence presented, therefore, no decision supports that plaintiff Adkins can
                                                                         18    allege a viable negligence claim under a credit monitoring theory. If some members of the class
                                                                         19    bought credit monitoring because of this data breach, perhaps they can assert such a claim.
                                                                         20    Plaintiff Adkins, however, is not a member of the class he seeks to represent. He therefore
                                                                         21    cannot represent the class on this theory.
                                                                         22                           ii.    Diminished Value of Personal Information.
                                                                         23            Two prior orders deemed the harm of diminished value of personal information
                                                                         24    insufficient to satisfy injury for purposes of Section 17200 and the CLRA (Dkt. Nos. 153, 185).
                                                                         25    Plaintiff Adkins now asserts an entirely new theory on how to calculate this harm for the
                                                                         26    negligence claim (Ratner Decl. ¶¶ 45, 46) (emphasis added):
                                                                         27                    [Personal information], such as that maintained by
                                                                                               Facebook, derives value from remaining private. The
                                                                         28                    value of this privacy should be exclusively enjoyed by
                                                                                               Facebook’s users. However, as a result of the [d]ata

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                                                                          1                      [b]reach, Facebook essentially granted access to [personal
                                                                                                 information] for free and conveyed value to unauthorized
                                                                          2                      third parties without compensation to the rightful owners of
                                                                                                 that information — its users. When the users provided
                                                                          3                      their [personal information] to Facebook, they received the
                                                                                                 value of Facebook’s social media services in return. When
                                                                          4                      Facebook allowed third parties to access the users’
                                                                                                 [personal information], no value was conveyed to the users.
                                                                          5                      The value that Facebook’s users lost as a result of that
                                                                                                 conveyance can be measured through the [m]arket
                                                                          6                      [m]ethod (a standard valuation method) by analyzing what
                                                                                                 third parties pay to access comparable information.
                                                                          7
                                                                               In other words, plaintiff’s injury stemmed from loss of privacy and loss of royalties. Again,
                                                                          8
                                                                               however, this calculus is too speculative to assert a claim for negligence. Plaintiff never asserts
                                                                          9
                                                                               that he would have paid anyone to access comparable information. Although it’s true that each
                                                                         10
                                                                               user’s information is worth a certain amount of money to Facebook and the companies
                                                                         11
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                                                                               Facebook gave it to, it does not follow that the same information has independent economic
                                                                         12
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                                                                               value to an individual user. That Adkins could have received royalties is not a cognizable
                                                                         13
                                                                               injury.
                                                                         14
                                                                                         For these reasons, the Rule 23(b)(3) class is DENIED.
                                                                         15
                                                                                                B.      Rule 23(c)(4).
                                                                         16
                                                                                         “When appropriate,” Rule 23(c)(4) allows a court discretion to certify an action “as a
                                                                         17
                                                                               class action with respect to particular issues.” The text does not explain when such a class
                                                                         18
                                                                               would be appropriate. Here, plaintiff seeks certification of damages claims for lost time. Duty
                                                                         19
                                                                               and breach would be tried on a common basis. Causation and damages would be tried
                                                                         20
                                                                               individually. This order agrees with Facebook that “issue certification is not appropriate where
                                                                         21
                                                                               the determination of liability itself requires an individualized inquiry” (Dkt. No. 215 at 25
                                                                         22
                                                                               quoting 1 McLaughlin on Class Actions § 4:43 (15th ed. 2018)). That is, bifurcating elements
                                                                         23
                                                                               of liability “does not materially advance the overall disposition of the case because” the court
                                                                         24
                                                                               must still consider “plaintiff-specific matters such as fact of injury, causation . . . and extent of
                                                                         25
                                                                               damage” (ibid. quoting McLaughlin, supra). Plaintiff’s request to certify an issues-only class
                                                                         26
                                                                               under Rule 23(c)(4) is DENIED.
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                                                                          1                   C.      Rule 23(b)(2).
                                                                          2           Class certification is appropriate when a plaintiff can show that all of the prerequisites of
                                                                          3    Rule 23(a) and one of the requirements of Rule 23(b) has been met. Briseno v. ConAgra Foods,
                                                                          4    Inc., 844 F.3d 1121, 1124 (9th Cir. 2017). Rule 23(a) considers whether “(1) the class is so
                                                                          5    numerous that joinder of all members is impracticable; (2) there are questions of law or fact
                                                                          6    common to the class; (3) the claims or defenses of the representative parties are typical of the
                                                                          7    claims or defenses of the class; and (4) the representative parties will fairly and adequately
                                                                          8    protect the interests of the class.” None of these elements are contested, and this order finds
                                                                          9    they have been satisfied. Plaintiff stands shoulder to shoulder with other class members when it
                                                                         10    comes to forward-looking relief. He is typical and adequate.
                                                                         11           Rule 23(b)(2) provides that “[a] class action may be maintained if Rule 23(a) is satisfied
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                                                                         12    and if . . . the party opposing the class has acted or refused to act on grounds that apply
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                                                                         13    generally to the class, so that final injunctive relief or corresponding declaratory relief is
                                                                         14    appropriate respecting the class as a whole.” Here, plaintiff seeks injunctive relief to impose a
                                                                         15    set of changes on Facebook’s conduct to ensure no further harm comes to him and the class.
                                                                         16           What plaintiff seeks, on behalf of the class is, as follows. First, a declaration that
                                                                         17    Facebook’s existing security measures do not comply with its duties of care to provide adequate
                                                                         18    security. Second, to comply with its duties of care, Facebook must implement and maintain
                                                                         19    reasonable security measures, including that Facebook engage third-party security
                                                                         20    auditors/penetration testers as well as internal security personnel to conduct testing, including
                                                                         21    simulated attacks, penetration tests, and audits on Facebook’s systems on a periodic basis, and
                                                                         22    ordering Facebook to promptly correct any problems or issues detected by such third-party
                                                                         23    security auditors (Dkt. No. 193 ¶ 221).
                                                                         24           In addition, plaintiff seeks an order that Facebook engage third-party security auditors
                                                                         25    and internal personnel to run automated security monitoring. Any final order may also embed a
                                                                         26    monitor into Facebook’s headquarters. Other requested relief includes: ordering that Facebook
                                                                         27    audit, test, and train its security personnel regarding any new or modified procedures; ordering
                                                                         28    that Facebook user applications be segmented by, among other things, creating firewalls and


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                                                                          1    access controls so that if one area is compromised, hackers cannot gain access to other portions
                                                                          2    of Facebook’s systems; ordering that Facebook conduct regular database scanning and securing
                                                                          3    checks; ordering that Facebook routinely and continually conduct internal training and
                                                                          4    education to inform internal security personnel how to identify and contain a breach when it
                                                                          5    occurs and what to do in response to a breach; and ordering Facebook to meaningfully educate
                                                                          6    its users about the threats they face as a result of the loss of their financial and private
                                                                          7    information to third parties, as well as the steps Facebook users must take to protect themselves
                                                                          8    (ibid.).
                                                                          9               Facebook argues that plaintiff does not have standing to allege prospective injunctive
                                                                         10    relief because Facebook has fixed the bug that caused the data breach. This order holds that
                                                                         11    Facebook’s repetitive losses of users’ privacy supplies a long-term need for supervision, at least
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                                                                         12    at the Rule 23 stage. At this stage, there is a likelihood of future harm to warrant potential
                               For the Northern District of California




                                                                         13    relief. Plaintiff has standing.
                                                                         14               Nor must plaintiffs specify the precise injunctive relief they will ultimately seek at the
                                                                         15    class certification stage.” B.K. by next friend Tinsley v. Snyder, 922 F.3d 957, 972 (9th Cir.
                                                                         16    2019). Rule 23(b)(2) “[o]rdinarily will be satisfied when plaintiffs have described the general
                                                                         17    contours of an injunction that would provide relief to the whole class, that is more specific than
                                                                         18    a bare injunction to follow the law, and that can be given greater substance and specificity at an
                                                                         19    appropriate stage in the litigation through fact-finding, negotiations, and expert testimony.”
                                                                         20    Parsons v. Ryan, 754 F.3d 657, 689 n.35 (9th Cir. 2014).
                                                                         21               Here, under these circumstances, the requested relief of an order compelling Facebook
                                                                         22    to promptly correct any problems or issues detected by such third-party security auditors
                                                                         23    outlines the “general contours” of the requested injunction at this stage. A more specific
                                                                         24    remedy can be fashioned later in this litigation. Facebook ultimately has not sufficiently shown
                                                                         25    otherwise that “crafting uniform injunctive relief will be impossible.” B.K., 922 F.3d at 973.
                                                                         26    Rule 23(b)(2) is satisfied. Plaintiff’s motion to certify a Rule 23(b)(2) class is GRANTED.
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                                                                          1                                             CONCLUSION
                                                                          2           For the foregoing reasons, Facebook’s motion to strike Identity Theft Expert James Van
                                                                          3    Dyke’s expert opinion is GRANTED. Facebook’s motion to strike CPA Ian Ratner’s expert
                                                                          4    opinion is DENIED. Plaintiff’s motion for class certification of a damages class under Rule
                                                                          5    23(b)(3) and under Rule 23(c)(4) is DENIED. Plaintiff’s motion for class certification of an
                                                                          6    injunctive class under Rule 23(b)(2) is GRANTED.
                                                                          7           The following class is CERTIFIED for injunctive purposes only: All current Facebook
                                                                          8    users whose personal information was compromised in the data breach announced by Facebook
                                                                          9    on September 28, 2018.
                                                                         10           This class definition shall apply for all purposes, including settlement. Plaintiff Stephen
                                                                         11    Adkins is hereby APPOINTED as class representative. Plaintiff’s counsel Andrew Friedman of
United States District Court




                                                                         12    Cohen Milstein Sellers & Toll PLLC, John Yanchunis of Morgan & Morgan Complex
                               For the Northern District of California




                                                                         13    Litigation Group, and Ariana Tadler of Tadler Law LLP are hereby APPOINTED as class
                                                                         14    counsel. By DECEMBER 19 AT NOON, the parties shall jointly submit a proposal for class
                                                                         15    notification with a plan to distribute notice, including by first-class mail and via Facebook.
                                                                         16           This order shall remain redacted for seven calendar days to allow any party an
                                                                         17    opportunity to seek relief from the court of appeals on the accompanying order on the motions
                                                                         18    to seal (Dkt. No. 259).
                                                                         19
                                                                         20           IT IS SO ORDERED.
                                                                         21
                                                                         22    Dated: November 26, 2019.
                                                                                                                                    WILLIAM ALSUP
                                                                         23                                                         UNITED STATES DISTRICT JUDGE
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